Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 1 of 152



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                         MDL NO 2924
    PRODUCTS LIABILITY                                                                  20-MD-2924
    LITIGATION
                                                            JUDGE ROBIN L ROSENBERG
                                                    MAGISTRATE JUDGE BRUCE REINHART

    __________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES

                           MASTER PERSONAL INJURY COMPLAINT

           Pursuant to Pretrial Order (“PTO”) No. 31, Plaintiffs file this Master Personal Injury

    Complaint (“MPIC”) against Defendants identified below. Plaintiffs bring this MPIC because

    Plaintiffs developed cancers from taking medication that Defendants designed, manufactured,

    tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold.

           For decades Defendants widely promoted and/or sold Zantac and/or its generic forms of

    ranitidine as being safe and effective for use against heartburn, making it the first pharmaceutical

    drug to reach $1 billion in sales. But Defendants concealed from the public a devastating secret

    that once revealed resulted in voluntary recalls by manufacturers and retailers. The U.S. Food and

    Drug Administration (“FDA”) ultimately removed all ranitidine-containing products from shelves

    nationwide. The secret: Zantac and its generic forms inherently harbor a well-known cancer-

    causing compound, N-Nitrosodimethylamine (“NDMA”).                For decades, Defendants sold

    ranitidine-containing products, reaping substantial profits. Now, Plaintiffs across the country seek

    to hold Defendants accountable for causing hundreds of thousands of people to develop cancer.

           This MPIC sets forth allegations of fact and law common to the personal-injury claims

    within this multidistrict litigation (“MDL”). Each Plaintiff individually seeks compensatory and

    punitive damages (where available), restitution, and all other available remedies as a result of
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 2 of 152



    injuries caused by Defendants’ defective pharmaceutical products. The MPIC is intended to plead

    all causes of action in the broadest sense and pursuant to all applicable laws and choice-of-law

    principles, including the statutory and common law of each Plaintiff’s state.

           This MPIC does not necessarily include all claims asserted in all of the transferred actions

    to this Court, and it is not intended to consolidate for any purpose the separate claims of the

    individual Plaintiffs in this MDL. Each Plaintiff in this MDL will adopt this MPIC and the causes

    of action alleged herein against specific Defendants through a separate Short Form Complaint

    (“SFC”), attached hereto as Exhibit A. Any individual facts, jurisdictional allegations, additional

    legal claims, and/or requests for relief of an individual Plaintiff may be set forth as necessary in

    the SFC filed by the respective Plaintiff. This MPIC does not constitute a waiver or dismissal of

    any actions or claims asserted in those individual actions, and no Plaintiff relinquishes the right to

    amend his or her individual claims to include additional claims as discovery proceeds and facts

    and other circumstances may warrant pursuant to PTO No. 31 or the appropriate Federal Rules of

    Civil Procedure.
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 3 of 152



                                                        TABLE OF CONTENTS

                                                                                                                                                 Page
    TABLE OF CONTENTS ................................................................................................................. i
    INTRODUCTION .......................................................................................................................... 1
    PARTIES ........................................................................................................................................ 5
            I.       Plaintiffs ....................................................................................................................... 5
            II.      Defendants ................................................................................................................... 6
                              Brand-Name Manufacturer Defendants ............................................................. 6
                              Generic Manufacturer Defendants ..................................................................... 9
                              Distributor Defendants ..................................................................................... 26
                              Retailer Defendants .......................................................................................... 28
                              Repackager Defendants .................................................................................... 37
    JURISDICTION & VENUE ......................................................................................................... 38
    FACTUAL ALLEGATIONS ....................................................................................................... 39
            I.       The Creation of Ranitidine-Containing Products and Their Introduction to the
                     Market ........................................................................................................................ 39
                              GSK Develops Zantac Through a Flurry of Aggressive Marketing
                              Maneuvers ........................................................................................................ 39
                              Patents Expire, Allowing Generics to Enter the Market .................................. 43
            II.      Ndma Is a Probable Carcinogen Whose Dangerous Properties Are Well
                     Established ................................................................................................................. 48
            III.     NDMA Is Discovered in Ranitidine-Containing Products, Leading to Market
                     Withdrawl .................................................................................................................. 54
            IV.      How Ranitidine Transforms Into NDMA .................................................................. 60
                              Figure 1 – Diagram of Ranitidine & NDMA Molecules ................................. 61
                              Formation of NDMA in the Environment of the Human Stomach .................. 61
                              Table 1 – Ranitidine Samples Tested by Valisure Laboratory Using GC/MS
                                    Protocol................................................................................................... 67
                              Table 2 – Valisure Biologically Relevant Tests for NDMA Formation .......... 68
                              Formation of NDMA in Other Organs of the Human Body ............................ 69
                              Figure 2 – Computational Modelling of Ranitidine Binding to DDAH-1
                                    Enzyme ................................................................................................... 71
                              Figure 3 – Expression levels of DDAH-1 enzyme by Organ .......................... 72
                              Formation of NDMA by Exposure to Heat and/or Time ................................. 73


                                                                             i
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 4 of 152



                            Figure 4 – Rate of Development of NDMA when Exposed to Heat ............... 74
                            Formation of NDMA in the Manufacturing Process........................................ 75
            V.      Evidence Directly Links Ranitidine Exposure to Cancer .......................................... 76
            VI.     Defendants Knew or Should Have Known of the NDMA Risk ................................ 78
    THE FEDERAL REGULATORY LANDSCAPE ....................................................................... 80
            I.      Brand-Name and Generic Manufacturer Defendants Made False Statements in the
                    Labeling of Ranitidine-Containing Products ............................................................. 80
            II.     Generic Drug Manufacturer Requirements ............................................................... 85
            III.    Federal Law Required the Manufacturer Defendants to Notify the FDA About
                    the Presence of NDMA in Ranitidine-Containing Products ...................................... 87
            IV.     Current Good Manufacturing Practices ..................................................................... 88
            V.      The Repackager and Distributor Defendants also Had a Duty to Implement Proper
                    Storage, Handling, and Shipping Conditions ............................................................ 90
            VI.     Ranitidine-Containing Products Are Misbranded and Adulterated Because They
                    Contain Dangerous and Biologically Relevant Levels of NDMA ............................ 92
    DEFENDANTS’ WARRANTIES TO PLAINTIFFS .................................................................. 94
            I.      Warranties Common to Manufacturer and Repackager Defendants. ........................ 94
            II.     Warranties Common to All Non-Manufacturing Defendants ................................... 96
    PLAINTIFFS’ USE OF RANITIDINE-CONTAINING PRODUCTS ........................................ 96
    TOLLING / FRAUDULENT CONCEALMENT ........................................................................ 98
    EXEMPLARY / PUNITIVE DAMAGES ALLEGATIONS ....................................................... 99
    CAUSES OF ACTION ............................................................................................................... 100
            Count I: Strict Products Liability—Failure to Warn ........................................................ 100
            Count II: Strict Products Liability—Design Defect ......................................................... 104
            Count III: Strict Products Liability—Manufacturing Defect ........................................... 108
            Count IV: Negligence—Failure to Warn ......................................................................... 110
            Count V: Negligent Product Design................................................................................. 114
            Count VI: Negligent Manufacturing ................................................................................ 117
            Count VII: General Negligence ........................................................................................ 119
            Count VIII: Negligent Misrepresentation ........................................................................ 124
            Count IX: Breach of Express Warranties ......................................................................... 127
            Count X: Breach of Implied Warranties .......................................................................... 131
            Count XI: Violation of Consumer Protection and Deceptive Trade Practices Laws ....... 132
            Count XII: Unjust Enrichment ......................................................................................... 138


                                                                     ii
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 5 of 152



            Count XIII: Loss of Consortium ...................................................................................... 140
            Count XIV: Survival Actions ........................................................................................... 141
            Count XV: Wrongful Death ............................................................................................. 142
    JURY TRIAL DEMAND ........................................................................................................... 143
    PRAYER FOR RELIEF ............................................................................................................. 143




                                                                    iii
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 6 of 152



                                           INTRODUCTION

           1.      Zantac is the branded name for ranitidine, a “blockbuster” drug that was sold as a

    safe and effective antacid. But ranitidine is anything but safe. It is an unstable molecule that

    breaks down under normal conditions into high levels of NDMA, a carcinogen that is as potent as

    it is dangerous. After almost four decades and billions of dollars of sales, ranitidine consumption

    has caused hundreds of thousands of consumers to develop cancer. Plaintiffs bring these actions

    for personal injuries and/or death as a result of Defendants’ design, manufacture, testing,

    marketing, labeling, packaging, handling, distribution, storage, and/or sale of brand-name and

    generic ranitidine-containing products.

           2.      Until its recent recall by the FDA, ranitidine was a popular antacid drug consumed

    by millions of people every day. Recent scientific studies, however, confirm what drug companies

    knew or should have known decades earlier: ingesting ranitidine exposes the consumer to

    staggering amounts of NDMA.

           3.      NDMA is a potent human carcinogen. It was first discovered in the early 1900s as

    a byproduct of manufacturing rocket fuel. Today, its only use is to induce tumors in animals as

    part of laboratory experiments. Its only function is to cause cancer. It has no medicinal purpose

    whatsoever.

           4.      NDMA is not akin to other compounds that have a salutary effect at low levels and

    a negative effect with greater exposure. There is no recommended daily dose of NDMA. The

    ideal level of exposure is zero. Nonetheless, the FDA previously set an allowable daily limit of

    NDMA of 96 nanograms (ng) to minimize the risks posed by this dangerous molecule. Yet a

    single pill of ranitidine can contain quantities of NDMA that are hundreds of times higher than the

    allowable limit.




                                                    1
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 7 of 152



           5.       Those recent revelations by the scientific community have caused widespread

    recalls of ranitidine both domestically and internationally. In fact, after numerous voluntary

    recalls, on April 1, 2020, the FDA ordered the immediate withdrawal of all ranitidine-containing

    products sold in the United States, citing unacceptable and unpreventable levels of NDMA

    accumulation.

           6.       The high levels of NDMA observed in ranitidine-containing products is a function

    of the drug’s unstable nature. Ranitidine-containing products generate NDMA as the ranitidine

    molecule (1) breaks down in the human digestive system; (2) interacts with various enzymes in

    the human body; (3) reacts over time under normal storage conditions and which increases

    significantly when exposed to heat; and/or (4) during the manufacturing process. In aggregate,

    ranitidine-containing products were akin to billions of Trojan horses that smuggled dangerously

    high levels of NDMA into the bodies of millions of consumers.

           7.       Zantac wreaked such widespread harm in large part because Glaxo—the inventor

    of ranitidine—succumbed to a temptation that is all too familiar to pharmaceutical innovators:

    maximizing the profits of an incredibly lucrative, government-conferred monopoly.

           8.       To encourage pharmaceutical companies to invest in research and development

    (“R&D”), the U.S. legal and regulatory system offers drug companies who invent “new chemical

    entities” two powerful inducements. First, innovators obtain patent protection for their

    pharmaceutical compounds. Second, approved new drugs enjoy FDA exclusivity, irrespective of

    whether the molecule is protected by one or more issued patents. Taken together, these policies

    assure that a pharmaceutical innovator will receive the exclusive right, for a limited period of time,

    to sell its drug to the American public.

           9.       The argument for monopoly pharmaceutical franchises rests on the profit-




                                                      2
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 8 of 152



    motive. R&D is time consuming and expensive, and not all drug-development efforts will

    succeed. Once a drug is approved, some period of monopoly profits is necessary to allow

    innovators to recoup their sunk R&D costs in both successful and unsuccessful pursuits.

           10.     In some ways, the system works as intended. Pharmaceutical companies do invent

    new and useful medicines that—absent high profit potential—might not otherwise come to

    market. But once an innovator possesses a blockbuster monopoly franchise, it has a virtual license

    to mint money. Most pharmaceutical ingredients are cheap commodities, which branded

    manufacturers then resell at a monopoly markup. During the exclusivity period, brand-name drugs

    routinely enjoy gross profit margins of 70, 80, or even 90+ percent. No other industry comes close

    to matching this profit-generating potential.

           11.     As a result of these economic realities, branded drug manufacturers have a strong—

    and too often perverse—incentive to sell as much product as they can during their exclusivity

    window. That is why branded manufacturers spend billions of dollars per year in sales and

    marketing efforts to push incremental sales of a brand-name drug. Where every $1 in new sales

    can produce upwards of $.90 in gross profit, staggering sales and marketing budgets are a very

    profitable investment. But while it makes sense for branded manufacturers to spend vast sums of

    money to develop and promote FDA approved drugs, they have no equivalent economic or

    regulatory incentive to uncover and investigate developing risks posed by their products.

           12.     That problem is especially acute for bestselling, blockbuster drugs. And Zantac is

    the brand that gave meaning to a blockbuster pharmaceutical product, becoming the first drug ever

    to generate over $1 billion in annual sales. Zantac’s success catapulted Glaxo ahead of its

    previously larger rivals, fueling the market capitalization and corporate combinations that gave the

    company its current name: GlaxoSmithKline. It is little wonder Glaxo spared no expense to both




                                                     3
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 9 of 152



    get Zantac to market and to aggressively promote it to millions of consumers. Yet Glaxo did not

    part with a comparative pittance to investigate the obvious cancer risk posed by

    ranitidine. Turning a blind eye was far more profitable.

           13.     Generic ranitidine manufacturers share culpability for Plaintiffs’ cancers, but for

    different and equally perverse reasons. To reduce the costs of medicine, Congress sought to ensure

    extensive competition once the exclusivity period for a brand-name drug expires. At that point,

    generic manufacturers may rapidly enter the market. They undergo a streamlined FDA approval

    process—through an Abbreviated New Drug Application (“ANDA”)—without the need to

    replicate the expensive clinical trials to prove that the drug is safe and effective.

           14.     With a drug as popular as Zantac, generic competition is extensive and

    fierce. Without the benefit of a lawful monopoly or a strong brand name, generics are forced to

    compete on price, which dramatically undercuts the lucrative margins enjoyed by branded

    manufacturers. The FDA estimates that when a single generic enters the market, the average price

    of the drug falls by 39% compared to the branded-only monopoly. Once four generics enter the

    market, the average price falls by 79%. It takes only six generic competitors to reduce the price

    by more than 95%. But over the years, there were 75 FDA-approved ANDAs for generic ranitidine

    held by a multitude of generic manufacturers.

           15.     With razor thin margins and robust competition, a generic manufacturer faces its

    own economic temptation to cut corners, source ingredients as inexpensively as possible, and

    underinvest in quality control. And having already enjoyed a free ride on the brand’s development

    of the drug, generic manufacturers also hope to free ride on some other company’s investment in

    monitoring and analyzing emerging dangers posed by the products they are selling into the

    marketplace. But the generic manufacturers listed in this MPIC are responsible for their own




                                                       4
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 10 of 152



    products. Thin margins and robust competition are not legally valid excuses for selling drugs that

    cause cancer.

            16.     Ultimately, the law holds every corporate entity in the supply chain of ranitidine

    responsible for the personal injuries and death caused by such an unsafe product. And the civil

    justice system is the first, last, and only line of defense against the unchecked avarice that is a

    byproduct of a regulatory regime with the well-intentioned aim of bringing safe and effective

    medicines to market. Plaintiffs seek redress both to compensate them for the horrific losses they

    have suffered in the past and to strongly deter in the future the type of misconduct that gave rise

    to their injuries.

                                                  PARTIES

        I. PLAINTIFFS

            17.     Pursuant to PTO # 31, this MPIC is filed on behalf of all individually injured

    Plaintiffs and, if applicable, Plaintiffs’ spouses, children, parents, decedents, heirs, estates, wards,

    guardians or other legally appointed representatives who file a SFC.

            18.     Plaintiffs in these individual actions are citizens and/or residents of the United

    States who have suffered personal injuries and/or death as a result of using Defendants’

    dangerously defective ranitidine-containing products.

            19.     Plaintiffs were diagnosed with various cancers and their sequelae, which were

    directly and proximately caused by their use of ranitidine-containing products. These injuries

    include, but are not limited to, the following types of cancer: bladder, brain, breast, colorectal,

    esophageal or throat, intestinal, kidney, liver, lung, ovarian, pancreatic, prostate, stomach,

    testicular, thyroid, and uterine.




                                                       5
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 11 of 152



          II. DEFENDANTS

             20.      Defendants are collectively composed of entities that designed, manufactured,

    marketed, distributed, labeled, packaged, handled, stored, and/or sold ranitidine.

                   Brand-Name Manufacturer Defendants

                                        Boehringer Ingelheim (BI)1

             21.      Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a Delaware corporation

    with its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a citizen of Delaware and Connecticut.

             22.      Defendant Boehringer Ingelheim Corporation is a Nevada corporation with its

    principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Corporation is a citizen of Nevada and Connecticut.

             23.      Defendant Boehringer Ingelheim USA Corporation is a Delaware corporation with

    its principal place of business located at 900 Ridgebury Rd., Ridgebury, Connecticut 06877.

    Boehringer Ingelheim USA Corporation is a citizen of Delaware and Connecticut.

             24.      Defendant Boehringer Ingelheim International GmbH is a limited liability

    company formed and existing under the laws of Germany, having a principal place of business at

    Binger Strasse 173, 55216 Ingelheim AM Rhein, Rheinland-Phalz, Germany. Boehringer

    Ingelheim International GmbH is a citizen of Germany.

             25.      Boehringer Ingelheim Pharmaceuticals, Inc. is a direct or indirect subsidiary of

    Boehringer Ingelheim Corporation and Boehringer Ingelheim USA Corporation, which are




    1
        Defendant Boehringer Ingelheim also manufactured generic ranitidine under ANDA 074662, as
        well as through its former subsidiary Ben Venue Laboratories Inc. d/b/a Bedford Laboratories
        (ANDA 074764). Ben Venue Laboratories Inc. is no longer in operation.


                                                      6
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 12 of 152



    themselves wholly owned, directly or indirectly, by Boehringer Ingelheim International GmbH.

    Collectively, these entities shall be referred to as “Boehringer Ingelheim” or “BI.”

           26.     Defendant Boehringer Ingelheim Promeco, S.A. de C.V. is a foreign corporation

    organized and existing under the laws of Mexico with its principal place of business located at

    Maiz No. 49, Barrio Xaltocan, Xochimilco, Ciudad de Mexico, 16090 Mexico. Boehringer

    Ingelheim Promeco, S.A. de C.V. is a citizen of Mexico.

                                        GlaxoSmithKline (GSK)

           27.     Defendant GlaxoSmithKline LLC is a Delaware limited liability company with its

    principal place of business located at Five Crescent Drive, Philadelphia, Pennsylvania, 19112.

    GlaxoSmithKline LLC’s sole member is GlaxoSmithKline (America) Inc., a Delaware corporation

    with its principal place of business in that state. GlaxoSmithKline LLC is a citizen of Delaware.

           28.     Defendant GlaxoSmithKline (America) Inc. is a Delaware corporation with its

    principal place of business located at 1105 N. Market Street, Suite 622, Wilmington, Delaware

    19801. Defendant GlaxoSmithKline (America) Inc. is a citizen of Delaware.

           29.     Defendant GlaxoSmithKline plc is a public limited company formed and existing

    under the laws of the United Kingdom, having a principal place of business at 980 Great West

    Road, Brentford Middlesex XO, TW8 9GS, United Kingdom. GlaxoSmithKline plc is a citizen

    of the United Kingdom.

           30.     GlaxoSmithKline LLC and GlaxoSmithKline (America) Inc. are subsidiaries of

    GlaxoSmithKline plc. Collectively, these entities shall be referred to as “GSK.”




                                                     7
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 13 of 152



                                                  Pfizer

           31.     Defendant Pfizer Inc. (“Pfizer”) is a Delaware corporation with its principal place

    of business located at 235 East 42nd Street, New York, New York 10017. Pfizer Inc. is a citizen

    of Delaware and New York.

                                                  Sanofi

           32.     Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability company with

    its principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807.

    Sanofi-Aventis U.S. LLC’s sole member is Sanofi U.S. Services, Inc., a Delaware corporation

    with its principal place of business in New Jersey. Sanofi-Aventis U.S. LLC is a citizen of

    Delaware and New Jersey.

           33.     Defendant Sanofi US Services Inc. is a Delaware corporation with its principal

    place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi US

    Services Inc. is a citizen of Delaware and New Jersey.

           34.     Defendant Sanofi S.A. is a corporation formed and existing under the laws of

    France, having a principal place of business at 54 Rue La Boetie, 8th Arrondissement, Paris, France

    75008. Sanofi S.A. is a citizen of France.

           35.     Defendant Patheon Manufacturing Services LLC is a Delaware limited liability

    company with its principal place of business located at 5900 Martin Luther King Jr. Hwy,

    Greenville, North Carolina 27834. Thermo Fisher Scientific, Inc. is the sole member of Patheon

    Manufacturing Services LLC. Thermo Fisher Scientific, Inc. is a Delaware corporation with its

    principal place of business in Massachusetts. Patheon Manufacturing Services LLC is a citizen of

    Delaware and Massachusetts.




                                                    8
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 14 of 152



              36.      Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. are subsidiaries of Sanofi

    S.A. Patheon Manufacturing Services LLC and Boehringer Ingelheim Promeco, S.A. de C.V.

    packaged and manufactured the finished Zantac product for Sanofi. Collectively, these entities

    shall be referred to as “Sanofi.”

                                                *      *       *

              37.      Defendants BI, GSK, Pfizer, and Sanofi, shall be referred to collectively as the

    “Brand-Name Manufacturer Defendants.” At all relevant times, the Brand-Name Manufacturer

    Defendants have conducted business and derived substantial revenue from their design,

    manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

    of Zantac within each of the States and Territories of the United States, and the District of

    Columbia.2

                    Generic Manufacturer Defendants

                                             Acic Pharmaceuticals

              38.      Defendant Methapharm, Inc. is a Delaware corporation with its principal place of

    business located at 11772 W. Sample Road, Ste. 103, Coral Springs, FL 33065. Methapharm, Inc.

    is a citizen of Delaware and Florida.

              39.      Defendant Acic Pharmaceuticals, Inc. is a corporation organized and existing under

    the laws of Canada with its principal place of business located at 81 Sinclair Boulevard,

    Brandtford, Ontario N3S 7X6. Acic Pharmaceuticals, Inc. is a citizen of Canada.

              40.      Methapharm, Inc. is a subsidiary of Acic Pharmaceuticals, Inc. Collectively, these

    entities shall be referred to as “Acic Pharmaceuticals.”




    2
        All references to “States” include the District of Columbia.


                                                       9
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 15 of 152



                                                  Ajanta

             41.     Defendant Ajanta Pharma USA Inc. is a New Jersey corporation with its principal

    place of business located at 440 U.S. Highway 22, Ste. 150, Bridgewater, NJ 08807. Ajanta

    Pharma USA Inc. is a citizen of New Jersey.

             42.     Defendant Ajanta Pharma Ltd. is a corporation organized and existing under the

    laws of India with its principal place of business located at 9 Ajanta House Charkop, Kandivili

    (West), Mumbai, Maharashtra, India. Ajanta Pharma Ltd is a citizen of India.

             43.     Ajanta Pharma USA Inc. is a subsidiary of Ajanta Pharma Ltd. Collectively, these

    entities shall be referred to as “Ajanta.”

             44.     Defendant Ajanta purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Ajanta.

                                            AmerisourceBergen

             45.     Defendant Amerisource Health Services, LLC d/b/a American Health Packaging,

    is a Delaware limited liability company with its principal place of business located at 2550 John

    Glenn Ave., Suite A, Columbus, Ohio 43217. Amerisource Health Services, LLC’s sole member

    is AmerisourceBergen Corporation, a Delaware corporation with its principal place of business in

    Pennsylvania. Amerisource Health Services, LLC is a citizen of Delaware and Pennsylvania.

             46.     Defendant AmerisourceBergen Corporation is a Delaware corporation with its

    principal place of business located at 1300 Morris Drive, Chesterbrook, Pennsylvania 19087.

    AmerisourceBergen Corporation is a citizen of Delaware and Pennsylvania.3




    3
        Defendant AmerisourceBergen Corporation is also a “Distributor Defendant” and is listed again
        under that heading below.


                                                    10
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 16 of 152



           47.     Amerisource Health Services, LLC is a subsidiary of AmerisourceBergen

    Corporation. Collectively, these entities shall be referred to as “Amerisource.”

                                                 Amneal

           48.     Defendant Amneal Pharmaceuticals LLC is a Delaware limited liability company

    with its principal place of business located at 400 Crossing Blvd., Bridgewater, New Jersey 08807.

    The sole member of Amneal Pharmaceuticals LLC is Amneal Pharmaceuticals, Inc., a Delaware

    corporation with its principal place of business in New Jersey. Amneal Pharmaceuticals LLC is a

    citizen of Delaware and New Jersey.

           49.     Defendant Amneal Pharmaceuticals of New York, LLC is a Delaware limited

    liability company with its principal place of business located at 50 Horseblock Road, Brookhaven,

    New York 11719. The membership interest of Amneal Pharmaceuticals of New York, LLC is

    owned by Amneal Pharmaceuticals, Inc., through an intervening limited liability company.

    Amneal Pharmaceuticals of New York, LLC is a citizen of Delaware and New Jersey.

           50.     Defendant Amneal Pharmaceuticals, Inc., is a Delaware corporation with its

    principal place of business located at 400 Crossing Blvd., Bridgewater, New Jersey 08807.

    Defendant Amneal Pharmaceuticals, Inc. is a citizen of Delaware and New Jersey.

           51.     Amneal Pharmaceuticals LLC and Amneal Pharmaceuticals of New York, LLC are

    subsidiaries of Amneal Pharmaceuticals, Inc. Collectively, these entities shall be referred to as

    “Amneal.”

           52.     Defendant Amneal purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Amneal.




                                                    11
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 17 of 152



                                          ANDA Repository

           53.    Defendant ANDA Repository, LLC is a Delaware limited liability company with

    its principal place of business located at 3477 Corporate Pkwy, Ste. 100, Center Valley,

    Pennsylvania 18034. Upon information and belief, the member(s) of ANDA Repository, LLC and

    the company itself are citizens of Pennsylvania

                                         Ani Pharmaceuticals

           54.    Defendant Ani Pharmaceuticals Inc. is a Delaware corporation with its principal

    place of business located at 210 Main Street West, Baudette, Minnesota 56623. Defendant Ani

    Pharmaceuticals Inc. is a citizen of Delaware and Minnesota.

                                                Apotex

           55.    Defendant Apotex Corporation is a Delaware corporation with its principal place

    of business located at 2400 N. Commerce Parkway, Suite 400, Weston, Florida 33326. Apotex

    Corporation is a citizen of Delaware and Florida.

           56.    Defendant Apotex Inc. is a corporation organized and existing under the laws of

    Canada with its principal place of business located at 150 Signet Drive, Toronto, Ontario, M9L

    1T9 Canada. Apotex Inc. is a citizen of Canada.

           57.    Apotex Corporation is a subsidiary of Apotex Inc. Collectively, these entities shall

    be referred to as “Apotex.”

           58.    Defendant Apotex purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Apotex.

                                                 Appco
           59.    Defendant Appco Pharma LLC (“Appco”) is a New Jersey limited liability

    company with its principal place of business located at 120 Belmont Drive, Somerset, New Jersey


                                                      12
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 18 of 152



    08873. Upon information and belief, the member(s) of Appco and the company itself are citizens

    of New Jersey.

                                                Aurobindo

           60.       Defendant Auro Health LLC is a New Jersey limited liability company with is

    principal place of business located at 2572 U.S. Highway 1, Lawrenceville, New Jersey 08648.

    The sole member of Auro Health LLC is Aurobindo Pharma USA, Inc., a Delaware corporation

    with its principal place of business located in New Jersey. Auro Health LLC is a citizen of

    Delaware and New Jersey.

           61.       Aurobindo Pharma USA, Inc. is a Delaware corporation with its principal place of

    business located at 279 Princeton Highstown Road, East Windsor, New Jersey 08520. Aurobindo

    Pharma USA, Inc. is a citizen of Delaware and New Jersey.

           62.       Defendant Aurobindo Pharma, Ltd. is a corporation organized and existing under

    the laws of India with its principal place of business located at Plot No. 2, Maitrivihar, Ameerpet,

    Hyderabad-500038, Telangana, India. Aurobindo Pharma, Ltd. is a citizen of India.

           63.       Auro Health LLC and Aurobindo Pharma USA, Inc. are subsidiaries of Aurobindo

    Pharma, Ltd. Collectively, these entities shall be referred to as “Aurobindo.”

           64.       Defendant Aurobindo purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Aurobindo.

                                           Contract Pharmacal

           65.       Defendant Contract Pharmacal Corp. is a New York corporation with its principal

    place of business located at 135 Adams Avenue, Hauppauge, New York 11788.                  Contract

    Pharmacal Corp. is a citizen of New York.




                                                    13
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 19 of 152



                                               Dr. Reddy’s

           66.     Defendant Dr. Reddy’s Laboratories Inc. is a New Jersey corporation with its

    principal place of business located at 107 College Rd. E, Princeton, New Jersey 08540. Dr.

    Reddy’s Laboratories Inc. is a citizen of New Jersey.

           67.     Defendant Dr. Reddy’s Laboratories, Ltd. is corporation organized and existing

    under the laws of India with its principal place of business located at 8-2-337, Road No. 3, Banjara

    Hills, Hyderabad Telangana 500 034, India. Dr. Reddy’s Laboratories, Ltd. is a citizen of India.

           68.     Defendant Dr. Reddy’s Laboratories SA is a corporation organized and existing

    under the laws of Switzerland with its principal place of business located at Elisabethenanlage, 11,

    Basel, 4051 Switzerland. Dr. Reddy’s Laboratories SA is a citizen of Switzerland.

           69.     Dr. Reddy’s Laboratories Inc. and Dr. Reddy’s Laboratories, Ltd. are subsidiaries

    of Dr. Reddy’s Laboratories SA. Collectively, these entities shall be referred to as “Dr. Reddy’s.”

           70.     Defendant Dr. Reddy’s purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Dr. Reddy’s.

                                                Geri-Care

           71.     Defendant Geri-Care Pharmaceuticals, Corp. (“Geri-Care”) is a New York

    corporation with its principal place of business located at 1650 63rd Street, Brooklyn, New York

    11204. Geri-Care is a citizen of New York.

           72.     Defendant Geri-Care purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Geri-Care.




                                                    14
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 20 of 152



                                               Glenmark

           73.     Defendant Glenmark Pharmaceuticals, Inc., USA is a Delaware corporation with

    its principal place of business located at 750 Corporate Drive, Mahwah, New Jersey 07430.

    Glenmark Pharmaceuticals, Inc., USA is a citizen of Delaware and New Jersey

           74.     Defendant Glenmark Generics Ltd is a corporation organized and existing under

    the laws of India with its principal place of business located at Glenmark House, B.D. Sawant

    Marg., Chakala, Western Express Highway, Andheri (E), Mumbai 400 099, India. Glenmark

    Generics Ltd is a citizen of India.

           75.     Defendant Glenmark Pharmaceuticals Ltd. is a corporation organized and existing

    under the laws of India with its principal place of business located at Glenmark House, B.D.

    Sawant Marg., Chakala, Western Express Highway, Andheri (E), Mumbai 400 099, India.

    Glenmark Pharmaceuticals Ltd. is a citizen of India.

           76.     Glenmark Pharmaceuticals, Inc., USA and Glenmark Generics Ltd are subsidiaries

    of Glenmark Pharmaceuticals Ltd. Collectively, these entities shall be referred to as “Glenmark.”

           77.     Defendant Glenmark purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Glenmark.

                                               Granules

           78.     Defendant Granules USA, Inc. is a Delaware corporation with its principal place of

    business located at 35 Waterview Blvd., Parsippany, New Jersey 07054. Granules USA, Inc. is a

    citizen of Delaware and New Jersey.




                                                   15
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 21 of 152



           79.     Defendant Granules India, Ltd. is a corporation organized and existing under the

    laws of India with its principal place of business located at 2nd Floor, 3rd Block, My Home Hub,

    Madhapur, Hyderabad – 500 081 (TG), India. Granules India, Ltd. is a citizen of India.

           80.     Granules USA, Inc. is a subsidiary of Granules India, Ltd. Collectively, these

    entities shall be referred to as “Granules.”

           81.     Defendant Granules purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Granules.

                                                   Heritage

           82.     Defendant Heritage Pharma Labs Inc. is a New Jersey corporation with its principal

    place of business located at 21 Cotters Ln Ste B, East Brunswick, New Jersey, 08816-2050.

    Heritage Pharma Labs Inc. is a citizen of New Jersey.

           83.     Defendant Heritage Pharmaceuticals, Inc. is a Delaware corporation with its

    principal place of business located at 21 Cotters Ln Ste B, East Brunswick, New Jersey, 08816-

    2050. Heritage Pharmaceuticals, Inc. is a citizen of Delaware and New Jersey

           84.     Defendant Emcure Pharmaceuticals Ltd. is corporation organized and existing

    under the laws of India with its principal place of business located at Emcure House T 184, MIDC

    Bhosari Pune, 411 026 India. Emcure Pharmaceuticals Ltd. is a citizen of India.

           85.     Heritage Pharma Labs Inc. and Heritage Pharmaceuticals, Inc. are subsidiaries of

    Emcure Pharmaceuticals Ltd. Collectively, these entities shall be referred to as “Heritage.”

                                                   Hikma

           86.     Defendant Hikma Pharmaceuticals USA, Inc. f/k/a West-Ward Pharmaceuticals

    Corp. is a Delaware corporation with its principal place of business located at 246 Industrial Way




                                                     16
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 22 of 152



    West, Eatontown, New Jersey, 07724. Hikma Pharmaceuticals USA, Inc. is a citizen of Delaware

    and New Jersey.

           87.     Defendant    Hikma     Pharmaceuticals      International,   Ltd.   f/k/a   West-Ward

    Pharmaceuticals International, Ltd. is a corporation organized and existing under the laws of the

    United Kingdom with its principal place of business located at 1 New Burlington Place, London,

    England W1S 2HR. Hikma Pharmaceuticals International Ltd. is a citizen of the United Kingdom.

           88.     Hikma Pharmaceuticals USA, Inc. and Hikma Pharmaceuticals International Ltd.

    are subsidiaries of Hikma Pharmaceuticals, PLC. Collectively, these entities shall be referred to

    as “Hikma.”

                                                 Hi-Tech

           89.     Defendant Hi-Tech Pharmacal Co., Inc. is a Delaware corporation with its principal

    place of business located at 369 Bayview Avenue, Amityville, New York 11701. Hi-Tech

    Pharmacal Co., Inc. is a citizen of Delaware and New York.

                                              JB Chemicals

           90.     Defendant Unique Pharmaceutical Laboratories, Ltd. is a corporation organized

    and existing under the laws of India with its principal place of business located at Neelam Centre,

    B’Wing, 4th Floor, Hund-Cycle Road, Worli, Mumbai – 400025, Maharashtra, India. Unique

    Pharmaceutical Laboratories, Ltd. is a citizen of India.

           91.     J B Chemicals and Pharmaceuticals Ltd. is a corporation organized and existing

    under the laws of India with its principal place of business located at Cnergy IT Park, Unit 2A, 3rd

    Floor & Unit A, 8th Floor, App Saheb Marathe Marg, Prabhadevi, Mumbai, 400 025, India. J B

    Chemicals and Pharmaceuticals Ltd. is a citizen of India.




                                                    17
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 23 of 152



           92.     Unique Pharmaceutical Laboratories, Ltd. is a subsidiary of J B Chemicals and

    Pharmaceuticals Ltd. Collectively, these entities shall be referred to as “JB Chemicals.”

                                                 Lannett

           93.     Defendant Lannett Co., Inc. (“Lannett”) is a Delaware corporation with its principal

    place of business located at 9000 State Road, Philadelphia, Pennsylvania 19136. Lannett is a

    citizen of Delaware and Pennsylvania.

           94.     Defendant Lannett purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Lannett.

                                                  Mylan

           95.     Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its

    principal place of business located at 781 Chestnut Ridge Road, Morgantown, West Virginia

    26505. Mylan Pharmaceuticals, Inc. is a citizen of West Virginia.

           96.     Defendant Mylan Institutional LLC is a Delaware limited liability company with

    its principal place of business located at 1718 Northrock Court, Rockford, Illinois 61103. The sole

    member of Mylan Institutional LLC is Mylan, Inc., a Pennsylvania corporation with is principal

    place of business in that state. Mylan Institutional LLC is a citizen of Pennsylvania.

           97.     Defendant Mylan, Inc. is a Pennsylvania corporation with its principal place of

    business located at 1000 Mylan Blvd., Canonsburg, Pennsylvania 15317. Mylan, Inc. is a citizen

    of Pennsylvania.

           98.     Defendant Mylan Laboratories Ltd. is a corporation organized and existing under

    the laws of India with its principal place of business located at Plot No. 564/A/22, Road No. 92,

    Jubilee Hills 500 034, Hyderabad, India. Mylan Laboratories Ltd. is a citizen of India.




                                                    18
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 24 of 152



           99.     Mylan Pharmaceuticals, Inc., Mylan Institutional LLC, Mylan Laboratories Ltd.,

    and Mylan, Inc. are subsidiaries of Mylan N.V. Collectively, these entities shall be referred to as

    “Mylan.”

           100.    Defendant Mylan purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Mylan.

                                                Nostrum

           101.    Defendant Nostrum Laboratories Inc. (“Nostrum”) is a New Jersey corporation

    with its principal place of business located at 1370 Hamilton Street, Summerset, New Jersey

    08873. Nostrum Laboratories Inc. is a citizen of New Jersey.

           102.    Defendant Nostrum purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Nostrum.

                                                Novitium

           103.    Defendant Novitium Pharma LLC (“Novitium”) is a Delaware limited liability

    company with its principal place of business located at 70 Lake Drive, East Windsor, New Jersey

    08520. Upon information and belief, the member(s) of Novitium and the company itself are

    citizens of New Jersey.

           104.    Defendant Novitium purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Novitium.




                                                    19
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 25 of 152



                                                    PAI

           105.    Defendant PAI Holdings, LLC f/k/a Pharmaceutical Associates, Inc., is a South

    Carolina limited liability company with its principal place of business located at 1700 Perimeter

    Road, Greenville, South Carolina 29605. Upon information and belief, the member(s) of PAI

    Holdings, LLC and the company itself are citizens of South Carolina.

                                          Par Pharmaceutical

           106.    Defendant Par Pharmaceutical Inc. is a New York corporation with its principal

    place of business located at 6 Ram Ridge Road, Chestnut Ridge, New York, 10977.              Par

    Pharmaceutical Inc. is a citizen of New York.

                                                 Perrigo

           107.    Defendant L. Perrigo Co. is a Michigan corporation with its principal place of

    business located at 515 Eastern Avenue, Allegan, Michigan 49010. L. Perrigo Co. is a citizen of

    Michigan.

           108.    Defendant Perrigo Company is a Michigan corporation with its principal place of

    business located at 515 Eastern Avenue, Allegan, Michigan 49010. Perrigo Company is a citizen

    of Michigan.

           109.    Defendant Perrigo Research & Development Company is a Michigan corporation

    with its principal place of business located at 515 Eastern Avenue, Allegan, Michigan 49010.

    Perrigo Research & Development Company is a citizen of Michigan.

           110.    Defendant Perrigo Company, plc is a corporation organized and existing under the

    laws of Ireland with its principal place of business located at Treasury Building, Lower Grand

    Canal Street, Dublin, 2 Ireland. Perrigo Company, plc is a citizen of Ireland.




                                                    20
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 26 of 152



           111.    L. Perrigo Co., Perrigo Company, and Perrigo Research & Development Company

    are subsidiaries of Perrigo Company, plc. Collectively, these entities shall be referred to as

    “Perrigo.”

           112.    Defendant Perrigo purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Perrigo.

                                                 Sandoz

           113.    Defendant Sandoz Inc. (“Sandoz”) is a Colorado corporation with its principal

    place of business located at 100 College Road West, Princeton, New Jersey 08540. Sandoz Inc.

    is a citizen of Colorado and New Jersey.

                                                 Strides

           114.    Defendant Strides Pharma, Inc. is a New Jersey corporation with its principal place

    of business located at 2 Tower Center Blvd., Suite 1102, East Brunswick, New Jersey 08816.

    Strides Pharma, Inc. is a citizen of New Jersey.

           115.    Defendant Strides Pharma Global Pte. Ltd. is a corporation organized and existing

    under the laws of Singapore with its principal place of business located at 8 Eu Tong Sen Street,

    #15-93, The Central, Singapore 059818. Strides Pharma Global Pte. Ltd. is a citizen of Singapore.

           116.    Defendant Strides Pharma Science Ltd. is a corporation organized and existing

    under the laws of India with its principal place of business located at Strides House, Bilekahalli,

    Bannerghatta Road, Bangalore 560 076, India. Strides Pharma Science Ltd. is a citizen of India.

           117.    Strides Pharma, Inc., Strides Pharma Global Pte. Ltd, and Strides Pharma Science

    Ltd. are subsidiaries of Strides Arcolab International Ltd. Collectively, these entities shall be

    referred to as “Strides.”




                                                       21
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 27 of 152



            118.    Defendant Strides purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Strides.

                                                   Taro

            119.    Defendant Taro Pharmaceuticals U.S.A., Inc. is a New York corporation with its

    principal place of business located at Three Skyline Drive, Hawthorne, New York 10532. Taro

    Pharmaceuticals U.S.A., Inc. is a citizen of New York.

            120.    Defendant Ranbaxy Inc. is a Texas corporation with its principal place of business

    located at 2 Independence Way, Princeton, New Jersey 08540. Ranbaxy Inc. is a citizen of Texas

    and New Jersey.

            121.    Defendant Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals

    Inc., is a Delaware corporation with is principal place of business located at 2 Independence Way,

    Princeton, New Jersey 08540. Sun Pharmaceutical Industries, Inc. is a citizen of Delaware and

    New Jersey.

            122.    Defendant Sun Pharmaceutical Industries Ltd. is corporation organized and existing

    under the laws of India with its principal place of business located at Western Express Highway

    Sun House, CTS No 201 B/1 Goregaon East, Mumbai, 400 063 India. Sun Pharmaceutical

    Industries Ltd. is a citizen of India.

            123.    Defendant Taro Pharmaceutical Industries Ltd. is a corporation organized and

    existing under the laws of Israel with its principal place of business located at 14 Hakitor Street,

    Haifa Bay 2624761, Israel. Taro Pharmaceutical Industries Ltd. is a citizen of Israel.

            124.    Taro Pharmaceuticals U.S.A., Inc., Ranbaxy Inc., Sun Pharmaceutical Industries,

    Inc. (f/k/a Ranbaxy Pharmaceuticals Inc.), and Sun Pharmaceutical Industries Ltd. are subsidiaries




                                                    22
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 28 of 152



    of Taro Pharmaceutical Industries Ltd. Collectively, these entities shall be referred to as “Taro

    Pharmaceutical.”

                                                     Teva

           125.    Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company with

    its principal place of business located at 1877 Kawai Rd., Lincolnton, North Carolina 28092. The

    membership interest of Actavis Mid Atlantic LLC is owned by Teva Pharmaceuticals U.S.A., Inc.,

    either directly or through an intervening limited liability company. Teva Pharmaceuticals U.S.A.,

    Inc. is a Delaware corporation with its principal place of business in Pennsylvania. Actavis Mid

    Atlantic LLC is a citizen of Delaware and Pennsylvania.

           126.    Defendant Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its

    principal place of business located at 400 1090 Horsham Road North Wales, Pennsylvania 19454.

    Teva Pharmaceuticals U.S.A., Inc. is a citizen of Delaware and Pennsylvania.

           127.    Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

    place of business located at 400 Interpace Parkway, Bldg. A., Parsippany, New Jersey, 07054.

    Watson Laboratories, Inc. is a citizen of Nevada and New Jersey.

           128.     Defendant Teva Pharmaceutical Industries Ltd. is a corporation organized and

    existing under the laws of Israel with its principal place of business located at 5 Basel Street, Petach

    Tikva, Israel, 4951033. Teva Pharmaceutical Industries Ltd. is a citizen of Israel.

           129.    Actavis Mid Atlantic LLC, Teva Pharmaceuticals U.S.A., Inc., and Watson

    Laboratories, Inc. are subsidiaries of Teva Pharmaceutical Industries Ltd. Collectively, these

    entities shall be referred to as “Teva.”




                                                      23
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 29 of 152



                                                 Torrent

           130.    Defendant Torrent Pharma Inc. is a Delaware corporation with its principal place

    of business located at 150 Allen Road, Suite 102, Basking Ridge, New Jersey 07920. Torrent

    Pharma Inc. is a citizen of Delaware and New Jersey.

                                                   VKT

           131.    VKT Pharma Inc. is a Delaware corporation with its principal place of business

    located at 8 The Green, Suite A, Dover, Delaware 19901. VKT Pharma Inc. is a citizen of

    Delaware.

           132.    Defendant VKT Pharma Private Ltd. is a corporation organized and existing under

    the laws of India with its principal place of business located at Plot No. 72, H.No. 8-2-334/ 3 & 4,

    4th Floor, Road No. 05, Opp SBI Executive Enclave, Banjara Hills, Hyderabad, 500 034,

    Telangana, India. VKT Pharma Private Ltd. is a citizen of India.

           133.    VKT Pharma Inc. is a subsidiary of VKT Pharma Private Ltd. Collectively, these

    entities shall be referred to as “VKT.”

           134.    Defendant VKT purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant VKT.

                                               Wockhardt

           135.    Defendant Wockhardt USA LLC is a Delaware limited liability company with its

    principal place of business located at 20 Waterview Blvd., Parsippany, New Jersey 07054. Upon

    information and belief, the sole member of Wockhardt USA LLC is Wockhardt USA, Inc., a

    Delaware corporation with its principal place of business in New Jersey. Wockhardt USA LLC is

    a citizen of Delaware and New Jersey.




                                                    24
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 30 of 152



           136.    Wockhardt USA, Inc. is a Delaware corporation with its principal place of business

    located at 135 Route 202/206, Bedminster, New Jersey 07921. Wockhardt USA, Inc. is a citizen

    of Delaware and New Jersey.

           137.    Defendant Wockhardt, Ltd. is a corporation organized and existing under the laws

    of India with its principal place of business located at Wockhardt Towers, Bandra Kurla Complex,

    Bandra (East), Mumbai 400051, Maharashtra, India. Wockhardt, Ltd. is a citizen of India.

           138.    Wockhardt USA LLC and Wockhardt USA, Inc. are subsidiaries of Wockhardt,

    Ltd. Collectively, these entities shall be referred to as “Wockhardt.”

           139.    Defendant Wockhardt purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Wockhardt.

                                              Zydus-Cadila

           140.    Defendant Zydus Pharmaceuticals (USA) Inc. is a New Jersey corporation with its

    principal place of business located at 73 Route 31 N., Pennington, New Jersey 08534. Zydus

    Pharmaceuticals (USA) Inc. is a citizen of New Jersey.

           141.    Cadila Healthcare Ltd. is a corporation organized and existing under the laws of

    India with its principal place of business located at Zydus Tower, Satellite Cross Roads, Sarkhej-

    Gandhinagar Highway, Amedabad 380 015, India. Cadila Healthcare Ltd. is a citizen of India.

           142.    Zydus Pharmaceuticals (USA) Inc. is a subsidiary of Cadila Healthcare Ltd. These

    entities operate under the trade name of, and shall be referred to as, “Zydus-Cadila.”

           143.    Defendant Zydus-Cadila purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Zydus-Cadila.




                                                    25
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 31 of 152



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             144.   Defendants identified in paragraphs 38 to 143 above shall be referred to collectively

    as the “Generic Manufacturer Defendants.” At all relevant times, the Generic Manufacturer

    Defendants have conducted business and derived substantial revenue from their design,

    manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

    of ranitidine-containing products within each of the States and Territories of the United States.

                 Distributor Defendants

             145.   Distributors purchase bulk ranitidine-containing products from the Brand-Name

    Manufacturer Defendants and Generic Manufacturer Defendants and then sell to the Retailer

    Defendants. The distributor market is extremely concentrated, with three entities controlling

    approximately 92% of the volume: Defendants Amerisource Bergen Corporation; Cardinal

    Health, Inc.; and McKesson Corporation.

                                           Amerisource Bergen

             146.   Defendant AmerisourceBergen Corporation is a Delaware corporation with its

    principal place of business located at 1300 Morris Drive, Chesterbrook, Pennsylvania 19087.

    AmerisourceBergen Corp. is a citizen of Delaware and Pennsylvania.4

             147.   Defendant AmerisourceBergen Corporation purchased ranitidine and repackaged

    and/or relabeled it under Defendant’s own brand. Therefore, all allegations referring to the

    “Repackager Defendants” apply to Defendant AmerisourceBergen Corporation.




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        Defendant AmerisourceBergen Corporation is also a “Generic Manufacturer Defendant” and is
        listed again under that heading above.


                                                      26
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 32 of 152



                                             Cardinal Health

            148.    Defendant Cardinal Health, Inc. (“Cardinal Health”) is an Ohio corporation with its

    principal place of business located at 7000 Cardinal Place, Dublin, Ohio 43017. Cardinal Health

    is a citizen of Ohio.

            149.    Defendant Cardinal Health purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Cardinal Health.

                                                 Chattem

            150.    Defendant Chattem, Inc. (“Chattem”) is a Tennessee corporation with its principal

    place of business located at 1715 West 38th Street Chattanooga, Tennessee 37409. Chattem is a

    citizen of Tennessee. Chattem is a wholly owned subsidiary of Sanofi S.A., a French corporation

    otherwise described above.

            151.    Defendant Chattem purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Chattem.

                                                McKesson

            152.    Defendant McKesson Corporation is a Delaware corporation with its principal

    place of business located at 6555 State Highway 161, Irving, TX 94104. McKesson Corporation

    is a citizen of Delaware and Texas.

            153.    Defendant McKesson Corporation purchased ranitidine and repackaged and/or

    relabeled it under Defendant’s own brand. Therefore, all allegations referring to the “Repackager

    Defendants” apply to Defendant McKesson Corporation.

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                                                     27
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 33 of 152



           154.    Defendants AmerisourceBergen Corporation, Cardinal Health, Chattem, and

    McKesson Corporation, shall be referred to collectively as the “Distributor Defendants.” At all

    relevant times, the Distributor Defendants have conducted business and derived substantial

    revenue from their testing, marketing, labeling, packaging, handling, distribution, storage, and/or

    sale of ranitidine-containing products within each of the States and Territories of the United States.

               Retailer Defendants

           155.    Retailers derived substantial revenue from marketing, handling, distributing,

    storing, and selling ranitidine-containing products within each of the States and Territories of the

    United States. As described below, many retailers also used their own brand names on relabeled

    ranitidine-containing products.

                                                 Albertson’s

           156.    Defendant Albertson’s Companies, Inc. is a Delaware corporation with a its

    principal place of business located at 132 E. Lake Street, McCall, Idaho 83638. Albertson’s

    Companies, Inc. is a citizen of Delaware and Idaho.

           157.    Defendant Safeway, Inc. is a Delaware corporation with its principal place of

    business located at 5918 Stoneridge Mall Road, Pleasanton, California 94588. Safeway, Inc. is a

    citizen of Delaware and California.

           158.    Defendant Safeway, Inc. purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Safeway, Inc.

           159.    Safeway, Inc. is a subsidiary of Albertson’s Companies, Inc. Collectively, these

    entities shall be referred to as “Albertson’s.”




                                                      28
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 34 of 152



                                               Amazon

           160.   Defendant Amazon.com, Inc. is Delaware corporation with its principal place of

    business located at 410 Terry Avenue North, Seattle, Washington 98109. Amazon.com, Inc. is a

    citizen of Delaware and Washington.

                                                 BJ’s

           161.   Defendant BJ’s Wholesale Club Holdings, Inc. is a Delaware corporation with its

    principal place of business located at 25 Research Drive, Westborough, Massachusetts 01581.

    BJ’s Wholesale Club Holdings, Inc. is a citizen of Delaware and Massachusetts.

                                                Costco

           162.   Defendant Costco Wholesale Corporation (“Costco”) is a Washington corporation

    with its principal place of business located at 999 Lake Drive, Issaquah, Washington 98027.

    Costco is a citizen of Washington.

           163.   Defendant Costco purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Costco.

                                                 CVS

           164.   Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation with its

    principal place of business located at One CVS Drive, Woonsocket, Rhode Island 02895.

    Defendant CVS is a citizen of Delaware and Rhode Island.

           165.   Defendant CVS purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant CVS.




                                                  29
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 35 of 152



            166.    CVS is the largest pharmacy healthcare provider in the United States. In 2015,

    CVS Health Corporation acquired Target Corporation’s pharmacies and clinics. CVS defined

    herein includes any current or former Target pharmacy.

                                                Dollar General

            167.    Defendant Dolgencorp, LLC (“Dollar General”) is a Kentucky limited liability

    company with its principal place of business located at 100 Mission Rdg., Goodlettsville,

    Tennessee 37072. Dollar General Corporation is the sole member of Dolgencorp, LLC. Dollar

    General Corporation is a Tennessee corporation with its principal place of business in Tennessee.

    Dollar General is a citizen of Tennessee.

            168.    Defendant Dollar General purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant Dollar General.

                                                 Dollar Tree

            169.    Defendant Family Dollar, Inc. is a North Carolina corporation with its principal

    place of business located at 500 Volvo Parkway, Chesapeake, Virginia 23320. Family Dollar, Inc.

    is a citizen of North Carolina and Virginia.

            170.    Defendant Family Dollar, Inc. purchased ranitidine and repackaged and/or

    relabeled it under Defendant’s own brand. Therefore, all allegations referring to the “Repackager

    Defendants” apply to Defendant Family Dollar, Inc.

            171.    Defendant Dollar Tree Stores, Inc. is a Virginia corporation with its principal place

    of business located at 500 Volvo Parkway, Chesapeake, Virginia 23320. Dollar Tree Stores, Inc.

    is a citizen of Virginia.




                                                     30
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 36 of 152



           172.    Family Dollar, Inc. is a subsidiary of Dollar Tree Stores, Inc. Collectively, these

    entities shall be referred to as “Dollar Tree.”

                                              Express Scripts

           173.    Defendant Express Scripts, Inc. is a Delaware corporation with its principal place

    of business located at One Express Way, St. Louis, Missouri 63121. Defendant Express Scripts,

    Inc. is a citizen of Delaware and Missouri.

                                                  Giant Eagle

           174.    Defendant Giant Eagle, Inc. is a Pennsylvania corporation with its principal place

    of business located at 101 Kappa Drive, Pittsburgh, Pennsylvania 15238. Defendant Giant Eagle,

    Inc. is a citizen of Pennsylvania.

                                                      HEB

           175.    Defendant H-E-B LP f/k/a HEB Grocery Company (“HEB”) is a Texas limited

    partnership with its principal place of business located at 646 South Main Avenue, San Antonio,

    Texas 78204. Upon information and belief, the partners of H-E-B LP are citizens of Texas and,

    thus, H-E-B LP is a citizen of Texas.

           176.    Defendant HEB purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant HEB.

                                                   Humana

           177.    Defendant Humana Pharmacy Solutions, Inc. is a Kentucky corporation with its

    principal place of business located at 500 West Main Street, Louisville, Kentucky 40202. Humana

    Pharmacy Solutions, Inc. is a citizen of Kentucky.




                                                      31
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 37 of 152



                                                  Hy-Vee

            178.   Defendant Hy-Vee, Inc. is an Iowa corporation with its principal place of business

    located at 5820 Westown Parkway, West Des Moines, Iowa 50266. Hy-Vee, Inc. is a citizen of

    Iowa.

                                           Kaiser Permanente

            179.   Defendant Kaiser Permanente International is a California corporation with its

    principal place of business located at One Kaiser Place, Oakland, California 94612. Kaiser

    Permanente International is a citizen of California.

                                                  Kmart

            180.   Defendant Kmart Corporation is a Michigan corporation with its principal place of

    business located at 3333 Beverly Road, Hoffman Estates, IL 60179. Kmart Corporation is a citizen

    of Michigan and Illinois.

                                                  Kroger

            181.   Defendant The Kroger Co. is an Ohio corporation with its principal place of

    business located at 1014 Vine Street, Cincinnati, Ohio 45202. The Kroger Co. is a citizen of Ohio.

            182.   Defendant The Kroger Co. purchased ranitidine and repackaged and/or relabeled it

    under Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants”

    apply to Defendant The Kroger Co.

            183.   Defendant Smith’s Food and Drug Centers, Inc. is an Ohio corporation with its

    principal place of business located at 1014 Vine Street, Cincinnati, Ohio 45202. Smith’s Food and

    Drug Centers, Inc. is a citizen of Ohio.




                                                    32
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 38 of 152



              184.   Defendant Fred Meyer Stores, Inc. is an Ohio corporation with its principal place

    of business located at 3800 SE 22nd Avenue, Portland, Oregon 97202. Fred Meyer Stores, Inc. is

    a citizen of Ohio and Oregon.

              185.   Smith’s Food and Drug Centers, Inc. and Fred Meyer Stores, Inc. are subsidiaries

    of The Kroger Co. Collectively, these entities shall be referred to as “Kroger.”

                                              Medicine Shoppe

              186.   The Medicine Shoppe International, Inc. is a Delaware corporation with its

    principal place of business located at 1100 N. Lindbergh Boulevard, St. Louis, Missouri 63132.

    The Medicine Shoppe International, Inc. is a citizen of Delaware and Missouri.

              187.   The Medicine Shoppe International, Inc. is a subsidiary of Cardinal Health.5 and

    shall be referred to as the “Medicine Shoppe.”

                                               Price Chopper

              188.   Defendant Price Chopper Operating Co., Inc. is a New York corporation with its

    principal place of business located at 461 Nott St., Schenectady, New York 12308. Price Chopper

    Operating Co., Inc. is a citizen of New York.

                                                    Publix

              189.   Defendant Publix Supermarkets, Inc. (“Publix”) is a Florida corporation with its

    principal place of business located at 3300 Publix Corporate Parkway, Lakeland, Florida 33811.

    Publix is a citizen of Florida.

              190.   Defendant Publix purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Publix.



    5
        Cardinal Health is also a “Distributor Defendant” and is listed again under that heading above.


                                                      33
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 39 of 152



                                                  Rite Aid

            191.    Defendant Rite Aid Corporation (“Rite Aid”) is a Delaware corporation with its

    principal place of business located at 30 Hunter Lane, Camp Hill, Pennsylvania 17011. Rite Aid

    is a citizen of Delaware and Pennsylvania.

            192.    Defendant Rite Aid purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Rite Aid.

                                                 Shop-Rite

            193.    Defendant Shop-Rite Supermarkets, Inc. is a New Jersey corporation with its

    principal place of business located at 5000 Riverside Drive, Keasbey, New Jersey 08332.

    Defendant Shop-Rite Supermarkets, Inc. is citizen of New Jersey.

            194.    Defendant Wakefern Food Corporation is a New Jersey corporation with its

    principal place of business located at 5000 Riverside Drive, Keasbey, New Jersey 08332.

    Defendant Wakefern Food Corporation is citizen of New Jersey.

            195.    Shop-Rite Supermarkets, Inc. is a subsidiary of Wakefern Food Corporation.

    Collectively, these entities shall be referred to as “Shop-Rite.”

                                        UnitedHealth (OptumRx)

            196.    Defendant OptumRx, Inc. is a California corporation with its principal place of

    business located at 2300 Main Street, MS CA134-501, Irvine, California 92614. Optum Rx, Inc.

    is a citizen of California.

                                             Vitamin Shoppe

            197.    Defendant Vitamin Shoppe Industries, LLC f/k/a Vitamin Shoppe Industries, Inc.

    “Vitamin Shoppe” is a New York limited liability company with its principal place of business




                                                     34
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 40 of 152



    located at 300 Harmon Meadow Boulevard, Secaucus, New Jersey 07094. Franchise Group, Inc.

    is the sole member of Vitamin Shoppe. Franchise Group, Inc. is a Delaware corporation with its

    principal place of business in Virginia. Vitamin Shoppe is a citizen of Delaware and Virginia

                                                  Walgreens

           198.    Defendant Walgreen Co. is a Delaware corporation with its principal place of

    business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreen Co. is a citizen of

    Delaware and Illinois.

           199.    Defendant Duane Reade, Inc. is a Delaware corporation with its principal place of

    business located at 108 Wilmot Road, Deerfield, Illinois 60015. Duane Reade, Inc. is a citizen of

    Delaware and Illinois.

           200.    Defendant Walgreens Boot Alliance, Inc. is a Delaware corporation with its

    principal place of business located at 108 Wilmot Road, Deerfield, Illinois 60015. Walgreens Boot

    Alliance, Inc. is a citizen of Delaware and Illinois.

           201.    Defendant Walgreens Boot Alliance, Inc. purchased ranitidine and repackaged

    and/or relabeled it under Defendant’s own brand. Therefore, all allegations referring to the

    “Repackager Defendants” apply to Defendant Walgreens Boot Alliance, Inc.

           202.    Walgreen Co. and Duane Reade, Inc. are subsidiaries of Walgreens Boots Alliance,

    Inc. Collectively, these entities shall be referred to as “Walgreens.”

                                                  Walmart

           203.    Defendant Walmart Inc. f/k/a Wal-Mart Stores, Inc. is a Delaware corporation with

    its principal place of business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Walmart

    Inc. is a citizen of Delaware and Arkansas.




                                                      35
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 41 of 152



            204.     Defendant Sam’s West, Inc. is an Arkansas corporation with its principal place of

    business located at 702 SW 8th Street, Bentonville, Arkansas 72716. Sam’s West, Inc. is a citizen

    of Arkansas.

            205.     Sam’s West, Inc. is a subsidiary of Walmart, Inc. Collectively, these entities shall

    be referred to as “Walmart.”

            206.     Defendant Walmart purchased ranitidine and repackaged and/or relabeled it under

    Defendant’s own brand. Therefore, all allegations referring to the “Repackager Defendants” apply

    to Defendant Walmart.

                                                 Winn Dixie

            207.     Defendant Winn Dixie Stores, Inc. is a Florida corporation with its principal place

    of business located 8928 Prominence Parkway #200, Jacksonville, Florida 32256. Winn Dixie

    Stores, Inc. is a citizen of Florida.

            208.     Defendant Southeastern Grocers, Inc. f/k/a Southeastern Grocers, LLC is a

    Delaware corporation with its principal place of business located at 8928 Prominence Parkway

    #200, Jacksonville, Florida 32256. Southeastern Grocers, Inc. is a citizen of Delaware and Florida.

            209.     Winn Dixie Stores, Inc. is a subsidiary of Southeastern Grocers, Inc. These entities

    shall be referred to as “Winn Dixie.”

                                                  *   *    *

            210.     Defendants identified in paragraphs 156 to 209 above shall be referred to

    collectively as the “Retailer Defendants.” At all relevant times, the Retailer Defendants have

    conducted business and derived substantial revenue from marketing, handling, distributing,

    storing, and selling ranitidine-containing products within each of the States and Territories of the

    United States.




                                                      36
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 42 of 152



                Repackager Defendants

            211.    Repackagers take a finished or unfinished drug product and repackage that product

    into a different container without manipulating, changing, or affecting the composition or

    formulation of the drug. Relabelers change the content on an original manufacture’s label to note

    the drug is distributed or sold under the relabeler’s own name. Repackagers and relabelers,

    together, will be referred to as “Repackager Defendants,” and will include Generic Manufacturer,

    Distributor, and Retailer Defendants above who are also relabelers and/or repackagers.

                                             Denton Pharma

            212.    Defendant Denton Pharma Inc. d/b/a Northwind Pharmaceuticals (“Denton

    Pharma”) is a New York corporation with its principal place of business located at 119 Creamery

    Road, North Blenheim, New York 12131. Denton Pharma is a citizen of New York.

                                                  GSMS

            213.    Defendant Golden State Medical Supply, Inc. (“GSMS”) is a California corporation

    with its principal place of business located at 5187 Camino Ruiz, Camarillo, California 93012.

    Golden State Medical Supply is a citizen of California.

                                              Precision Dose

            214.    Defendant Precision Dose Inc. (“Precision Dose”) is an Illinois corporation with its

    principal place of business located at 722 Progressive Lane S, Beloit, Illinois 61080. Precision

    Dose is a citizen of Illinois.

                                                 *   *    *

            215.    Defendants identified in paragraphs 212 to 214 above, combined with those

    Generic Manufacturer, Distributor, and Retailer Defendants above who are also relabelers and/or

    repackagers, shall be referred to collectively as the “Repackager Defendants.” At all relevant




                                                     37
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 43 of 152



    times, the Repackager Defendants have conducted business and derived substantial revenue from

    testing, marketing, labeling, packaging, handling, distributing, storing, and/or selling ranitidine-

    containing products within each of the States and Territories of the United States.

                                          JURISDICTION & VENUE

            216.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a). In each

    of the actions there is complete diversity among Plaintiffs and Defendants and the amount in

    controversy exceeds $75,000.00, exclusive of interest and costs.

            217.       A substantial part of the events, actions, or omissions giving rise to Plaintiffs’

    causes of action occurred in the federal judicial district identified in each SFC.

            218.       Venue is proper in each of those districts under 28 U.S.C. § 1391(a).

            219.       Pursuant to the Transfer Orders of the Judicial Panel on Multidistrict Litigation,

    venue in actions sharing common questions with the initially transferred actions is proper in this

    Court for coordinated pretrial proceedings pursuant to 28 U.S.C. § 1407.

            220.       Defendants have significant contacts with the federal judicial district identified in

    each Plaintiff’s SFC such that they are subject to the personal jurisdiction of the courts in each of

    those districts.

            221.       At all relevant times, Defendants designed, manufactured, tested, marketed,

    labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products within

    the judicial district listed in the SFCs and targeted the consumer market within those districts.

            222.       At all times alleged herein, Defendants were authorized to conduct or engage in

    business within each of the States and Territories of the United States and supplied ranitidine-

    containing products within each of the States and Territories of the United States. Defendants

    received financial benefit and profits as a result of designing, manufacturing, testing, marketing,




                                                        38
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 44 of 152



    labeling, packaging, handling, distributing, storing, and/or selling ranitidine-containing products

    within each of the States and Territories of the United States

           223.    Defendants each have significant contacts in each of the States and Territories of

    the United States, such that personal jurisdiction would be proper in any of them. Defendants have

    derived revenue from the sale of their ranitidine-containing products in each of the States and

    Territories of the United States.

           224.    Venue is proper for pretrial purposes in the Southern District of Florida, pursuant

    to this Court’s PTO No. 11 Setting Forth Procedures for Direct Filed Personal Injury Cases. Prior

    to trial, Plaintiffs may seek remand and/or transfer of their actions to the federal district of their

    choice, provided venue would have been proper if filed in the first instance, as specified in the

    SFC and PTO No. 11.

                                        FACTUAL ALLEGATIONS

       I. THE CREATION OF RANITIDINE-CONTAINING PRODUCTS AND THEIR
          INTRODUCTION TO THE MARKET

           225.    Defendants designed, manufactured, tested, marketed, labeled, packaged, handled,

    distributed, stored, and/or sold ranitidine under the brand name Zantac or a generic equivalent by

    either prescription or over the counter (“OTC”). Defendants sold or otherwise made available

    ranitidine in the following forms: injection, syrup, granules, tablets and/or capsules.

               GSK Develops Zantac Through a Flurry of Aggressive Marketing Maneuvers

           226.    Ranitidine belongs to a class of medications called histamine H2-receptor

    antagonists (or H2 blockers), which decrease the amount of acid produced by cells in the lining of

    the stomach. Other drugs within this class include cimetidine (branded Tagamet), famotidine

    (Pepcid), and nizatidine (Tazac).

           227.    GSK-predecessor Smith, Kline & French discovered and developed Tagamet, the



                                                     39
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 45 of 152



    first H2 blocker and the prototypical histamine H2 receptor antagonist from which the later

    members of the class were developed.

             228.   GSK6 developed Zantac specifically in response to the success of cimetidine.

    Recognizing the extraordinary potential of having its own H2 blocker in the burgeoning anti-ulcer

    market, GSK was all too willing to ensure its drug succeeded at all costs.

             229.   In 1976, scientist John Bradshaw, on behalf of GSK-predecessor Allen & Hanburys

    Ltd. synthesized and discovered ranitidine.

             230.   Allen & Hanburys Ltd., a then-subsidiary of Glaxo Laboratories Ltd., is credited

    with developing ranitidine and was awarded Patent No. 4,128,658 by the U.S. Patent and

    Trademark Office in December 1978, which covered the ranitidine molecule.

             231.   In 1983, the FDA granted approval to Glaxo to sell Zantac, pursuant to the New

    Drug Application (“NDA”) No. 18-703 and it quickly became GSK’s most successful product—a

    “blockbuster.” Indeed, ranitidine became the first prescription drug in history to reach $1 billion

    in sales.

             232.   To accomplish this feat, GSK entered into a joint promotion agreement with

    Hoffmann-LaRoche, Inc., increasing Zantac’s U.S. sales force from 400 people to approximately

    1,200. More salespersons drove more sales and blockbuster profits for GSK.

             233.   In 1993, GSK (through Glaxo Wellcome plc) entered into a joint venture with

    Pfizer-predecessor company Warner-Lambert Co. to develop an OTC version of Zantac. In 1995,

    the FDA approved OTC Zantac 75 mg tablets through NDA 20-520. In 1998, the FDA approved



    6
        GSK, as it’s known today, was created through a series of mergers and acquisitions: In 1989,
        Smith, Kline & French merged with the Beecham Group to form SmithKline Beecham plc. In
        1995, Glaxo merged with the Wellcome Foundation to become Glaxo Wellcome plc. In 2000,
        Glaxo Wellcome plc merged with SmithKline Beecham plc to form GlaxoSmithKline plc and
        GlaxoSmithKline LLC.


                                                    40
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 46 of 152



    OTC Zantac 75 mg effervescent tablets through NDA 20-745.

              234.    In 1998, GSK (Glaxo Wellcome plc) and Warner-Lambert Co. ended their joint

    venture. As part of the separation, Warner-Lambert Co. retained control over the OTC NDA for

    Zantac and the Zantac trademark in the United States and Canada but was required to obtain

    approval from GSK prior to making any product or trademark improvements or changes. GSK

    regained rights to sell OTC Zantac outside of the United States and Canada,7 and retained control

    over the Zantac trademark internationally.

              235.    In 2000, Pfizer acquired Warner-Lambert Co. Pfizer controlled the Zantac OTC

    NDAs until December 2006.

              236.    In October 2000, GSK sold to Pfizer the full rights to OTC Zantac in the United

    States and Canada pursuant to a divestiture and transfer agreement. As part of that agreement,

    GSK divested all domestic Zantac OTC assets to Pfizer, including all trademark rights. The

    agreement removed the restrictions on Pfizer’s ability to seek product line extensions or the

    approval for higher doses of OTC Zantac. GSK retained the right to exclusive use of the Zantac

    name for any prescription ranitidine-containing product in the United States.

              237.    In October 2003, Pfizer submitted NDA 21-698 for approval to market OTC Zantac

    150 mg. The FDA approved NDA 21-698 on August 31, 2004.

              238.    Throughout the time that Pfizer owned the rights to OTC Zantac, GSK continued

    to manufacture the product.

              239.    In 2006, pursuant to a Stock and Asset Purchase Agreement, Pfizer sold and

    divested its entire consumer health division (including employees and documents) to Johnson &

    Johnson (“J&J”). Because of antitrust issues, however, Zantac was transferred to Boehringer



    7
        GSK also still held the right to sell prescription Zantac in the United States.


                                                        41
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 47 of 152



    Ingelheim.

           240.    Pfizer, through a divestiture agreement, transferred all assets pertaining to its

    Zantac OTC line of products, including the rights to sell and market all formulations of OTC

    Zantac in the United States and Canada, as well as all intellectual property, R&D, and customer

    and supply contracts to Boehringer Ingelheim. As part of that deal, Boehringer Ingelheim obtained

    control and responsibility over all of the Zantac OTC NDAs.

           241.    GSK continued marketing prescription Zantac in the United States until 2017 and

    still holds the NDAs for several prescription formulations of Zantac. GSK continued to maintain

    manufacturing and supply agreements relating to various formulations of both prescription and

    OTC Zantac. According to its recent annual report, GSK claims to have “discontinued making

    and selling prescription Zantac tablets in 2017 . . . in the U.S.”8

           242.    Boehringer Ingelheim owned and controlled the NDA for OTC Zantac between

    December 2006 and January 2017, and manufactured, marketed, and distributed the drug in the

    United States during that period.9

           243.    In 2017, Boehringer Ingelheim sold the rights of OTC Zantac to Sanofi pursuant to

    an asset swap agreement. As part of that deal, Sanofi obtained control and responsibility over

    Boehringer Ingelheim’s entire consumer healthcare business, including the OTC Zantac NDAs.

    As part of this agreement, Boehringer Ingelheim and Sanofi entered into a manufacturing

    agreement wherein Boehringer continued to manufacture OTC Zantac for Sanofi.

           244.    Sanofi has controlled the OTC Zantac NDAs and marketed, sold, and distributed

    Zantac in the United States from January 2017 until 2019 when it issued a recall and ceased



    8
       GlaxoSmithKline, plc, Annual Report 37 (2019), https://www.gsk.com/media/5894/annual-
      report.pdf.
    9
      Boehringer Ingelheim also owned and controlled ANDA 074662.


                                                      42
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 48 of 152



    marketing, selling, and distributing OTC Zantac.

             245.   Throughout the time that Sanofi controlled the OTC Zantac NDAs, Boehringer

    Ingelheim Promeco, S.A. de C.V. and Patheon Manufacturing Services LLC manufactured the

    finished drug product.

             246.   Sanofi voluntarily recalled all brand-name OTC Zantac on October 18, 2019.

             247.   Pfizer and Boehringer Ingelheim have made demands for indemnification per the

    Stock and Asset Purchase Agreement against J&J for legal claims related to OTC Zantac products.

             248.   Sanofi has made a demand for indemnification against J&J pursuant to a 2016 Asset

    Purchase Agreement between J&J and Sanofi.

                Patents Expire, Allowing Generics to Enter the Market

             249.   In 1997, GSK’s patent on the original prescription Zantac product expired, allowing

    generic manufacturers to sell prescription ranitidine.

             250.   When GSK and Pfizer’s patent on the original OTC Zantac product expired, generic

    manufacturers were allowed to sell OTC ranitidine.

             251.   The FDA approved numerous generic manufacturers for the sale of prescription

    and OTC ranitidine through the ANDA process. Those generic manufacturers are:

     ANDA             ANDA Holder             Strength         Dosage         Date       OTC/RX
       #                                                       Form/        Approved
                                                               Route
                                             EQ 150 &
     203694     Acic Pharmaceuticals, Inc    300 mg          Tablet; Oral   11/30/17   Rx
                                             Base
                                             EQ 15 mg
     76124      Actavis Mid Atlantic LLC                     Syrup; Oral    2/21/07    Discontinued
                                             Base/ml
                                             EQ 150 &
                                                             Capsule;
     209859     Ajanta Pharma Ltd.           300 mg                         9/27/18    Rx
                                                             Oral
                                             Base
                                             EQ 150 &
                Amneal Pharmaceuticals
     77824                                   300 mg          Tablet; Oral   10/13/06   Discontinued
                of New York, LLC
                                             Base


                                                     43
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 49 of 152



     ANDA          ANDA Holder           Strength     Dosage         Date       OTC/RX
       #                                              Form/        Approved
                                                      Route
                                         EQ 150 &
     78312    Amneal Pharmaceuticals     300 mg     Syrup; Oral    9/2/08     Rx
                                         Base
                                         EQ 15 mg
     90054    ANDA Repository LLC                   Syrup; Oral    11/15/10   Rx
                                         Base/ml
                                         EQ 150 &
     74488    Ani Pharmaceuticals Inc.   300 mg     Tablet; Oral   7/31/97    Discontinued
                                         Base
                                         EQ 75 mg
     75212    Ani Pharmaceuticals Inc.              Tablet; Oral   1/14/00    Discontinued
                                         Base
                                         EQ 75 mg
     75296    Ani Pharmaceuticals Inc.              Tablet; Oral   1/14/00    Discontinued
                                         Base
                                         EQ 150 &
     77426    Ani Pharmaceuticals Inc.   300 mg     Tablet; Oral   12/19/05   Discontinued
                                         Base
                                         EQ 150
     200172   Apotex Inc.                           Tablet; Oral   5/31/12    OTC
                                         mg Base
                                         EQ 150 &
     74680    Apotex Inc.                300 mg     Tablet; Oral   9/12/97    Rx
                                         Base
                                         EQ 75 mg
     75167    Apotex Inc.                           Tablet; Oral   5/4/00     OTC
                                         Base
                                         EQ 15 mg
     77602    Apotex Inc.                           Syrup; Oral    9/17/07    Discontinued
                                         Base/ml
                                         EQ 150 &
                                                    Capsule;
     211893   Appco Pharma LLC           300 mg                    4/5/19     Rx
                                                    Oral
                                         Base
                                         EQ 150
     207578   Aurobindo Pharma, Ltd.                Tablet; Oral   11/13/17   OTC
                                         mg Base
                                         EQ 150
     207579   Aurobindo Pharma, Ltd.                Tablet; Oral   11/13/17   OTC
                                         mg Base
                                         EQ 15 mg
     90623    Aurobindo Pharma, Ltd.                Syrup; Oral    7/28/10    Rx
                                         Base/ml
                                         EQ 150 &
                                                    Capsule;
     211058   Aurobindo Pharma, Ltd.     300 mg                    7/16/18    Rx
                                                    Oral
                                         Base
              Ben Venue Laboratories
                                         EQ 25 mg   Injectable;
     74764    Inc. d/b/a Bedford                                   11/19/04   Discontinued
                                         Base/ ml   Injection
              Laboratories
                                         EQ 150 &
     74662    Boehringer Ingelheim       300 mg     Tablet; Oral   8/29/97    Discontinued
                                         Base



                                              44
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 50 of 152



     ANDA          ANDA Holder         Strength      Dosage         Date       OTC/RX
       #                                             Form/        Approved
                                                     Route
              Breckenridge              EQ 15 mg
     78684                                         Syrup; Oral    8/27/09    Rx
              Pharmaceutical Inc.       Base/ ml
                                        EQ 75 mg
     75094    Contract Pharmacal Corp.             Tablet; Oral   6/21/99    Discontinued
                                        Base
              Dr Reddy’s Laboratories, EQ 75 mg
     75294                                         Tablet; Oral   3/28/00    OTC
              Ltd.                      Base
                                        EQ 150 &
              Dr Reddy’s Laboratories,             Capsule;
     75742                              300 mg                    11/29/00   Rx
              Ltd.                                 Oral
                                        Base
                                        EQ 150 &
              Dr Reddy’s Laboratories
     76705                              300 mg     Tablet; Oral   7/27/05    Rx
              Inc.
                                        Base
              Dr Reddy’s Laboratories, EQ 150
     78192                                         Tablet; Oral   8/31/07    OTC
              Ltd.                      mg Base
              Glenmark                  EQ 150 &
     78542    Pharmaceuticals, Inc.,    300 mg     Tablet; Oral   11/19/08   Rx
              USA                       Base
                                        EQ 150
     210243   Granules India, Ltd.                 Tablet; Oral   8/20/18    OTC
                                        mg Base
                                        EQ 150 &
     75165    Heritage Pharma Labs Inc. 300 mg     Tablet; Oral   9/30/98    Rx
                                        Base
              Hi Tech Pharmacal Co.     EQ 15 mg
     91078                                         Syrup; Oral    3/22/11    Rx
              Inc.                      Base/ ml
                                        EQ 15 mg
     78890    Lannett Co., Inc.                    Syrup; Oral    7/1/10     Rx
                                        Base/ ml
                                        EQ 15 mg
     91288    Lannett Co., Inc.                    Syrup; Oral    12/9/10    Rx
                                        Base/ ml
                                        EQ 150 &
              Mylan Pharmaceuticals,
     74023                              300 mg     Tablet; Oral   8/22/97    Discontinued
              Inc.
                                        Base
                                        EQ 150 &
              Mylan Pharmaceuticals.
     74552                              300 mg     Tablet; Oral   7/30/98    Discontinued
              Inc,
                                        Base
              Mylan Pharmaceuticals.    EQ 75 mg
     75497                                         Tablet; Oral   1/14/00    Discontinued
              Inc,                      Base
                                        EQ 150 &
              Mylan Pharmaceuticals.               Capsule;
     75564                              300 mg                    10/27/00   Discontinued
              Inc,                                 Oral
                                        Base
                                        EQ 25 mg   Injectable;
     79076    Mylan Laboratories Ltd.                             6/9/16     Rx
                                        Base/ ml   Injection
                                        EQ 15 mg
     91091    Nostrum Laboratories Inc.            Syrup; Oral    9/20/11    Rx
                                        Base/ ml


                                             45
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 51 of 152



     ANDA         ANDA Holder          Strength      Dosage         Date       OTC/RX
       #                                             Form/        Approved
                                                     Route
                                        EQ 150 &
                                                   Capsule;
     210681   Novitium Pharma LLC       300 mg                    11/23/18   Rx
                                                   Oral
                                        Base
                                        EQ 300
     75180    Par Pharmaceutical Inc.              Tablet; Oral   1/28/99    Rx
                                        mg Base
                                        EQ 75 mg
     76195    L. Perrigo Co.                       Tablet; Oral   8/30/02    OTC
                                        Base
              Perrigo Research &        EQ 150
     91429                                         Tablet; Oral   5/11/11    OTC
              Development Company       mg Base
              Pharmaceutical Associates EQ 15 mg
     77405                                         Syrup; Oral    9/21/07    Rx
              Inc.                      Base/ ml
                                        EQ 150 &
              Ranbaxy Pharmaceuticals
     75000                              300 mg     Tablet; Oral   1/30/98    Discontinued
              Inc.
                                        Base
              Ranbaxy Pharmaceuticals EQ 75mg
     75254                                         Tablet; Oral   1/14/00    Discontinued
              Inc.                      Base
                                        EQ 15 mg
     78448    Ranbaxy Inc.                         Syrup; Oral    12/13/07   Discontinued
                                        Base/ ml
                                        EQ 150 &
     74467    Sandoz Inc.               300 mg     Tablet; Oral   8/29/97    Rx
                                        Base
                                        EQ 150 &
                                                   Capsule;
     74655    Sandoz Inc.               300 mg                    10/22/97   Rx
                                                   Oral
                                        Base
                                        EQ 75 mg
     75519    Sandoz Inc.                          Tablet; Oral   9/26/02    Discontinued
                                        Base
              Strides Pharma Global Pte EQ 150
     200536                                        Tablet; Oral   6/28/11    OTC
              Ltd                       mg Base
              Strides Pharma Global     EQ 75 mg
     201745                                        Tablet; Oral   2/29/12    OTC
              Pte. Ltd.                 Base
                                        EQ 150 &
              Strides Pharma Global
     205512                             300 mg     Tablet; Oral   8/22/16    Rx
              Pte. Ltd.
                                        Base
              Strides Pharma Global     EQ 75 mg
     209160                                        Tablet; Oral   3/5/18     OTC
              Pte. Ltd.                 Base
              Strides Pharma Global     EQ 150
     209161                                        Tablet; Oral   2/22/18    OTC
              Pte. Ltd.                 mg Base
                                        EQ 150 &
              Strides Pharma Global Pte
     210010                             300 mg     Tablet; Oral   8/1/18     Rx
              Ltd
                                        Base
              Sun Pharmaceutical        EQ 75 mg
     75132                                         Tablet; Oral   1/14/00    Discontinued
              Industries Ltd.           Base



                                             46
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 52 of 152



     ANDA          ANDA Holder            Strength     Dosage         Date       OTC/RX
       #                                               Form/        Approved
                                                       Route
                                          EQ 150 &
              Sun Pharmaceutical
     75439                                300 mg     Tablet; Oral   4/19/00    Discontinued
              Industries Ltd.
                                          Base
              Taro Pharmaceuticals        EQ 15 mg
     77476                                           Syrup; Oral    6/13/11    Rx
              U.S.A., Inc                 Base/ ml
                                          EQ 150 &
              Teva Pharmaceuticals                   Capsule;
     75557                                300 mg                    10/31/03   Discontinued
              U.S.A., Inc.                           Oral
                                          Base
                                          EQ 15 mg
     90102    Torrent Pharma Inc,                    Syrup; Oral    5/26/09    Discontinued
                                          Base/ ml
              Unique Pharmaceutical       EQ 150
     210228                                          Tablet; Oral   8/30/19    OTC
              Laboratories                mg Base
              Unique Pharmaceutical       EQ 75 mg
     210250                                          Tablet; Oral   8/30/19    OTC
              Laboratories                Base
                                          EQ 150 &
     211289   Vkt Pharma Private Ltd.     300 mg     Tablet; Oral   1/31/19    Rx
                                          Base
                                          EQ 150 &
     74864    Watson Laboratories, Inc.   300 mg     Tablet; Oral   10/20/97   Discontinued
                                          Base
              West-Ward
                                          EQ 25 mg   Injectable;
     74777    Pharmaceuticals                                       3/2/05     Rx
                                          Base/ ml   Injection
              International Ltd.
              West-Ward
                                          EQ 25 mg   Injectable;
     77458    Pharmaceuticals                                       2/16/05    Rx
                                          Base/ ml   Injection
              International Ltd.
                                          EQ 75 mg
     76760    Wockhardt, Ltd.                        Tablet; Oral   2/24/06    OTC
                                          Base
                                          EQ 150 &
     78653    Wockhardt, Ltd.             300 mg     Tablet; Oral   11/26/07   Discontinued
                                          Base
                                          EQ 150
     78701    Wockhardt, Ltd.                        Tablet; Oral   11/12/09   Discontinued
                                          mg Base
                                          EQ 75 mg
     78884    Wockhardt, Ltd.                        Tablet; Oral   7/31/08    Discontinued
                                          Base
                                          EQ 15 mg
     79211    Wockhardt, Ltd.                        Syrup; Oral    5/26/09    Discontinued
                                          Base/ ml
                                          EQ 15 mg
     79212    Wockhardt, Ltd.                        Syrup; Oral    2/23/09    Discontinued
                                          Base/ ml
                                          EQ 150 &
     75208    Wockhardt, Ltd.             300 mg     Tablet; Oral   12/17/98   Rx
                                          Base



                                               47
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 53 of 152



     ANDA            ANDA Holder             Strength       Dosage         Date         OTC/RX
       #                                                    Form/        Approved
                                                            Route
                Zydus Pharmaceuticals       EQ 25 mg     Injectable;
     91534                                                              2/23/13       Rx
                (USA) Inc.                  Base/ ml     Injection

             252.   Despite generic entry, Brand-Name Manufacturer Defendants continued to sell

    prescription and OTC Zantac. Although sales of Zantac declined as a result of generic competition,

    ranitidine sales remained strong over time. As recently as 2018, Zantac was one of the top 10

    antacid tablets in the United States, with sales of OTC Zantac 150 totaling $128.9 million—a 3.1%

    increase from the previous year.

         II. NDMA IS A PROBABLE CARCINOGEN WHOSE DANGEROUS PROPERTIES
             ARE WELL ESTABLISHED

             253.   According to the Environmental Protection Agency (“EPA”), “NDMA is a

    semivolatile organic chemical that forms in both industrial and natural processes.”10 It is one of

    the simplest members of a class of N-nitrosamines, a family of potent carcinogens. Scientists have

    long recognized the dangers that NDMA poses to human health. A 1979 news article noted that

    “NDMA has caused cancer in nearly every laboratory animal tested so far.”11 NDMA is no longer

    produced or commercially used in the United States except for research. Its only use today is to

    cause cancer in laboratory animals.



    10
        U.S. Environmental Protection Agency, Technical Fact Sheet – N-Nitroso-dimethylamine
       (NDMA) (Nov. 2017), https://www.epa.gov/sites/production/files/2017-10/documents/
       ndma_fact_sheet_update_9-15-17_508.pdf.
    11
        Jane Brody, Bottoms Up: Alcohol in Moderation Can Extend Life, The Globe & Mail
      (CANADA) (Oct. 11, 1979); see Rudy Platiel, Anger Grows as Officials Unable to Trace Poison
      in Reserve’s Water, The Globe & Mail (CANADA) (Jan. 6, 1990) (reporting that residents of Six
      Nations Indian Reserve “have been advised not to drink, cook or wash in the water because
      testing has found high levels of N-nitrosodimethylamine (NDMA), an industrial byproduct
      chemical that has been linked to cancer”); Kyrtopoulos et al, DNA Adducts in Humans After
      Exposure to Methylating Agents, 405 Mut. Res. 135 (1998) (noting that “chronic exposure of rats
      to very low doses of NDMA gives rise predominantly to liver tumors, including tumors of the
      liver cells (hepatocellular carcinomas), bile ducts, blood vessels and Kupffer cells”).


                                                   48
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 54 of 152



           254.    Both the EPA and the International Agency for Research on Cancer (“IARC”)

    classify NDMA as a probable human carcinogen.12

           255.    The IARC classification is based upon data that demonstrates NDMA “is

    carcinogenic in all animal species tested: mice, rats, Syrian gold, Chinese and European hamsters,

    guinea-pigs, rabbits, ducks, mastomys, various fish, newts and frog. It induces benign and

    malignant tumors following its administration by various routes, including ingestion and

    inhalation, in various organs in various species.” Further, in 1978, IARC stated that NDMA

    “should be regarded for practical purposes as if it were carcinogenic to humans.”13

           256.    The American Conference of Governmental Industrial Hygienists classifies NDMA

    as a confirmed animal carcinogen.14

           257.    The Department of Health and Human Services (“DHHS”) states that NDMA is

    reasonably anticipated to be a human carcinogen.15 This classification is based upon DHHS’s

    findings that NDMA caused tumors in numerous species of experimental animals, at several

    different tissue sites, and by several routes of exposure, with tumors occurring primarily in the

    liver, respiratory tract, kidney, and blood vessels.16

           258.    The FDA considers NDMA a chemical that “could cause cancer” in humans.17




    12
        See EPA Technical Fact Sheet, supra note 10; Int’l Agency for Research on Cancer (IARC),
       Summaries & Evaluations, N-NITROSODIMETHYLAMINE (1978), http://www.inchem.org/
       documents/iarc/vol17/n-nitrosodimethylamine.html.
    13
         17 Int’l Agency for Research on Cancer, IARC Monographs on the Evaluation of the
      Carcinogenic Risk of Chemicals to Humans, Some N-Nitroso Compounds 151–52 (May 1978).
    14
        See EPA Technical Fact Sheet, supra note 10.
    15
        Id. at 3.
    16
        Id.
    17
       FDA Statement, Janet Woodcock, Director – Ctr. for Drug Evaluation & Research, Statement
       Alerting Patients and Health Care Professionals of NDMA Found in Samples of Ranitidine
       (Sept. 13, 2019), https://www.fda.gov/news-events/press-announcements/statement-alerting-
       patients-and-health-care-professionals-ndma-found-samples-ranitidine.


                                                      49
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 55 of 152



           259.    The World Health Organization states that there is “conclusive evidence that

    NDMA is a potent carcinogen” and that there is “clear evidence of carcinogenicity.”18

           260.    As early as 1980, consumer products containing unsafe levels of NDMA and other

    nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.

           261.    Most recently, beginning in the summer of 2018, there have been recalls of several

    generic drugs used to treat high blood pressure and heart failure—Valsartan, Losartan, and

    Irbesartan—because the medications contained nitrosamine impurities that do not meet the FDA’s

    safety standards.

           262.    The no-observed-adverse-effect level (“NOAEL”) is the level of exposure at which

    there is no biologically significant increase in the frequency or severity of any adverse effects of

    the chemical. Due to NDMA’s ability to affect DNA at a microscopic level, there is no NOAEL

    for NDMA. This means any amount of NDMA exposure increases risk.

           263.    The FDA has set an acceptable daily intake (“ADI”) level for NDMA at 96 ng.

    That means that consumption of 96 ng of NDMA a day would increase the risk of developing

    cancer by 0.001% over the course of a lifetime. That risk increases as the level of NDMA exposure

    increases. However, any level above 96 ng is considered unacceptable.19 Tobacco smoke also

    contains NDMA, with one filtered cigarette containing between 5 to 43 ng.

           264.    In studies examining carcinogenicity through oral administration, mice exposed to

    NDMA developed cancer in the kidney, bladder, liver, and lung. In comparable rat studies, cancers



    18
        World Health Org., Guidelines for Drinking Water Quality, N-Nitrosodimethylamine (NDMA)
      (3d ed. 2008), https://www.who.int/water_sanitation_health/dwq/chemicals/ndmasummary_
      2ndadd.pdf.
    19
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on Angiotensin II Receptor
       Blocker (ARB) Recalls (Valsartan, Losartan, and Irbesartan) (Feb. 28, 2019),
       https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
       angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan.


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 56 of 152



    were observed in the liver, kidney, pancreas, and lung. In comparable hamster studies, cancers

    were observed in the liver, pancreas, and stomach. In comparable guinea-pig studies, cancers were

    observed in the liver and lung. In comparable rabbit studies, cancers were observed in the liver

    and lung.

             265.    In other long-term animal studies in mice and rats utilizing different routes of

    exposures—inhalation, subcutaneous injection, and intraperitoneal (abdomen injection)—cancer

    was observed in the lung, liver, kidney, nasal cavity, and stomach.

             266.    Prior to the withdrawal of ranitidine, the FDA considered the drug as category B

    for birth defects, meaning it was considered safe to take during pregnancy. Yet animals exposed

    to NDMA during pregnancy birthed offspring with elevated rates of cancer in the liver and kidneys.

             267.    NDMA is a very small molecule. That allows it to freely pass through all areas of

    the body, including the blood-brain and placental barrier. This is particularly concerning as

    ranitidine has been marketed for pregnant women and young children for years.

             268.    In addition, NDMA breaks down into various derivative molecules that,

    themselves, are associated with causing cancer. In animal studies, derivatives of NDMA induced

    cancer in the stomach and intestine (including colon).

             269.    Research shows that lower levels of NDMA, e.g., 40 ng, are fully metabolized in

    the liver, but high doses enter the body’s general circulation.

             270.    Exposure to high levels of NDMA has been linked to liver damage in humans.20

             271.    Numerous in vitro studies confirm that NDMA is a mutagen—causing mutations

    in human and animal cells.

             272.    Overall, the animal data demonstrates that NDMA is carcinogenic in all animal



    20
         See EPA Technical Fact Sheet, supra note 10.


                                                     51
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 57 of 152



    species tested: mice; rats; Syrian golden, Chinese and European hamsters; guinea pigs; rabbits;

    ducks; mastomys; fish; newts; and frogs.

           273.    The EPA classified NDMA as a probable human carcinogen “based on the

    induction of tumors at multiple sites in different mammal species exposed to NDMA by various

    routes.”21

           274.    Pursuant to EPA cancer guidelines, “tumors observed in animals are generally

    assumed to indicate that an agent may produce tumors in humans.”22

           275.    In addition to the overwhelming animal data linking NDMA to cancer, there are

    numerous human epidemiological studies exploring the effects of dietary exposure to various

    cancers. And, while these studies consistently show increased risks of various cancers, the

    exposure levels considered in these studies are a very small fraction of the exposures noted in a

    single ranitidine capsule.

           276.    In a 1995 epidemiological case-control study looking at NDMA dietary exposure

    with 220 cases, researchers observed a statistically significant 700% increased risk of gastric

    cancer in persons exposed to more than 0.51 ng/day.23

           277.    In a 1995 epidemiological case-control study looking at NDMA dietary exposure

    with 746 cases, researchers observed statistically significant elevated rates of gastric cancer in

    persons exposed to more than 0.191 ng/day.24

           278.    In another 1995 epidemiological case-control study looking at, in part, the effects



    21
        Id.
    22
        See U.S. Envtl. Protection Agency, Risk Assessment Forum, Guidelines for Carcinogen Risk
       Assessment (Mar. 2005), https://www3.epa.gov/airtoxics/cancer_guidelines_final_3-25-05.pdf.
    23
        Pobel et al., Nitrosamine, Nitrate and Nitrite in Relation to Gastric Cancer: A Case-control
       Study in Marseille, France, 11 Eur. J. Epidemiol. 67–73 (1995).
    24
        La Vecchia, et al., Nitrosamine Intake & Gastric Cancer Risk, 4 Eur. J. Cancer. Prev. 469–74
       (1995).


                                                   52
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 58 of 152



    of dietary consumption on cancer, researchers observed a statistically significant elevated risk of

    developing aerodigestive cancer after being exposed to NDMA at .179 ng/day.25

           279.    In a 1999 epidemiological cohort study looking at NDMA dietary exposure with

    189 cases and a follow up of 24 years, researchers noted that “N-nitroso compounds are potent

    carcinogens” and that dietary exposure to NDMA more than doubled the risk of developing

    colorectal cancer.26

           280.    In a 2000 epidemiological cohort study looking at occupational exposure of

    workers in the rubber industry, researchers observed significant increased risks for NDMA

    exposure for esophagus, oral cavity, pharynx, prostate, and brain cancer.27

           281.    In a 2011 epidemiological cohort study looking at NDMA dietary exposure with

    3,268 cases and a follow up of 11.4 years, researchers concluded that “[d]ietary NDMA intake was

    significantly associated with increased cancer risk in men and women” for all cancers, and that

    “NDMA was associated with increased risk of gastrointestinal cancers” including rectal cancers.28

           282.    In a 2014 epidemiological case-control study looking at NDMA dietary exposure

    with 2,481 cases, researchers found a statistically significant elevated association between NDMA

    exposure and colorectal cancer.29

           283.    In addition to studies demonstrating that NDMA directly causes cancer, research



    25
        Rogers et al., Consumption of Nitrate, Nitrite, and Nitrosodimethylamine and the Risk of Upper
       Aerodigestive Tract Cancer, 5 Cancer Epidemiol. Biomarkers Prev. 29–36 (1995).
    26
        Knekt et al., Risk of Colorectal and Other Gastro-Intestinal Cancers after Exposure to Nitrate,
       Nitrite and N-nitroso Compounds: A Follow-Up Study, 80 Int. J. Cancer 852–56 (1999)
    27
        Straif et al., Exposure to High Concentrations of Nitrosamines and Cancer Mortality Among a
       Cohort of Rubber Workers, 57 Occup. Envtl. Med 180–87 (2000).
    28
         Loh et al., N-nitroso Compounds and Cancer Incidence: The European Prospective
       Investigation into Cancer and Nutrition (EPIC)–Norfolk Study, 93 Am. J. Clinical Nutrition
       1053–61 (2011).
    29
        Zhu et al., Dietary N-nitroso Compounds and Risk of Colorectal Cancer: A Case-control Study
       in Newfoundland and Labrador and Ontario, Canada, 111 Brit. J. Nutrition 6, 1109–17 (2014).


                                                    53
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 59 of 152



    shows that exposure to NDMA (1) can exacerbate existing but dormant (i.e. not malignant)

    cancers, (2) promote otherwise “initiated cancer cells” to develop into cancerous tumors; and (3)

    reduce the ability of the body to combat cancer. Thus, in addition to NDMA being a direct cause

    of cancer itself, NDMA can also be a contributing factor to a cancer injury caused by some other

    source.

              284.   NDMA is also known to be genotoxic—meaning, it can cause DNA damage in

    human cells. Indeed, multiple studies demonstrate that NDMA is genotoxic both in vivo and in

    vitro. However, recent studies have shown that the ability of NDMA to cause mutations in cells

    is affected by the presence of enzymes typically found in living humans, suggesting that “humans

    may be especially sensitive to the carcinogenicity of NDMA.”30

         III. NDMA IS DISCOVERED IN RANITIDINE-CONTAINING PRODUCTS,
              LEADING TO MARKET WITHDRAWL

              285.   On September 9, 2019, pharmacy and testing laboratory Valisure LLC and

    ValisureRX LLC (collectively, “Valisure”) filed a Citizen Petition calling for the recall of all

    ranitidine-containing products due to exceedingly high levels of NDMA found in ranitidine pills.

    FDA and European regulators started reviewing the safety of ranitidine with specific focus on the

    presence of NDMA.31 This set off a cascade of recalls by the Brand-Name Manufacturer, Generic

    Manufacturer, Retailer, and Repackager Defendants.

              286.   On September 13, 2019, the FDA’s Director for Drug Evaluation and Research, Dr.

    Janet Woodcock, issued a statement warning that some ranitidine medicines may contain




    30
      World Health Org., supra note 18.
    31
      FDA Statement, Woodcock, supra note 17; Press Release, European Medicines Agency, EMA
     to Review Ranitidine Medicines Following Detection of NDMA (Sept. 13, 2019),
     https://www.ema.europa.eu/en/news/ema-review-ranitidine-medicines-following-detection-
     ndma.


                                                    54
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 60 of 152



    NDMA.32

           287.    On September 24, 2019, Generic Manufacturer Defendant Sandoz voluntarily

    recalled all of its ranitidine-containing products due to concerns of a “nitrosamine impurity, N-

    nitrosodimethylamine (NDMA), which was found in the recalled medicine.”33

           288.    On September 26, 2019, Generic Manufacturer Apotex and Retailer Defendants

    Walgreens, Walmart, and Rite Aid voluntarily recalled all ranitidine products and removed them

    from shelves.34 Apotex issued a statement, noting that “Apotex has learned from the U.S. Food

    and Drug Administration and other Global regulators that some ranitidine medicines including

    brand and generic formulations of ranitidine regardless of the manufacturer, contain a nitrosamine

    impurity called N-nitrosodimethylamine (NDMA).”35

           289.    On September 28, 2019, Retailer Defendant CVS stated that it would stop selling

    Zantac and its CVS-repackaged ranitidine out of concern that it might contain a carcinogen.

           290.    On October 2, 2019, the FDA ordered manufacturers of ranitidine to test their

    products and recommended using a liquid chromatography with high resolution mass spectrometer




    32
        FDA Statement, Woodcock, supra note 17.
    33
        FDA News Release, U.S. Food & Drug Admin., FDA Announces Voluntary Recall of Sandoz
       Ranitidine Capsules Following Detection of an Impurity (Sept. 24, 2019),
       https://www.fda.gov/news-events/press-announcements/fda-announces-voluntary-recall-
       sandoz-ranitidine-capsules-following-detection-impurity.
    34
        U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
       (ranitidine) (Sept. 26, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
       updates-and-press-announcements-ndma-zantac-ranitidine.
    35
         Company Announcement, U.S. Food & Drug Admin., Apotex Corp. Issues Voluntary
       Nationwide Recall of Ranitidine Tablets 75mg and 150mg (All Pack Sizes and Formats) Due to
       the Potential for Detection of an Amount of Unexpected Impurity, N-nitrosodimethylamine
       (NDMA) Impurity in the Product (Sept. 25, 2019), https://www.fda.gov/safety/recalls-market-
       withdrawals-safety-alerts/apotex-corp-issues-voluntary-nationwide-recall-ranitidine-tablets-
       75mg-and-150mg-all-pack-sizes-and.


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 61 of 152



    (“LC-HRMS”) testing protocol, which “does not use elevated temperature.”36

           291.    On October 8, 2019, Brand-Name Manufacturer Defendant GSK voluntarily

    recalled all ranitidine-containing products internationally.37 As part of the recall, GSK publicly

    acknowledged that unacceptable levels of NDMA were discovered in Zantac and noted that “GSK

    is continuing with investigations into the potential source of the NDMA.”38

           292.    On October 18 and 23, 2019, Brand-Name Manufacturer Defendant Sanofi and

    Generic Manufacturer and Repackager Defendant Dr. Reddy’s voluntarily recalled all of their

    ranitidine-containing products.39

           293.    On October 28, 2019, Generic Manufacturer Defendants Perrigo, Novitium, and

    Lannett voluntarily recalled all their ranitidine-containing products.40

           294.    In its recall notice, Generic Manufacturer Defendant Perrigo stated, “[a]fter

    regulatory bodies announced that ranitidine may potentially contain NDMA, Perrigo promptly

    began testing of its externally sourced ranitidine API (active pharmaceutical ingredient) and

    ranitidine-based products. On October 8, 2019, Perrigo halted shipments of the product based

    upon preliminary results. Based on the totality of data gathered to date, Perrigo has made the




    36
        U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
       (ranitidine) (Oct. 2, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-
       and-press-announcements-ndma-zantac-ranitidine.
    37
        Press Release, Gov. UK, Zantac – MHRA Drug Alert Issued as GlaxoSmithKline Recalls All
       Unexpired Stock (Oct. 8, 2019), https://www.gov.uk/government/news/zantac-mhra-drug-alert-
       issued-as-glaxosmithkline-recalls-all-unexpired-stock.
    38
        Justin George Varghese, GSK Recalls Popular Heartburn Drug Zantac Globally After Cancer
       Scare, Reuters (Oct. 8, 2019), https://www.reuters.com/article/us-gsk-heartburn-zantac/gsk-
       recalls-popular-heartburn-drug-zantac-globally-after-cancer-scare-idUSKBN1WN1SL.
    39
        U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
       (ranitidine) (Oct. 23, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-
       updates-and-press-announcements-ndma-zantac-ranitidine.
    40
        Id.


                                                     56
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 62 of 152



    decision to conduct this voluntary recall.”41

            295.    Generic Manufacturer Defendant Lannett also acknowledged the presence of

    NDMA in the active pharmaceutical ingredient (“API”) and/or drug product in its recall notice:

    “Lannett was notified by FDA of the potential presence of NDMA on September 17, 2019 and

    immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug product.

    The analysis confirmed the presence of NDMA.”42

            296.    On November 1, 2019, the FDA announced the results of recent testing, finding

    “unacceptable levels” of NDMA in ranitidine-containing products, and requested that drug makers

    begin to voluntarily recall their ranitidine-containing products if the FDA or manufacturers

    discovered NDMA levels above the acceptable limits.43

            297.    On December 4, 2019, the FDA issued a statement notifying consumers who

    wished to continue taking ranitidine to consider limiting their intake of nitrite-containing foods,

    e.g., processed meats and preservatives like sodium nitrite.44 This advice mirrored an admonition

    issued by Italian scientists in 1981 after finding that ranitidine reacted with nitrites in vitro to form

    toxic and mutagenic effects in bacteria. The prudent advice of Dr. de Flora published in October



    41
        Company Announcement, U.S. Food & Drug Admin., Perrigo Company plc Issues Voluntary
      Worldwide Recall of Ranitidine Due to Possible Presence of Impurity, N-nitrosodimethylamine
      (NDMA) Impurity in the Product (Oct. 23, 2019), https://www.fda.gov/safety/recalls-market-
      withdrawals-safety-alerts/perrigo-company-plc-issues-voluntary-worldwide-recall-ranitidine-
      due-possible-presence-impurity-n.
    42
        Company Announcement, U.S. Food & Drug Admin., Lannett Issues Voluntary Nationwide
      Recall of Ranitidine Syrup (Ranitidine Oral Solution, USP), 15mg/ml Due to an Elevated Level
      of the Unexpected Impurity, N-nitrosodimethylamine (NDMA) (Oct. 25, 2019),
      https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/lannett-issues-voluntary-
      nationwide-recall-ranitidine-syrup-ranitidine-oral-solution-usp-15mgml-due.
    43
        U.S. Food & Drug Admin., Laboratory Tests | Ranitidine, https://www.fda.gov/drugs/drug-
       safety-and-availability/laboratory-tests-ranitidine (content current as of Nov. 1, 2019).
    44
       U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA in Zantac
      (ranitidine) (Dec. 4, 2019), https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-
      and-press-announcements-ndma-zantac-ranitidine.


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 63 of 152



    1981 in The Lancet was to “avoid nitrosation as far as possible by, for example, suggesting a diet

    low in nitrates and nitrites, by asking patients not to take these at times close to (or with) meals or

    by giving inhibitors of nitrosation such as ascorbid acid.”45 If GSK had only heeded Dr. de Flora’s

    advice in 1981, millions of people might have avoided exposure to a known carcinogen and

    increased risk of developing cancer from ingesting ranitidine.

           298.    Between November 1, 2019 and February 27, 2020, the following Generic

    Manufacturer and Repackager Defendants recalled their products from the market, citing NDMA

    concerns: Aurobindo, Amneal, American Health Packaging, GSMS, Precision Dose, Glenmark,

    Appco, and Denton Pharma.46

           299.    On January 2, 2020, research laboratory, Emery Pharma, submitted a Citizen

    Petition to the FDA, showing that NDMA accumulates in ranitidine at unsafe rates when exposed

    to label-compliant temperature ranges that would occur during normal transport and storage

    conditions.

           300.    Emery’s Citizen Petition outlined its substantial concern that ranitidine is a time-

    and temperature-sensitive pharmaceutical product that develops NDMA when exposed to heat, a

    common occurrence during shipping, handling, and storage. In addition to warning about this

    condition, Emery requested agency directives to manufacturers and distributors to ship ranitidine

    in temperature-controlled vehicles.




    45
        Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, The Lancet,
       Oct. 31, 1981, at 993–94.
    46
        See generally U.S. Food & Drug Admin., FDA Updates and Press Announcements on NDMA
       in Zantac (ranitidine) https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-
       press-announcements-ndma-zantac-ranitidine (content current as of Apr. 16, 2020).


                                                      58
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 64 of 152



           301.    In response,47 on April 1, 2020, the FDA recounted that a recall is an “effective

    methods [sic.] of removing or correcting defective FDA-regulated products . . . particularly when

    those products present a danger to health.”48         The FDA sought the voluntary consent of

    manufacturers to accept the recall “to protect the public health from products that present a risk of

    injury.”49 The FDA found that the recall of all ranitidine-containing products and a public warning

    of the recall was necessary because the “product being recalled presents a serious health risk.”50

    The FDA therefore sent Information Requests to all applicants and pending applicants of

    ranitidine-containing products “requesting a market withdrawal.”51

           302.    The FDA found its stability testing raised concerns that NDMA levels in some

    ranitidine-containing products stored at room temperature can increase with time to unacceptable

    levels. In the same vein, FDA testing revealed NDMA levels were higher as the products

    approached their expiration dates. The FDA’s testing eroded the agency’s confidence that any

    ranitidine-containing product could remain stable through its labeled expiration date.

    Consequently, the FDA withdrew the products from the market. The FDA’s decision to withdraw

    the drug rendered moot Emery’s request for temperature-controlled shipping conditions.

           303.    The FDA’s reaction was consistent with comparable regulatory action throughout

    the world. Before the FDA acted, over 43 different countries and jurisdictions restricted or banned

    ranitidine-containing products.52



    47
       Letter of Janet Woodcock, U.S. Food & Drug Admin., Docket No. FDA-2020-P-0042 (Apr. 1,
      2020), available at https://emerypharma.com/wp-content/uploads/2020/04/FDA-2020-P-0042-
      CP-Response-4-1-2020.pdf.
    48
       Id. at 5 (citing 21 CFR 7.40(a)).
    49
       Id.
    50
       Id. at 7.
    51
       Id. at 10 n.43.
    52
        Margaret Newkirk & Susan Berfield, FDA Recalls Are Always Voluntary and Sometimes
       Haphazard—and The Agency Doesn’t Want More Authority to Protect Consumers, Bloomberg


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 65 of 152



           304.      The European Medicines Agency (“EMA”), the European Union’s equivalent to

    the FDA, through an Article 31 Referral, determined the sale of all ranitidine-containing products

    should be suspended on September 19, 2019. On April 30, 2020, the Human Medicines Committee

    of the EMA “has recommended the suspension of all ranitidine medicines in the EU due to the

    presence of low levels of an impurity called N-nitrosodimethylamine (NDMA).” The EMA

    recognizes NDMA as a probable human carcinogen and issued a “precautionary suspension of

    these medicines in the EU” because “NDMA has been found in several ranitidine medicines above

    levels considered acceptable, and there are unresolved questions about the source of the

    impurities.”53

       IV. HOW RANITIDINE TRANSFORMS INTO NDMA

           305.      The ranitidine molecule itself contains the constituent molecules to form NDMA.

    See Figure 1.

           306.      Specifically, the O=N (Nitroso) on one side of the ranitidine molecule can combine

    with the H3C-N-CH3 (DMA) on the other side to form NDMA.




       Businessweek (Dec. 3, 2019), https://www.bloomberg.com/graphics/2019-voluntary-drug-
       recalls-zantac/.
    53
         Eur. Med. Agency, Suspension of Ranitidine Medicines in the EU (Apr. 30, 2020),
      https://www.ema.europa.eu/en/documents/referral/ranitidine-article-31-referral-suspension-
      ranitidine-medicines-eu_en.pdf.


                                                     60
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 66 of 152




     Figure 1 – Diagram of Ranitidine & NDMA Molecules




            307.    The formation of NDMA by the reaction of DMA and a nitroso source (such as a

    nitrite) is well characterized in the scientific literature and has been identified as a concern for

    contamination of the U.S. water supply.54 Indeed, in 2003, alarming levels of NDMA in drinking

    water processed by wastewater-treatment plants was specifically linked to the presence of

    ranitidine.55

            308.    Ranitidine leads to NDMA exposure in four ways: (1) formation of NDMA in the

    human digestive system; (2) formation of NDMA due to an enzymatic reaction throughout the

    human body; (3) formation of NDMA over time under normal storage conditions and which

    increases significantly when exposed to heat; and (4) formation of NDMA during the

    manufacturing process.

                Formation of NDMA in the Environment of the Human Stomach

            309.    When the ranitidine molecule is exposed to the acidic environment of the stomach,

    particularly when accompanied by nitrites (a chemical commonly found in heartburn-inducing



    54
        Ogawa et al., Purification and Properties of a New Enzyme, NG, NG-dimethylarginine
       Dimethylaminohydrolase, from Rat Kidney, 264 J. Bio. Chem. 17, 10205–209 (1989).
    55
       Mitch et al., N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant: A Review, 20
       Env. Eng. Sci. 5, 389–404 (2003).


                                                    61
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 67 of 152



    foods), the Nitroso molecule (0=N) and the DMA molecule (H3C-N-CH3) break off and reform as

    NDMA.

           310.    In 1981, Dr. Silvio de Flora, an Italian researcher from the University of Genoa,

    published the results of experiments he conducted on ranitidine in the well-known journal, The

    Lancet. When ranitidine was exposed to human gastric fluid in combination with nitrites, his

    experiment showed “toxic and mutagenic effects.”56           Dr. de Flora hypothesized that these

    mutagenic effects could have been caused by the “formation of more than one nitroso derivative

    [which includes NDMA] under our experimental conditions.” Id. Dr. de Flora cautioned that, in

    the context of ranitidine ingestion, “it would seem prudent to … suggest[] a diet low in nitrates

    and nitrites, by asking patients not to take these at times close to (or with) meals.”57 Id.

           311.    GSK knew of Dr. de Flora’s publication because, two weeks later, GSK responded

    in The Lancet, claiming that the levels of nitrite needed to induce the production of nitroso

    derivatives (i.e., NDMA) were not likely to be experienced by people in the real world.58

           312.    This response reflects GSK’s reputation for “adopting the most combative,

    scorched-earth positions in defense of its brands.”59 The company has no compunctions against

    distorting objective science to maintain its lucrative monopoly franchises, and its egregious

    conduct surrounding Zantac is not some isolated incident.



    56
        De Flora, supra note 45.
    57
        This admonition came two years before the FDA approved Zantac in 1983. Notwithstanding,
       in 1998 GSK applied for and obtained an indication for OTC Zantac “[f]or the prevention of
       meal-induced heartburn at a dose of 75 mg taken 30 to 60 minutes prior to a meal.” See Ctr. for
       Drug Eval. & Research, Approval Package (June 8, 1998), available at
       https://www.accessdata.fda.gov/drugsatfda_docs/nda/98/20520s1_Zantac.pdf.            So     GSK
       specifically invited patients to take Zantac shortly before eating heartburn-inducing food.
    58
        R. T., Brittain et al., Safety of Ranitidine, The Lancet 1119 (Nov. 14, 1981).
    59
        Jim Edwards, GSK’s Alleged Coverup of Bad Avandia Data: A Snapshot of Its Poisonous
      Corporate Culture, Moneywatch (July 13, 2010) https://www.cbsnews.com/news/gsks-alleged-
      coverup-of-bad-avandia-data-a-snapshot-of-its-poisonous-corporate-culture/.


                                                     62
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 68 of 152



           313.    GSK endangered patient health while reaping billions of dollars in profits from

    Paxil, Wellbutrin, and Avandia. As we now know, the company was involved in covering up

    scientific data, offering illegal kickbacks to prescribing physicians, intimidating witnesses, and

    defrauding Medicare to profit from these medicines. In the wake of Congressional hearings into

    the company’s outrageous misbehavior,60 GSK’s actions resulted in a criminal investigation and

    the then-largest guilty plea by a pharmaceutical company for fraud and failure to report safety data

    in the country’s history.61

           314.    In its submission to the FDA, GSK explained that the level of nitrite present would

    be unrealistic and, thus, these results had no “practical clinical significance”62:




           315.    Around this same time—before Zantac was approved by the FDA—GSK

    conducted another study to examine, among other things, how long-term use of ranitidine could

    affect the levels of nitrite in the human stomach.63 Remarkably, in the study that was presented to


    60
        Staff Report on GlaxoSmithKline and the Diabetes Drug Avandia, Senate Comm. on Finance,
      111th Cong.2d Sess. 1 (Comm. Print Jan. 2010).
    61
        U.S. Dep’t of Justice, GlaxoSmithKline to Please Guilty and Pay $3 Billion to Resolve Fraud
      Allegations      and      Failure    to     Report   Safety    Data     (July    2,     2012),
      https://www.justice.gov/opa/pr/glaxosmithkline-plead-guilty-and-pay-3-billion-resolve-fraud-
      allegations-and-failure-report.
    62
        Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
       Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
       request to the FDA.
    63
        The results of this study are discussed in the Summary Basis of Approval, obtained from the
       FDA.


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 69 of 152



    the FDA, GSK admitted that ranitidine use caused the proliferation of bacteria in the human

    stomach that are known to convert nitrates to nitrites, which leads to elevated levels of nitrite in

    the stomach environment. GSK acknowledged this could increase the risk of developing NDMA

    and, in turn, cancer, but then dismissed this risk because people were allegedly only expected to

    use ranitidine-containing products for a short-term period:




           316.    GSK knew—and indeed specifically admitted—that ranitidine could react with

    nitrite in the human stomach to form NDMA and, at the same time, that long-term use of ranitidine

    could lead to elevated levels of nitrite in the human stomach.

           317.    In response to Dr. de Flora’s findings, in 1982, GSK conducted a clinical study

    specifically investigating gastric contents in human patients.64 The study, in part, specifically

    measured the levels of N-Nitroso compounds in human gastric fluid. GSK indicated that there

    were no elevated levels, and even published the results of this study five years later, in 1987. The

    study, however, was rigged. It did not use gold-standard mass spectrometry to test for NDMA,

    but instead, used a process that could not measure N-nitrosamines efficiently. And worse, in the

    testing it did do, GSK refused to test gastric samples that contained ranitidine in them out of

    concern that samples with ranitidine would contain “high concentrations of N-nitroso compounds

    being recorded.”65 In other words, GSK intentionally rigged the study to exclude the very samples


    64
       Thomas et al., Effects of One Year’s Treatment with Ranitidine and of Truncal Vagotomy on
       Gastric Contents, 6 Gut. Vol. 28, 726–38 (1987).
    65
       Id.


                                                    64
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 70 of 152



    most likely to contain a dangerous carcinogen.

           318.      In 1983, the same year Zantac obtained approval from the FDA, seven researchers

    from the University of Genoa published a study discussing ranitidine and its genotoxic effects

    (ability to harm DNA).66 The researchers concluded “it appears that reaction of ranitidine with

    excess sodium nitrite under acid conditions gives rise to a nitroso-derivative (or derivatives) [like

    NDMA] capable of inducing DNA damage in mammalian cells.” Id.

           319.      Then, again in 1983, Dr. de Flora, along with four other researchers, published their

    complete findings.67 The results “confirm our preliminary findings on the formation of genotoxic

    derivatives from nitrite and ranitidine.” Again, the authors noted that, “the widespread clinical use

    [of ranitidine] and the possibility of a long-term maintenance therapy suggest the prudent adoption

    of some simple measures, such as a diet low in nitrates and nitrites or the prescription of these anti-

    ulcer drugs at a suitable interval from meals.” This admonition carries weight considering GSK’s

    studies indicate that long-term ranitidine consumption, itself, leads to elevated levels of nitrites in

    the human gut.

           320.      The high instability of the ranitidine molecule was elucidated in scientific studies

    investigating ranitidine as a source of NDMA in drinking water and specific mechanisms for the

    breakdown of ranitidine were proposed.68 These studies underscore the instability of the NDMA

    group on the ranitidine molecule and its ability to form NDMA in the environment of water-

    treatment plants that supply many U.S. cities with water.

           321.      In 2016, researchers at Stanford University conducted an experiment on healthy



    66
       Maura et al., DNA Damage Induced by Nitrosated Ranitidine in Cultured Mammalian Cells, 18
       Tox. Lttrs. 97–102 (1983).
    67
       De Flora et al., Genotoxicity of Nitrosated Ranitidine, 4 Carcinogenesis 3, 255–60 (1983).
    68
       Le Roux et al., NDMA Formation by Chloramination of Ranitidine: Kinetics and Mechanism,
       46 Envtl. Sci. Tech. 20, 11095–103 (2012).


                                                      65
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 71 of 152



    volunteers.69 They measured the NDMA in urine of healthy individuals over the course of 24

    hours, administered one dose of ranitidine, and then measured the NDMA in the urine of the same

    individuals for another 24 hours. On average, the level of NDMA increased by 400 times, to

    approximately 47,000 ng. The only change during that 24-hour period was the consumption of

    ranitidine. This study directly demonstrates that unsafe levels of NDMA are formed in the human

    body as a result of ranitidine ingestion. The scientists further explained that previous studies have

    indicated a high metabolic conversion rate of NDMA, meaning it will be processed by the human

    body. As such the observed 47,000 ng likely only captured 1/100 of the actual NDMA levels in

    the human body.

              322.   These studies did not appreciate the full extent of NDMA formation risk from

    ranitidine; specifically, the added danger of this drug having not only a labile DMA group but also

    a readily available nitroso source in its nitrite group on the opposite terminus of the molecule.

    Recent testing of NDMA levels in ranitidine batches are so high that the nitroso for NDMA likely

    comes from no other source than the ranitidine molecule itself.

              323.   Valisure is an online pharmacy that also runs an analytical laboratory that is ISO

    17025 accredited by the International Organization for Standardization (“ISO”)—an accreditation

    recognizing the laboratories technical competence for regulatory purposes. Valisure’s mission is

    to help ensure the safety, quality, and consistency of medications and supplements in the market.

    In response to rising concerns about counterfeit medications, generics, and overseas

    manufacturing, Valisure developed proprietary analytical technologies that it uses in addition to

    FDA standard assays to test every batch of every medication it dispenses.




    69
         Zeng et al., Oral intake of Ranitidine Increases Urinary Excretion of N-nitrosodimethylamine,
         37 Carcinogenesis 625–34 (2016).


                                                     66
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 72 of 152



           324.    In its September 9, 2019 Citizen’s Petition to the FDA, 70 Valisure disclosed as part

    of its testing of ranitidine-containing products that in every lot tested there were exceedingly high

    levels of NDMA. Valisure’s ISO 17025 accredited laboratory used FDA recommended GC/MS

    headspace analysis method FY19-005-DPA for the determination of NDMA levels. As per the

    FDA protocol, this method was validated to a lower limit of detection of 25 ng.71 The results of

    Valisure’s testing show levels of NDMA well above 2 million ng per 150 mg Zantac tablet, shown

    below in Table 1.

     Table 1 – Ranitidine Samples Tested by Valisure Laboratory Using GC/MS Protocol

     150 mg Tablets or equivalent                  Lot #                  NDMA per tablet (ng)

     Reference Powder                              125619                 2,472,531
     Zantac, Brand OTC                             18M498M                2,511,469
     Zantac (mint), Brand OTC                      18H546                 2,834,798
     Wal-Zan, Walgreens                            79L800819A             2,444,046
     Wal-Zan (mint), Walgreens                     8ME2640                2,635,006
     Ranitidine, CVS                               9BE2773                2,520,311
     Zantac (mint), CVS                            9AE2864                3,267,968
     Ranitidine, Equate                            9BE2772                2,479,872
     Ranitidine (mint), Equate                     8ME2642                2,805,259
     Ranitidine, Strides                           77024060A              2,951,649

           325.    Valisure’s testing shows, on average, 2,692,291 ng of NDMA in a 150 mg

    ranitidine tablet. This testing demonstrates the instability of the ranitidine molecule and its

    propensity to break down under higher temperatures and in a high nitrite environment, such as in



    70
       Valisure, Citizen Petition on Ranitidine (Sept. 9, 2019), available at https://www.valisure.com/
      wp-content/uploads/Valisure-Ranitidine-FDA-Citizen-Petition-v4.12.pdf
    71
        U.S. Food & Drug Admin., Combined N-Nitrosodimethlyamine (NDMA) and N-
       Nitrosodiethylamine (NDEA) Impurity Assay, FY19-005-DPA-S (Jan. 28, 2019).


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 73 of 152



    the human stomach.

            326.    Valisure was concerned that the extremely high levels of NDMA observed in its

    testing were a product of the modest oven heating parameter of 130 °C in the FDA recommended

    GC/MS protocol. So Valisure developed a low temperature GC/MS method that could still detect

    NDMA but would only subject samples to 37 °C, the average temperature of the human body.

    This method was validated to a lower limit of detection of 100 ng.

            327.    Valisure tested ranitidine tablets by themselves and in conditions simulating the

    human stomach. Industry standard “Simulated Gastric Fluid” (“SGF”: 50 mM potassium chloride,

    85 mM hydrochloric acid adjusted to pH 1.2 with 1.25 g pepsin per liter) and “Simulated Intestinal

    Fluid” (“SIF”: 50 mM potassium chloride, 50 mM potassium phosphate monobasic adjusted to pH

    6.8 with hydrochloric acid and sodium hydroxide) were used alone and in combination with

    various concentrations of nitrite, which is commonly ingested in foods like processed meats and

    is elevated in the stomach by antacid drugs. The inclusion of nitrite in gastric fluid testing is

    commonplace and helps simulate the environment of a human stomach.

            328.    Indeed, ranitidine-containing products were specifically advertised to be used when

    consuming foods containing high levels of nitrates, such as tacos or pizza.72

            329.    The results of Valisure’s tests on ranitidine tablets in biologically relevant

    conditions demonstrate significant NDMA formation under simulated gastric conditions with

    nitrite present (see Table 2).

     Table 2 – Valisure Biologically Relevant Tests for NDMA Formation

     Ranitidine Tablet Studies                     NDMA (ng/mL)             NDMA per tablet (ng)

    72
      See, e.g Zantac television commercial, Family Taco Night, https://www.ispot.tv/ad/dY7n/
     zantac-family-taco-night; Zantac television commercial, Spicy, https://youtu.be/jzS2kuB5_wg;
     Zantac television commercial, Heartburn, https://youtu.be/Z3QMwkSUlEg; Zantac television
     commercial, Zantac Heartburn Challenge, https://youtu.be/qvh9gyWqQns.


                                                    68
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 74 of 152




     Tablet without Solvent                       Not Detected             Not Detected
     Tablet                                       Not Detected             Not Detected
     Simulated Gastric Fluid (“SGF”)              Not Detected             Not Detected
     Simulated Intestinal Fluid (“SIF”)           Not Detected             Not Detected
     SGF with 10 mM Sodium Nitrite                Not Detected             Not Detected
     SGF with 25 mM Sodium Nitrite                236                      23,600
     SGF with 50 mM Sodium Nitrite                3,045                    304,500

           330.    Under biologically relevant conditions, when nitrites are present, high levels of

    NDMA are found in one dose of 150 mg ranitidine, ranging between 245 and 3,100 times above

    the FDA-allowable limit. One would need to smoke over 500 cigarettes to achieve the same levels

    of NDMA found in one dose of 150 mg ranitidine at the 25 nanogram level (over 7,000 for the 50

    nanogram level).

           331.    Following the release of Valisure Citizen’s Petition, the FDA conducted additional

    laboratory tests, which showed NDMA levels in all ranitidine samples it tested, including API and

    the finished drug, both tablets and syrup. The FDA developed simulated gastric fluid (“SGF”) and

    simulated intestinal fluid (“SIF”) models to use with the LC-MS testing method to estimate the

    biological significance of in vitro findings. These models are intended to detect the formation of

    NDMA in systems that approximate the stomach and intestine. The testing showed unacceptable

    levels of NDMA.

           332.    When the scientific data is assessed overall, the literature demonstrates that the

    ingestion of ranitidine in the presence of human-relevant levels of nitrite in the stomach—a

    substance that is commonly found in foods that induce heartburn and that is known to be elevated

    in people taking ranitidine for longer than a month—the ranitidine molecule breaks down into

    levels of NDMA that would dramatically increase a person’s risk of developing cancer.

               Formation of NDMA in Other Organs of the Human Body



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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 75 of 152



              333.   In addition to the gastric fluid mechanisms investigated in the scientific literature,

    Valisure identified a possible enzymatic mechanism for the liberation of ranitidine’s DMA group

    via the human enzyme dimethylarginine dimethylaminohydrolase (“DDAH”), which can occur in

    other tissues and organs separate from the stomach.

              334.   Liberated DMA can lead to the formation of NDMA when exposed to nitrite present

    on the ranitidine molecule, nitrite freely circulating in the body, or other potential pathways,

    particularly in weak acidic conditions such as that in the kidney or bladder. The original scientific

    paper detailing the discovery of the DDAH enzyme in 1989 specifically comments on the

    propensity of DMA to form NDMA: “This report also provides a useful knowledge for an

    understanding of the endogenous source of dimethylamine as a precursor of a potent carcinogen,

    dimethylnitrosamine [NDMA].”73




    73
         Ogawa, et al., supra note 54.


                                                      70
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 76 of 152



           335.    In Figure 2, below, computational modelling demonstrates that ranitidine (shown

    in green) can readily bind to the DDAH-1 enzyme (shown as a cross-section in grey) in a manner

    similar to the natural substrate of DDAH-1 known as asymmetric dimethylarginine (“ADMA,”

    shown in blue).


           Figure 2 – Computational Modelling of Ranitidine Binding to DDAH-1 Enzyme




           336.    These results indicate that the enzyme DDAH-1 increases formation of NDMA in

    the human body when ranitidine is present; therefore, the expression of the DDAH-1 gene is useful

    for identifying organs most susceptible to this action.




                                                     71
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 77 of 152



           337.   Figure 3 below, derived from the National Center for Biotechnology Information,

    illustrates the expression of the DDAH-1 gene in various tissues in the human body.


    Figure 3 – Expression levels of DDAH-1 enzyme by Organ




           338.   DDAH-1 is most strongly expressed in the kidneys but also broadly distributed

    throughout the body, such as in the brain, colon, liver, small intestine, stomach, bladder, and

    prostate. This offers both a general mechanism for NDMA formation in the human body from

    ranitidine and specifically raises concern for the effects of NDMA on numerous organs.

           339.   The possible enzymatic reaction of ranitidine to DDAH-1, or other enzymes,

    suggests that high levels of NDMA can form throughout the human body. Indeed, ranitidine

    metabolizes and circulates throughout the human body, crossing the placental and blood-brain

    barrier, within 1-2 hours. When ranitidine interacts with the DDAH-1 enzyme in various organs

    throughout the body, it breaks down into NDMA. This observation is validated by the Stanford

    study, discussed above.



                                                  72
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 78 of 152



               Formation of NDMA by Exposure to Heat and/or Time

           340.    The risk of creating NDMA by exposing ranitidine to heat has been well-known

    and documented.     Early studies, including the one conducted by GSK in the early 1980s,

    demonstrated that NDMA formed when ranitidine was exposed to heat.               This point was

    underscored in the Valisure petition, which initially used a high-heat testing method but also

    specifically developed a detection protocol that did not use heat.

           341.    In response to Valisure, on October 2, 2019, the FDA recommended that

    researchers use the LC-HRMS protocol for detecting NDMA in ranitidine because the “testing

    method does not use elevated temperatures” and has been proven capable of detecting NDMA.

           342.    On January 2, 2020, Emery Pharma, an FDA-certified pharmaceutical testing

    laboratory, conducted a series of tests on ranitidine. The researchers exposed ranitidine to 70 ⸰C

    for varying periods of time. The results showed that increasing levels of NDMA formed based on

    exposure to heat. The following diagram reveals how NDMA accumulates over time when

    exposed to 70 ⸰C:




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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 79 of 152




         Figure 4 – Rate of Development of NDMA when Exposed to Heat




             343.   The researchers cautioned:

             NDMA accumulates in ranitidine-containing drug products on exposure to elevated
             temperatures, which would be routinely reached during shipment and during
             storage. More importantly, these conditions occur post-lot release by the
             manufacturer. Hence, while NDMA levels in ranitidine may be acceptable at the
             source, they may not be so when the drug is purchased and subsequently at the time
             of consumption by the consumer.74

             344.   The results of this data demonstrate that in normal transport and storage, and

    especially when exposed to heat, the ranitidine molecule systematically breaks down into NDMA,

    accumulating over time in the finished product. Considering ranitidine-containing products have

    an approved shelf life of 36 months, the possibility of the drug accumulating dangerously high

    levels of NDMA prior to consumption is very real—a point underscored by the FDA’s swift

    removal of the product from the market.

             345.   In fact, the FDA acknowledged that testing revealed that NDMA levels in ranitidine


    74
       Emery Pharma, Emery Pharma Ranitidine: FDA Citizen Petition (Jan. 7, 2020), available at
     https://emerypharma.com/news/emery-pharma-ranitidine-fda-citizen-petition/.


                                                    74
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 80 of 152



    products stored at room temperature can increase with time to unacceptable levels and elevated

    levels of NDMA were measured in all products after 2 weeks.75

               Formation of NDMA in the Manufacturing Process

           346.    Recent testing conducted under the auspices of the FDA involving a number of

    drugs within the last two years also demonstrates that NDMA can form during the manufacturing

    process.

           347.    On July 13, 2018, the FDA announced the first of what would be many recalls of

    Valsartan and other angiotensin receptor blocker (“ARB”) drugs used to treat high blood pressure,

    such as losartan and irbesartan.76

           348.    Specifically, the recalls were due to NDMA and other nitrosamines being present

    in the APIs manufactured by four API manufacturers located in China and India.

           349.    According to the Council on Foreign Relations, “approximately 80% of the active

    pharmaceutical ingredients (APIs) used to make drugs in the United States are said to come from

    China and other countries like India.”77

           350.    As the FDA’s investigation into the ARB contamination continued, it became clear

    that NDMA had made its way into the API through the use of recovered solvents or as a result of

    using less expensive solvents during the manufacturing process.78




    75
       Woodcock Letter, supra note 47.
    76
       FDA News Release, U.S. Food & Drug Admin., FDA Announces Voluntary Recall of Several
      Medicines Containing Valsartan Following Detection of an Impurity U.S. Food and Drug
      Administration (July 13, 2018), https://www.fda.gov/news-events/press-announcements/fda-
      announces-voluntary-recall-several-medicines-containing-valsartan-following-detection-
      impurity.
    77
       Yanzhong Huang, U.S. Dependence on Pharmaceutical Products from China (Aug. 14, 2019),
      https://www.cfr.org/blog/us-dependence-pharmaceutical-products-china.
    78
       Press Announcements, U.S. Food & Drug Admin., FDA Updates & Press on ARB Recalls:
      Valsartan, Losartan and Irbesartan U.S. Food and Drug Administration (Nov. 13, 2019),


                                                   75
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 81 of 152



           351.    Similarly, API was noted as a possible source of NDMA in ranitidine-containing

    drugs: “Lannett was notified by FDA of the potential presence of NDMA on September 17, 2019

    and immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug

    product. The analysis confirmed the presence of NDMA.”79

           352.    FDA’s early testing of ranitidine was conducted without utilizing heat and without

    subjecting the pills to gastric conditions. This testing nonetheless revealed unacceptable levels of

    NDMA.80

       V. EVIDENCE DIRECTLY LINKS RANITIDINE EXPOSURE TO CANCER

           353.    In addition to numerous epidemiology studies examining how NDMA causes

    cancer in humans, researchers have also specifically looked at ranitidine and found an association

    with cancer.

           354.    One epidemiology study, published in 2004, showed that men taking either

    ranitidine or cimetidine (Tagamet) had increased risks of bladder cancer.81

           355.    In one epidemiology study specifically designed to look at breast cancer, ranitidine

    was shown to more than double the risk, an effect that was even more pronounced in those with

    specific gene mutations.82

           356.    In another comprehensive epidemiological study looking at various cancer risks




      https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
      angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan.
    79
       Company Announcement, Lannett, supra note 42.
    80
       Press Announcements, U.S. Food & Drug Admin., NDMA in Zantac (ranitidine) (Oct. 2, 2019),
      https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
      ndma-zantac-ranitidine.
    81
       D. Michaud et al., Peptic Ulcer Disease and the Risk of Bladder Cancer in a Prospective Study
      of Male Health Professionals, 13 Cancer Epi. Biomarkers & Prevention 250–54 (Feb. 2004).
    82
       Robert W. Mathes et al., Relationship Between Histamine2-receptor Antagonist Medications
      and Risk of Invasive Breast Cancer, 17 Cancer Epi. Biomarkers & Prevention 1, 67–72 (2008).


                                                    76
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 82 of 152



    and histamine H2-receptor antagonists (or H2 blockers), including ranitidine, the data showed that

    ranitidine consumption increased the risk of prostate, lung, esophageal, pancreatic, and kidney

    cancer.83 Of particular note, the study indicated that people under the age of 60 who took ranitidine

    were five times more likely to develop prostate cancer. In addition, there was more than a doubling

    the risk of pancreatic cancer with ranitidine use.

           357.    A study published in 2018, demonstrated an increased risk of liver cancer

    associated with use of ranitidine in comparison with other H2 blockers in the class. The purpose

    of the study was to determine whether there was an increased risk of liver cancer associated with

    proton pump inhibitors, a different class of medications indicated for the treatment of GERD. This

    finding is particularly notable as the authors adjusted for variables.84

           358.    In 2018, a study found an increased risk in hepatocellular carcinoma associated

    with use of H2 blockers.85 The authors were evaluating the risk of cancer in association with proton

    pump inhibitors and looked at H2 blockers as a confounder. The study only considered use of H2

    blockers within one year of cancer diagnosis and still found an increased odds ratio associated with

    use of H2 blockers and hepatocellular carcinoma, a type of liver cancer.

           359.    A number of other studies have been published over the years showing an increased

    risk of various cancers associated with use of ranitidine and/or H2 blockers.86 These cancers



    83
       Laurel A Habel et al., Cimetidine Use and Risk of Breast, Prostate, and Other Cancers, 9
     Pharmacoepidemiology & Drug Safety 149–55 (2000).
    84
       Kim Tu Tran et al., Proton Pump Inhibitor and Histamine‐2 receptor Antagonist Use and Risk
      of Liver Cancer in Two Population‐based Studies, 48 Alimentary Pharmacology & Therapeutics
      1, 55–64 (2018).
    85
       Y‐H J Shao et al., Association Between Proton Pump Inhibitors and the Risk of Hepatocellular
      Carcinoma, 48 Alimentary Pharmacology & Therapeutics 4, 460–68 (2018).
    86
       Mathes et al., supra note 82; see also Jeong Soo Ahn et al., Acid Suppressive Drugs and Gastric
      Cancer: A Meta-analysis of Observational Studies, 19 World J. Gastroenterology 16, 2560
      (2013); Shih-Wei Lai et al., Use of Proton Pump Inhibitors Correlates with Increased Risk of
      Pancreatic Cancer: A Case-control Study in Taiwan, 46 Kuwait Med J. 1, 44–48 (2014); Poulsen


                                                     77
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 83 of 152



    include breast, gastric, pancreatic, and stomach cancer. Additional research reports that ranitidine

    use was associated with a significant increase in the risk of breast, testicular, thyroid, and kidney

    cancer.87

       VI. DEFENDANTS KNEW OR SHOULD HAVE KNOWN OF THE NDMA RISK

          360.     As early as 1981, two years before Zantac entered the market, research showed

    elevated rates of NDMA, when properly tested.88 This was known or should have been known by

    the Brand-Name Manufacturer, Generic Manufacturer, Distributor, and Repackager Defendants

    (“Knowledge Defendants”) or any other manufacturer or distributor of ranitidine-containing

    products as the information was available in medical literature. Such literature should have been

    accessed by all companies in the chain of distribution of ranitidine, even if it would have been

    difficult to locate for a regular consumer.

           361.    In 1981, GSK, the originator of the ranitidine molecule, published a study focusing

    on the metabolites of ranitidine in urine using liquid chromatography. 89 Many metabolites were

    listed, though there is no indication that the study looked for NDMA.

          362.     Indeed, in that same year, Dr. de Flora published a note discussing the results of his

    experiments showing that ranitidine was turning into mutagenic N-nitroso compounds, of which

    NDMA is one, in human gastric fluid when accompanied by nitrites—a substance commonly




       et al., Proton Pump Inhibitors and Risk of Gastric Cancer – A Population Based Cohort Study,
       100 Brit. J. Cancer 1503–07 (2009); E Wennerström, Acid-suppressing Therapies and Subsite-
       specific Risk of Stomach Cancer, 116 Brit. J. Cancer 9, 1234–38 (2017).
    87
       Richard H. Adamson & Bruce A. Chabne, The Finding of N‐Nitrosodimethylamine in Common
      Medicines,       The    Oncologist,    June     2020;      25(6):   460–62,   available    at
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7288647/.
    88
       See supra ¶ 311 (discussing de Flora research).
    89
        Carey et al., Determination of Ranitidine and Its Metabolites in Human Urine by Reversed-
      phase Ion-pair High-performance Liquid Chromatography, 255 J. Chromatography B:
      Biomedical Sci. & Appl. 1, 161–68 (1981).


                                                     78
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 84 of 152



    found in food and in the body.90 GSK was aware of this study because GSK specifically responded

    to the note and attempted to discredit it. Knowledge Defendants knew or should have known about

    this scientific exchange as it was published in a popular scientific journal. Knowledge Defendants

    were obligated to investigate this issue properly. None did.

             363.    By 1987, after numerous studies raised concerns over ranitidine and cancerous

    nitroso compounds (discussed previously in Factual Allegations, Section IV), GSK published a

    clinical study specifically investigating gastric contents in human patients and N-nitroso

    compounds.91 That study specifically indicated that there were no elevated levels of N-nitroso

    compounds (of which NDMA is one). But the study was rigged. It used an analytical system

    called a “nitrogen oxide assay” for the determination of N-nitrosamines, which was developed for

    analyzing food and is a detection method that indirectly and non-specifically measures N-

    nitrosamines. Not only is that approach not accurate, but GSK also removed all gastric samples

    that contained ranitidine out of concern that samples with ranitidine would contain “high

    concentrations of N-nitroso compounds being recorded.” Without the chemical being present in

    any sample, any degradation into NDMA could not, by design, be observed. The inadequacy of

    that test was knowable in light of its scientific publication in 1987. All Defendants either knew or

    should have known about the inadequacy of that study and should have investigated the issue

    properly and/or took action to protect consumers from the NDMA risks in their products. None

    did.

             364.    In fact, upon information and belief, no Defendant ever used a mass spectrometry

    assay to test for the presence of nitrosamines in any of the studies and trials they did in connection




    90
         De Flora, supra note 45.
    91
         Thomas et al., supra note 61.


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 85 of 152



    with their trials associated with the ranitidine NDA. That is because mass spectrometry requires

    heating of up to 130 degrees Celsius, which can result in the formation of excessive amounts of

    nitrosamines. Had the Brand-Name Manufacturer and Generic Manufacturer Defendants used a

    mass spectrometry assay, it would have revealed large amounts of NDMA.

          365.     There are multiple alternatives to ranitidine that do not cause cancer, and the

    benefits of using ranitidine were always outweighed by the risk-adjusted costs.

                          THE FEDERAL REGULATORY LANDSCAPE

           366.    Plaintiffs reference federal law herein not in any attempt to enforce it, but only to

    demonstrate that their state-law tort claims do not impose any additional obligations on

    Defendants, beyond what is already required of them under federal law.

         I. BRAND-NAME AND GENERIC MANUFACTURER DEFENDANTS MADE
            FALSE STATEMENTS IN THE LABELING OF RANITIDINE-CONTAINING
            PRODUCTS

           367.    A manufacturer is required to give adequate directions for the use of a

    pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

    intended,”92 and conform to requirements governing the appearance of the label.93

           368.    “Labeling” encompasses all written, printed or graphic material accompanying the

    drug or device,94 and therefore broadly encompasses nearly every form of promotional activity,

    including not only “package inserts” but also advertising.

           369.    “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

    as including all printed matter accompanying any article. Congress did not, and we cannot, exclude




    92
       21 C.F.R. § 201.5.
    93
       Id. § 201.15.
    94
       Id.; 65 Fed. Reg. 14286 (Mar. 16, 2000).


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 86 of 152



    from the definition printed matter which constitutes advertising.”95

           370.    All drug manufacturers (brand and generic) are also responsible for conducting

    stability testing, which must be “designed to assess the stability characteristics of drug products.”96

    Manufacturers must adopt a written testing program that includes: “(1) Sample size and test

    intervals based on statistical criteria for each attribute examined to assure valid estimates of

    stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and

    specific test methods; (4) Testing of the drug product in the same container-closure system as that

    in which the drug product is marketed; (5) Testing of drug products for reconstitution at the time

    of dispensing (as directed in the labeling) as well as after they are reconstituted.”97

           371.    The purpose of stability testing is, in part, to determine “the appropriate storage

    conditions and expiration dates.”98 And expiration dates, in turn, must be set to “assure that a drug

    product meets applicable standards of identity, strength, quality, and purity at the time of

    use.”99 An expiration date is “related to any storage conditions stated on the labeling, as

    determined by stability studies listed in § 211.166.”100

           372.      The FDA made clear when it first adopted the expiration-date provision that the

    regulation means what it says. The purpose of the expiration date is not merely to consider the

    “stability of a specific active ingredient.” Instead, a compliant expiration date must account for

    multiple factors, including “the stability of the inactive ingredients, the interaction of active and

    inactive ingredients, the manufacturing process, the dosage form, the container closure system, the




    95
       United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).
    96
       21 C.F.R. § 211.166(a).
    97
       Id.
    98
       Id.
    99
       Id. § 211.137(a).
    100
        Id. § 211.137(b).


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 87 of 152



    conditions under which the drug product is shipped, stored, and handled by wholesalers and

    retailers, and the length of time between initial manufacture and final use.”101

           373.      The FDA expressly recognizes that an initial expiration date may not be the final

    expiration date: “Where data from accelerated studies are used to project a tentative expiration

    date that is beyond a date supported by actual shelf life studies, there must be stability studies

    conducted . . . until the tentative expiration date is verified or the appropriate expiration date

    determined.”102

           374.      After a drug is approved, a manufacturer (brand or generic) can make changes to

    its drug application. To do so, manufacturers must comply with the requirements of §§ 314.70

    and 314.71.103

           375.      Some of the requirements in those regulations require a brand or generic

    manufacturer of an approved drug to obtain FDA approval before implementing a label change.104

           376.      But the FDA has long recognized a “changes being effected” (“CBE”) supplement

    that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.105

           377.      A manufacturer of an approved drug can use the CBE supplement to immediately

    make an “[a]ddition to a specification or changes in the methods or controls to provide increased

    assurance that the drug substance or drug product will have the characteristics of identity, strength

    quality, purity, or potency that it purports or is represented to possess.”106 “A specification is

    defined as a list of tests, references to analytical procedures, and appropriate acceptance criteria




    101
        43 Fed. Reg. 45059 (Sept. 29, 1978).
    102
        21 C.F.R. § 211.166(b).
    103
        See id. §§ 314.70, 314.97(a) (requiring generics to comply).
    104
        Id. § 314.70(b).
    105
        Id. § 314.70(c)(3), (c)(6).
    106
        Id. § 314.70(c)(6)(i).


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 88 of 152



    that are numerical limits, ranges, or other criteria for the tests described.”107

            378.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

    stability studies to identify the appropriate expiration date—which must “assure that a drug product

    meets applicable standards of identity, strength, quality, and purity at the time of use” 108—or to

    ensure that the drug is shipped and stored under appropriate conditions.

            379.    A manufacturer of an approved drug can also use the CBE supplement to make

    changes “in the labeling to reflect newly acquired information” in order to “add or strengthen a

    contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

    association satisfies the standard for inclusion in the labeling under § 201.57(c) of this chapter”;

    “add or strengthen an instruction about dosage and administration that is intended to increase the

    safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

    claims for effectiveness.”109

            380.    A manufacturer of an approved drug may make minor changes to a label with no

    approval or notice, so long as that change is described in an annual report. The illustrative but

    non-exhaustive list of minor changes includes “[a] change in the labeling concerning the

    description of the drug product or in the information about how the drug product is supplied, that

    does not involve a change in the dosage strength or dosage form.”110

            381.    A “minor change” further includes “[a]n extension of an expiration dating period

    based upon full shelf life data on production batches obtained from a protocol approved in the

    NDA.”111



    107
        65 Fed. Reg. 83042 (Dec. 29, 2000).
    108
        21 C.F.R. § 211.137(a).
    109
        Id. § 314.70(c)(6)(iii)(A), (C), (D).
    110
        Id. § 314.70 (d)(2)(ix).
    111
        Id. § 314.70 (d)(2)(vi).


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Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 89 of 152



          382.     At no time did any Brand-Name Manufacturer or Generic Manufacturer Defendant

    (“Manufacturer Defendants”) attempt to include a warning about NDMA levels in ranitidine and

    its association with cancer, and the FDA never rejected such a warning. Manufacturer Defendants

    holding the NDAs had the ability to unilaterally add an NDMA and/or cancer warning to the labels

    of ranitidine-containing products (for both prescription and OTC) without prior FDA approval

    pursuant to the CBE regulation. Had any such Manufacturer Defendant attempted to add an

    NDMA warning to the label of its ranitidine-containing products (either for prescription or OTC),

    the FDA would not have rejected it.

          383.     At no time did any Manufacturer Defendant attempt to change its label to delete a

    false or misleading expiration date, to delete false or misleading shipping and storage conditions,

    to add a proper expiration date, or to add proper shipping and storage conditions, to ensure that

    ranitidine-containing products would not break down into NDMA prior to human consumption.

          384.     Based on the public scientific information available starting in 1983 (or earlier), the

    Manufacturer Defendants knew or should have known that NDMA could form in ranitidine by

    exposure to heat and/or over time in storage.

          385.     At no time did any Manufacturer Defendant change its label to shorten the

    expiration date or alter the safe shipping and storage conditions of its ranitidine-containing

    product, and the FDA never rejected such changes. Manufacturer Defendants had the ability to

    unilaterally make such label changes (for both prescription and OTC) without prior FDA approval

    pursuant to the CBE regulation. Had any Manufacturer Defendant attempted such label changes,

    the FDA would not have rejected them.

          386.     Because they failed to warn that ranitidine-containing products contained NDMA,

    Manufacturer Defendants made false statements in the labeling of their products.




                                                     84
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 90 of 152



            387.   Because they failed to include appropriate expiration dates on their products,

    Manufacturer Defendants made false statements in the labeling of their products.

            388.   Because they failed to include proper storage instructions on their products,

    Manufacturer Defendants made false statements in the labeling of their products.

          II. GENERIC DRUG MANUFACTURER REQUIREMENTS

            389.   According to FDA, “[a] generic drug is a medication created to be the same as an

    already marketed brand-name drug in dosage form, safety, strength, route of administration,

    quality, performance characteristics, and intended use. These similarities help to demonstrate

    bioequivalence, which means that a generic medicine works in the same way and provides the

    same clinical benefit as its brand-name version. In other words, you can take a generic medicine

    as an equal substitute for its brand-name counterpart.”112

            390.   While brand-name medications undergo a more rigorous review before being

    approved, generic manufacturers are permitted to submit an ANDA. As the first “A” in ANDA

    denotes, the generic approval process is “abbreviated” to serve Congress’s intent to expeditiously

    offer consumers lower-cost, previously approved medicines. But the abbreviated NDA process

    does not absolve generic manufacturers of their obligations to ensure that their drugs are safe and

    effective. To obtain FDA approval, an ANDA applicant must demonstrate that the generic

    medicine is the same as the brand-name version in the following ways:

            a. The active ingredient in the generic medicine is the same as in the brand-name

               drug/innovator drug.




    112
       U.S. Food & Drug Admin., Generic Drugs: Questions & Answers U.S. Food and Drug
     Administration, https://www.fda.gov/drugs/questions-answers/generic-drugs-questions-answers
     (current as of June 1, 2018)


                                                    85
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 91 of 152



           b. The generic medicine has the same strength, use indications, form (such as a tablet or

               an injectable), and route of administration (such as oral or topical).

           c. The inactive ingredients of the generic medicine are acceptable.

           d. The generic medicine is manufactured under the same strict standards as the brand-

               name medicine.

           e. The container in which the medicine will be shipped and sold is appropriate.113

           391.    Because the branded manufacturer previously demonstrated clinical safety and

    efficacy when the NDA was approved, an ANDA applicant does not need to do so if it can show

    bioequivalence to the branded, reference listed drug (“RLD”). Bioequivalence is the “absence of

    significant difference” in the pharmacokinetic profiles of two pharmaceutical products. 114

           392.    Though an ANDA applicant’s drug must be bioequivalent to the RLD, no two

    manufacturers’ drugs will be exactly the same. For that reason, generic manufacturers are

    responsible for conducting their own, independent stability testing, which must be “designed to

    assess the stability characteristics of drug products.”115

           393.    Because a generic manufacturer’s drug must be bioequivalent to the RLD, a

    compliant generic label should be “the same as the labeling of the reference listed drug” in many

    respects.116 But because a generic drug may not be exactly the same as the RLD, the generic label

    “may include differences in expiration date, formulation, bioavailability, or pharmacokinetics,

    labeling revisions made to comply with current FDA labeling guidelines or other guidance.”117




    113
         U.S. Food & Drug Admin., Generic Drug Facts, https://www.fda.gov/drugs/generic-
      drugs/generic-drug-facts (current as of June 1, 2018).
    114
        21 C.F.R. §§ 320.1(e) & 314.3(b).
    115
        Id. § 211.166(a).
    116
        Id. § 314.94(a)(8)(iii).
    117
        Id. § 314.94(a)(8)(iv).


                                                      86
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 92 of 152



           394.      Pursuant to this regulation, it is common for a generic drug’s label to differ from

    the RLD by setting a different expiration date, requiring the drug to be shipped and stored under

    different temperature conditions, and/or requiring the drug to receive different (or no) exposure to

    light. Several of the Generic Manufacturer Defendants relied on 21 C.F.R. § 314.94(a)(8)(iv) and

    their independent stability studies to sell approved, generic ranitidine with labels that differed from

    the RLD label.

       III. FEDERAL LAW REQUIRED THE MANUFACTURER DEFENDANTS TO
            NOTIFY THE FDA ABOUT THE PRESENCE OF NDMA IN RANITIDINE-
            CONTAINING PRODUCTS

           395.      During the time that Manufacturer Defendants manufactured and sold ranitidine-

    containing products in the United States, the weight of scientific evidence showed that ranitidine

    exposed users to unsafe levels of NDMA. Manufacturer Defendants failed to disclose this risk to

    consumers on the drug’s label—or through any other means—and they failed to report these risks

    to the FDA.

           396.      Manufacturer Defendants concealed the ranitidine–NDMA link from ordinary

    consumers in part by not reporting it to the FDA, which relies on drug manufacturers (or others,

    such as those who submit citizen petitions) to bring new information about an approved drug like

    ranitidine to the agency’s attention.

           397.      Manufacturers (brand and generic) of an approved drug are required by regulation

    to submit an annual report to the FDA containing, among other things, new information regarding

    the drug’s safety pursuant to 21 C.F.R. § 314.81(b)(2):

           The report is required to contain . . . [a] brief summary of significant new
           information from the previous year that might affect the safety, effectiveness, or
           labeling of the drug product. The report is also required to contain a brief
           description of actions the applicant has taken or intends to take as a result of this
           new information, for example, submit a labeling supplement, add a warning to the
           labeling, or initiate a new study.



                                                      87
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 93 of 152



            398.    21 C.F.R. § 314.81(b)(2)(v) provides:

            The manufacturer’s annual report also must contain copies of unpublished reports
            and summaries of published reports of new toxicological findings in animal studies
            and in vitro studies (e.g., mutagenicity) conducted by, or otherwise obtained by, the
            [manufacturer] concerning the ingredients in the drug product.

           399.     Manufacturer Defendants ignored these regulations and, disregarding the scientific

    evidence available to them regarding the presence of NDMA in their products and the risks

    associated with NDMA, did not report to the FDA significant new information affecting the safety

    or labeling of ranitidine-containing products.

           400.     Knowledge regarding the risk of NDMA in ranitidine was sufficiently available in

    the publicly available scientific literature such that any manufacturer or distributor, consistent with

    their heightened obligations to ensure the safety of their products, also should have known about

    the potential NDMA risks associated with ranitidine consumption.

           401.     Manufacturer Defendants never conducted or provided the relevant studies to the

    FDA, nor did they present the FDA with a proposed disclosure noting the link between ranitidine

    and NDMA. Accordingly, because Manufacturer Defendants never properly disclosed the risk to

    the FDA, they never proposed any labeling or storage / transportation guidelines that would have

    addressed this risk. Thus, the FDA was never able to reject any proposed warning or proposal for

    transport / storage.

           402.     When the FDA eventually learned about the NDMA risks posed by ranitidine-

    containing products, it ordered manufacturers to voluntarily remove the products from the market.

    Thus, had any Manufacturer Defendant alerted the FDA to the risks of NDMA, the FDA would

    have required the manufacturers to remove ranitidine-containing products from the market.

        IV. CURRENT GOOD MANUFACTURING PRACTICES

            403.    Under federal law, a manufacturer must manufacture, store, warehouse, and



                                                      88
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 94 of 152



    distribute pharmaceutical drugs in accordance with “Current Good Manufacturing Practices”

    (“CGMPs”) to ensure they meet safety, quality, purity, identity, and strength standards.118

           404.    21 C.F.R. § 210.1(a) states that the CGMPs establish “minimum current good

    manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

    manufacture, processing, packing, or holding of a drug to assure that such drug meets the

    requirements of the act as to safety, and has the identity and strength and meets the quality and

    purity characteristics that it purports or is represented to possess.” Entities at all phases of the

    design, manufacture, and distribution chain are bound by these requirements.

           405.    Pursuant to 21 C.F.R. § 211.142(b), the warehousing of drug products shall provide

    for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

    so that the identity, strength, quality, and purity of the drug products are not affected.” In other

    words, Defendants had a duty and were obligated to properly store, handle, and warehouse

    ranitidine.

           406.    Any drug not manufactured in accordance with CGMPs is deemed “adulterated

    and/or misbranded” and may not be distributed or sold in the United States.119 State common law

    and statutory law mirror these federal standards.

           407.    Testing conducted by the FDA confirms that improper storage of ranitidine has

    resulted in extremely high levels of NDMA.120 FDA has also concluded that NDMA can increase

    in ranitidine even under storage conditions allowed by the labels, and NDMA has been found to

    increase significantly in samples stored at higher temperatures, including temperatures the product

    may be exposed to during normal distribution and handling. FDA’s testing also showed that the



    118
        21 U.S.C. § 351(a)(2)(B).
    119
        Id. §§ 331(a), 351(a)(2)(B).
    120
        Woodcock Letter, supra note 47.


                                                    89
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 95 of 152



    level of NDMA in ranitidine-containing products increases with time. And while Emery’s Citizen

    Petition sought to obtain a directive regarding temperature-controlled shipping of ranitidine, which

    was necessary given the time and temperature sensitivity of the drug, that request was deemed

    moot by the FDA because the agency sought to withdraw ranitidine-containing products

    altogether.

          408.        Nothing prevented any Defendant from, on their own, taking actions to prevent

    accumulation of NDMA in ranitidine-containing products by ensuring cooled storage and

    transport. Such actions would not have required FDA approval, nor would they have violated any

    regulatory decisions or laws.

       V. THE REPACKAGER AND DISTRIBUTOR DEFENDANTS ALSO HAD A DUTY
          TO IMPLEMENT PROPER STORAGE, HANDLING, AND SHIPPING
          CONDITIONS

          409.        During the time that the Repackager and Distributor Defendants repackaged,

    distributed, and sold ranitidine-containing products in the United States, the weight of scientific

    evidence showed that ranitidine exposed users to unsafe levels of NDMA.

          410.        The Repackager and Distributor Defendants failed to disclose that risk to

    consumers on the drug’s label—or through any other means—and they failed to report those risks

    to the FDA.

          411.        The U.S. Pharmacopeia Convention (hereinafter “USP”) sets forth industry

    standards applicable—in relevant part—to repackagers and distributors. Chapter 1079, entitled

    “Good Storage and Shipping Practices,” specifies that

           Good storage and distribution practices apply to all organizations and individuals

           involved in any aspect of the storage and distribution of all drug products, including but

           not limited to the following: . . .

                  •   Repackaging operations in which the drug product may be owned by an


                                                    90
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 96 of 152



                     organization other than the primary manufacturer

                     Pharmacies including but not limited to retail, compounding, specialty, mail

                     order, hospital, and nursing home pharmacies. . .

                 •   Wholesale distributors; distribution companies involved in automobile, rail,

                     sea, and air services.

          412.       USP 1079 further states that the

                     drug product manufacturer (in the case of many OTSs, where there is no

           application) and the repackager bear primary responsibility and accountability including

           but not limited to the following: . . .

                 •   Determining proper storage and handling practices

                 •   Communicating storage and distribution practices through the supply chain

                 •   Drug product stability profiles or the associated stability information from

                     the holder, inclusive of distribution conditions and excursion that may be

                     allowable should they occur. These stability profiles include the approved

                     storage conditions for the shelf life of the drug product and, where

                     applicable, supporting data for the distribution conditions, if they differ

                     from the storage conditions.

          413.       USP 1079 continues: “However, all organizations along the supply chain bear

    responsibility for ensuring that they handle drug products within adequate storage and distribution

    parameters that will not affect the drug product identity, strength, quality, purity, or safety.”

          414.       The Repackager and Distributor Defendants, as well as the Manufacturer

    Defendants, breached their duty to provide proper storage, shipping, and temperature

    specifications in all of the ways previously mentioned in the preceding paragraphs.



                                                        91
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 97 of 152



          VI. RANITIDINE-CONTAINING PRODUCTS ARE MISBRANDED AND
              ADULTERATED BECAUSE THEY CONTAIN DANGEROUS AND
              BIOLOGICALLY RELEVANT LEVELS OF NDMA

              415.   The manufacture of any misbranded or adulterated drug is prohibited under federal

    law.121

              416.   The introduction into commerce of any misbranded or adulterated drug is similarly

    prohibited.122

              417.   Similarly, the receipt in interstate commerce of any adulterated or misbranded drug

    is also unlawful.123

              418.   Among the ways a drug may be adulterated and/or misbranded are:

                     a. “If it is a drug and the methods used in, or the facilities or controls used for, its

                        manufacture, processing, packing, or holding do not conform to or are not

                        operated or administered in conformity with current good manufacturing

                        practice . . . as to safety and has the identity and strength, and meets the quality

                        and purity characteristics, which it purports or is represented to possess.”124

                     b. “If it purports to be or is represented as a drug the name of which is recognized

                        in an official compendium, and . . . its quality or purity falls below, the standard

                        set forth in such compendium. . . .”125

                     c. “If it is a drug and any substance has been (1) mixed or packed therewith so as

                        to reduce its quality or strength or (2) substituted wholly or in part therefor.”126

              419.   A drug is misbranded:


    121
        21 U.S.C. § 331(g).
    122
        Id. § 331(a).
    123
        Id. § 331(c).
    124
        Id. § 351(a)(2)(B).
    125
        Id. § 351(b).
    126
        Id. § 351(d).


                                                       92
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 98 of 152



                    a. “If its labeling is false or misleading in any particular.”127

                    b. “If any word, statement, or other information required . . . to appear on

                        the label or labeling is not prominently placed thereon . . . in such terms as to

                        render it likely to be read and understood by the ordinary individual under

                        customary conditions of purchase and use.”128

                    c. If the labeling does not contain, among other things, “the proportion of each

                        active ingredient . . .”129

                    d. “Unless its labeling bears (1) adequate directions for use; and (2) such adequate

                        warnings . . . against unsafe dosage or methods or duration of administration or

                        application, in such manner and form, as are necessary for the protection of

                        users . . . .”130

                    e. “If it purports to be a drug the name of which is recognized in an official

                        compendium, unless it is packaged and labeled as prescribed therein.”131

                    f. “If it is an imitation of another drug.”132

                    g. “If it is offered for sale under the name of another drug.”133

                    h. “If it is dangerous to health when used in the dosage or manner, or with the

                        frequency      or   duration   prescribed,   recommended,       or   suggested   in

                        the labeling thereof.”134




    127
        Id. § 352(a)(1).
    128
        Id. § 352(c).
    129
        Id. § 352(e)(1)(A)(ii).
    130
        Id. § 352(f).
    131
        Id. § 352(g).
    132
        21 U.S.C. § 352(i)(2).
    133
        Id. § 352(i)(3).
    134
        Id. § 352(j).


                                                       93
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 99 of 152



                     i. If the drug is advertised incorrectly in any manner.135

                     j. If the drug’s “packaging or labeling is in violation of an applicable

                        regulation.”136

            420.     If a manufacturer labels a drug but omits ingredients, that renders the drug

    misbranded.137

            421.     Because Defendants did not disclose NDMA as an ingredient in ranitidine-

    containing products ingested by Plaintiffs, the subject drugs were misbranded.

            422.     Because Defendants did not disclose the proper directions for storage of the

    ranitidine-containing products ingested by Plaintiffs, the subject drugs were misbranded.

            423.     Because Defendants did not disclose the proper directions for expiration of the

    ranitidine-containing products ingested by Plaintiffs, the subject drugs were misbranded

            424.     It is unlawful to introduce a misbranded drug into interstate commerce.138 Thus,

    the ranitidine ingested by Plaintiffs was unlawfully distributed and sold.

                           DEFENDANTS’ WARRANTIES TO PLAINTIFFS

          I. WARRANTIES COMMON TO MANUFACTURER AND REPACKAGER
             DEFENDANTS.

           425.      Each Manufacturer and Repackager Defendant’s ranitidine-containing product is

    accompanied by an FDA-approved label. By presenting consumers with an FDA-approved label,

    Manufacturer and Repackager Defendants made representations and express or implied warranties

    to consumers like Plaintiffs that their products were consistent with the safety, quality, purity,

    identity, and strength characteristics reflected in the FDA-approved labels and/or were not



    135
        Id. § 352(n).
    136
        Id. § 352(p).
    137
        Id. § 201.6, 201.10.
    138
        Id. § 331(a).


                                                      94
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 100 of
                                     152


   adulterated and/or misbranded.

         426.     In addition, each Manufacturer and Repackager Defendant affirmatively

   misrepresented and warranted to physicians and patients like Plaintiffs through their websites,

   brochures, and other marketing or informational materials that their ranitidine-containing products

   complied with CGMPs and did not contain (or were not likely to contain) any ingredients besides

   those identified on the products’ FDA-approved labels.

         427.     The presence of NDMA in Manufacturer and Repackager Defendants’ ranitidine-

   containing products resulted in Manufacturer and Repackager Defendants’ ranitidine-containing

   products containing an ingredient that is not also listed on each Defendant’s FDA-approved label,

   breaching warranties listed on each Defendant’s FDA-approved label and Defendants’ express

   warranty of compliance. Each Manufacturer and Repackager Defendant willfully, recklessly, or

   negligently failed to ensure their products’ labels and other advertising or marketing statements

   accurately conveyed information about their products.

         428.     At all relevant times, Manufacturer and Repackager Defendants have also

   impliedly warranted that their ranitidine-containing products were merchantable and fit for their

   ordinary purposes.

         429.     Due to its status as a probable human carcinogen as listed by both the IARC and

   the EPA, NDMA is not an FDA-approved ingredient. The presence of NDMA in Manufacturer

   and Repackager Defendants’ ranitidine-containing products means that Manufacturer and

   Repackager Defendants violated implied warranties to Plaintiffs. The presence of NDMA in

   Manufacturer and Repackager Defendants’ products results in their being non-merchantable and

   not fit for their ordinary purposes, breaching Manufacturer and Repackager Defendants’ implied

   warranty of merchantability and/or fitness for ordinary purposes.




                                                   95
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 101 of
                                     152


            430.     For these and other reasons, Manufacturer and Repackager Defendants’ ranitidine-

   containing products are adulterated and/or misbranded, and it was illegal for Brand-Name

   Manufacturer and Generic Manufacturer Defendants to have introduced such ranitidine into

   commerce in the United States.139

         II. WARRANTIES COMMON TO ALL NON-MANUFACTURING DEFENDANTS

            431.     By selling drugs in the stream of commerce, each Distributor and Retailer

   Defendant warranted to consumers that the ranitidine-containing products they sold were safe and

   effective.

                    PLAINTIFFS’ USE OF RANITIDINE-CONTAINING PRODUCTS

             432.    Plaintiffs were prescribed and/or ingested ranitidine at various times as part of their

   treatment for gastric ulcers, heartburn, acid indigestion, sour stomach, and other gastrointestinal

   conditions.

             433.    Plaintiffs used ranitidine-containing products designed, manufactured, tested,

   marketed, labeled, packaged, handled, distributed, stored, and/or sold by Defendants. Those

   products, unbeknownst to Plaintiffs, contained dangerous levels of NDMA.

             434.    Plaintiffs developed cancer, serious and/or permanent injuries, adverse effects,

   and/or death as set forth in the individual SFCs or any other responsive discovery adduced in the

   respective constituent actions.

             435.    Plaintiffs suffered significant bodily injuries, pain and suffering, mental anguish,

   disfigurement, embarrassment, inconvenience, loss of earnings and earning capacity and have and

   will incur past and future medical expenses as set forth in the individual SFCs or any other

   responsive discovery adduced in the respective constituent actions.



   139
         See 21 U.S.C. §§ 331(a), 351(a)(2)(B), 331(g).


                                                       96
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 102 of
                                     152


            436.   Based on prevailing scientific evidence, exposure to ranitidine (and the attendant

   NDMA) causes cancer in humans.

            437.   At all relevant times, Knowledge Defendants knew or should have known that there

   was a significant increased risk of cancer associated with ranitidine, and death related to those

   diseases. Knowledge Defendants continued to design, manufacture, test, market, label, package,

   handle, distribute, store, and/or sell and profit from sales of ranitidine until it was withdrawn from

   the market.

            438.   Knowledge Defendants knowingly, purposely, and deliberately failed to warn

   Plaintiffs, patients, consumers, medical providers, the FDA, and the public of the increased risk of

   serious injury associated with using ranitidine, and death related to those events.

            439.   Plaintiffs’ prescribing physicians would not have prescribed ranitidine to Plaintiffs,

   would have changed the way in which they treated Plaintiffs’ relevant conditions, changed the way

   they warned Plaintiffs about the signs and symptoms of serious adverse effects of ranitidine, and

   discussed with Plaintiffs the true risks of cancer, had Knowledge Defendants provided said

   physicians with an appropriate and adequate warning regarding the risks associated with the use

   of ranitidine-containing products.

            440.   Upon information and belief, Plaintiffs’ physicians were unaware of the increased

   risk of multiple types of cancer associated with the use of ranitidine and, if they had been informed,

   would have used and prescribed alternative therapies to Plaintiffs.

            441.   Plaintiffs would not have taken ranitidine had Plaintiffs known of or been fully and

   adequately informed by Defendants of the true increased risks and serious dangers of taking the

   drugs.

            442.   As a direct and proximate result of Defendants’ conduct, Plaintiffs suffered serious




                                                    97
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 103 of
                                     152


   and/or permanent injuries, adverse effects, and/or death as set forth in the individual SFCs or any

   other responsive discovery adduced in the respective constituent actions, which resulted in

   damages to Plaintiffs in sums in excess of the jurisdictional limits of the Court.

             443.   Defendants’ conduct was committed with knowing, reckless, conscious, wanton,

   willful, and deliberate disregard for the value of human life and the rights and safety of consumers,

   including Plaintiffs, thereby entitling Plaintiffs to punitive and exemplary damages so as to punish

   and deter similar conduct in the future.

                            TOLLING / FRAUDULENT CONCEALMENT

             444.   Plaintiffs assert all applicable statutory and common law rights and theories related

   to the tolling or extension of any applicable statute of limitations, including equitable tolling,

   delayed discovery, discovery rule and/or fraudulent concealment.

             445.   The discovery rule applies to toll the running of the statute of limitations until

   Plaintiffs knew, or through the exercise of reasonable care and diligence should have known, of

   facts that Plaintiffs had been injured, the cause of the injury, and the tortious nature of the

   wrongdoing that caused the injury.

             446.   The nature of Plaintiffs’ injuries, damages, or their causal relationship to

   Defendants’ conduct was not discovered, and through reasonable care and due diligence could not

   have been discovered until a date within the applicable statute of limitations for filing Plaintiffs’

   claims.

             447.   Plaintiffs bring this MPIC within the applicable statute of limitations. Specifically,

   Plaintiffs bring this action within the prescribed time limits following Plaintiffs’ injuries and/or

   death and Plaintiffs’ knowledge of the wrongful cause. Prior to such time, Plaintiffs did not know

   and had no reason to know of their injuries and/or the wrongful cause of those injuries.




                                                     98
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 104 of
                                     152


             448.   The running of the statute of limitations is tolled due to equitable tolling.

   Defendants are estopped from relying on any statutes of limitation or repose by virtue of their acts

   of fraudulent concealment, through affirmative misrepresentations and omissions to Plaintiffs and

   defects associated with ranitidine-containing products including the severity, duration, and

   frequency of risks and complications. Defendants affirmatively withheld and/or misrepresented

   facts concerning the safety of ranitidine. As a result of Defendants’ misrepresentations and

   concealment, Plaintiffs and Plaintiffs’ physicians were unaware, and could not have known or have

   learned through reasonable diligence, of facts related to Defendants’ misrepresentations or

   omissions, that Plaintiffs had been exposed to the risks alleged herein, or that those risks were the

   direct and proximate result of the wrongful acts and/or omissions of Defendants.

             449.   Given Defendants’ affirmative actions of concealment by failing to disclose this

   known but non-public information about the defects—information over which Defendants had

   exclusive control—and because Plaintiffs could not reasonably have known that Defendants’

   ranitidine-containing products were and are defective, Defendants are estopped from relying on

   any statutes of limitations or repose that might otherwise be applicable to the claims asserted

   herein.

                      EXEMPLARY / PUNITIVE DAMAGES ALLEGATIONS

             450.   Defendants’ conduct as alleged herein was done with reckless disregard for human

   life, oppression, and malice. Defendants were fully aware of the safety risks of ranitidine,

   particularly the carcinogenic potential of ranitidine as it transforms into NDMA within the

   chemical environment of the human body and/or during transport and/or storage. Nonetheless,

   Defendants deliberately crafted their label and marketing to mislead consumers.

             451.   This was not done by accident or through some justifiable negligence. Rather,




                                                    99
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 105 of
                                     152


   Defendants knew they could profit by convincing consumers that ranitidine was harmless to

   humans, and that full disclosure of the true risks of ranitidine would limit the amount of money

   Defendants would make selling the drugs. Defendants’ object was accomplished not only through

   a misleading label, but through a comprehensive scheme of selective misleading research and

   testing, false advertising, and deceptive omissions as more fully alleged throughout this pleading.

   Plaintiffs were denied the right to make an informed decision about whether to purchase and use

   ranitidine-containing products, knowing the full risks attendant to that use. Such conduct was

   done with conscious disregard of Plaintiffs’ rights.

           452.    Accordingly, Plaintiffs request punitive damages against Defendants for the harms

   caused to Plaintiffs.

                                         CAUSES OF ACTION

                  COUNT I: STRICT PRODUCTS LIABILITY—FAILURE TO WARN
                                 (Against All Defendants)

           453.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           454.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products, which

   are defective and unreasonably dangerous to consumers, including Plaintiffs, because they do not

   contain adequate warnings or instructions concerning the dangerous characteristics of ranitidine

   and NDMA. These actions were under the ultimate control and supervision of Defendants.

           455.    Defendants designed, manufactured, tested, marketed, labeled, packaged, handled,

   distributed, stored, sold, and/or otherwise released into the stream of commerce their ranitidine-

   containing products, and in the course of same, directly marketed the products to consumers and

   end users, including Plaintiffs, and therefore had a duty to warn of the risks associated with the



                                                   100
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 106 of
                                     152


   use of ranitidine.

           456.    At all relevant times, Defendants had a duty to properly design, manufacture, test,

   market, label, package, handle, distribute, store, sell, provide proper warnings, and/or take such

   steps as necessary to ensure their ranitidine-containing products did not cause users and consumers

   to suffer from unreasonable and dangerous risks. Defendants had a continuing duty to warn

   Plaintiffs of dangers associated with ranitidine. Defendants, as a manufacturer, seller, distributor,

   or repackager of pharmaceutical medication, are held to the knowledge of an expert in the field.

           457.    Defendants had a continuing duty to provide appropriate and accurate instructions

   regarding the proper expiration and retest dates, as well as the packaging, storage, and handling of

   ranitidine.

           458.    At the time of manufacture, Defendants could have provided the warnings or

   instructions regarding the full and complete risks of ranitidine because they knew or should have

   known of the unreasonable risks of harm associated with the use of and/or exposure to such

   products.

           459.    At all relevant times, Defendants failed and deliberately refused to investigate,

   study, test, or promote the safety or to minimize the dangers to users and consumers of their

   products and to those who would foreseeably use or be harmed by Defendants’ ranitidine-

   containing products.

           460.    Even though Defendants knew or should have known that ranitidine posed a grave

   risk of harm, they failed to exercise reasonable care to warn of the dangerous risks associated with

   use and exposure to ranitidine-containing products. The dangerous propensities of ranitidine-

   containing products and the carcinogenic characteristics of NDMA, as described above, were

   known to Defendants, or scientifically knowable to Defendants through appropriate research and




                                                   101
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 107 of
                                     152


   testing by known methods, at the time they distributed, supplied or sold the product, and were not

   known to end users and consumers, such as Plaintiffs.

           461.    Defendants knew or should have known that ranitidine-containing products created

   significant risks of serious bodily harm to consumers, as alleged herein, and Defendants failed to

   adequately warn or instruct consumers, i.e., the reasonably foreseeable users, and physicians of

   the risks of exposure to ranitidine-containing products. Defendants failed to warn and have

   wrongfully concealed information concerning the dangerous level of NDMA in ranitidine-

   containing products, and further, have made false and/or misleading statements concerning the

   safety of ranitidine.

           462.    At all relevant times, Defendants’ ranitidine-containing products were expected to

   and did reach Plaintiffs without a substantial change in their anticipated or expected design as

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold by the

   Brand-Name Manufacturer, Generic Manufacturer, Distributor, and Repackager Defendants.

           463.    Plaintiffs were exposed to Defendants’ ranitidine-containing products without

   knowledge of their dangerous characteristics.

           464.    At all relevant times, Plaintiffs used and/or were exposed to the use of Defendants’

   ranitidine-containing products while using them for their intended or reasonably foreseeable

   purposes, without knowledge of their dangerous characteristics.

           465.    Plaintiffs could not have reasonably discovered the defects and risks associated

   with ranitidine-containing products prior to or at the time Plaintiffs consumed the drugs. Plaintiffs

   and their physicians relied upon the skill, superior knowledge, and judgment of Defendants to

   know about and disclose serious health risks associated with using Defendants’ products.

           466.    Defendants knew or should have known that the minimal warnings disseminated




                                                   102
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 108 of
                                     152


   with their ranitidine-containing products were inadequate, failed to communicate adequate

   information on the dangers and safe use/exposure, and failed to communicate warnings and

   instructions that were appropriate and adequate to render the products safe for their ordinary,

   intended and reasonably foreseeable uses.

          467.    The information that Defendants did provide or communicate failed to contain

   relevant warnings, expiration dates, hazards, and precautions that would have enabled consumers

   such as Plaintiffs to avoid using the drug. Instead, Defendants disseminated information that was

   inaccurate, false, and misleading, and which failed to communicate accurately or adequately the

   comparative severity, duration, and extent of the risk of injuries with use of and/or exposure to

   ranitidine; continued to aggressively promote the efficacy of ranitidine-containing products, even

   after they knew or should have known of the unreasonable risks from use or exposure; and

   concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,

   any information or research about the risks and dangers of ingesting ranitidine.

          468.    This alleged failure to warn is not limited to the information contained on

   ranitidine-containing products’ labeling. Defendants were able, in accord with federal law, to

   comply with relevant state law by disclosing the known risks associated with ranitidine through

   other non-labeling mediums, e.g., promotion, advertisements, public service announcements,

   and/or public information sources. But Defendants did not disclose these known risks through any

   medium.

          469.    Had Defendants provided adequate warnings and instructions and properly

   disclosed and disseminated the risks associated with their ranitidine-containing products, Plaintiffs

   could have avoided the risk of developing injuries and could have obtained or used alternative

   medication. However, as a result of Defendants’ concealment of the dangers posed by their




                                                   103
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 109 of
                                     152


   ranitidine-containing products, Plaintiffs could not have averted their injuries.

           470.    Defendants’ conduct, as described above, was reckless. Defendants risked the lives

   of consumers and users of their products, including Plaintiffs, with knowledge of the safety

   problems associated with ranitidine-containing products, and suppressed this knowledge from the

   general public.    Defendants made conscious decisions not to redesign, warn or inform the

   unsuspecting public. Defendants’ reckless conduct warrants an award of punitive damages.

           471.    Defendants’ lack of adequate warnings and instructions accompanying their

   ranitidine-containing products were a substantial factor in causing Plaintiffs’ injuries.

           472.    As a direct and proximate result of Defendants’ failure to provide an adequate

   warning of the risks of ranitidine-containing products, Plaintiffs have been injured, sustained

   severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life, economic

   loss and damages including, but not limited to past and future medical expenses, lost income, and

   other damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

               COUNT II: STRICT PRODUCTS LIABILITY—DESIGN DEFECT
                                (Against All Defendants)

           473.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           474.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products, which

   are defective and unreasonably dangerous to consumers, including Plaintiff, thereby placing

   ranitidine-containing products into the stream of commerce. These actions were under the ultimate



                                                   104
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 110 of
                                     152


   control and supervision of these Defendants.

          475.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold the ranitidine-containing products used

   by Plaintiffs, as described herein.

          476.    At all relevant times, Defendants’ ranitidine-containing products were designed,

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold in an

   unsafe, defective, and inherently dangerous manner that was dangerous for use by or exposure to

   the public.

          477.    At all relevant times, the medication ingested by Plaintiffs were expected to and

   did reach Plaintiffs without a substantial change in their anticipated or expected design as

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold by the

   Brand-Name Manufacturer, Generic Manufacturer, Distributor, and Repackager Defendants.

          478.    Defendants’ ranitidine-containing products, as designed, manufactured, tested,

   marketed, labeled, packaged, handled, distributed, stored, and/or sold by Defendants were

   defective in design and formulation in that, when they left Defendants’ control, they were

   unreasonably dangerous, and dangerous to an extent beyond that which an ordinary consumer

   would contemplate because of their inherent susceptibility to form NDMA.

          479.    Defendants’ ranitidine-containing products, as designed, manufactured, tested,

   marketed, labeled, packaged, handled, distributed, stored, and/or sold by Defendants were

   defective in design and formulation in that, when they left the hands of Defendants, the foreseeable

   risks exceeded the alleged benefits associated with their design and formulation.

          480.    At all relevant times, Defendants knew or had reason to know that ranitidine-

   containing products were defective and were inherently dangerous and unsafe when used in the




                                                   105
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 111 of
                                     152


   manner instructed and provided by Defendants.

           481.   Therefore, at all relevant times, Defendants’ ranitidine-containing products, as

   designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or

   sold by Defendants were defective in design and formulation, in one or more of the following

   ways:

              a. Defendants’ ranitidine-containing products were unreasonably dangerous in that
                 they were hazardous and posed a grave risk of cancer when used in a reasonably
                 anticipated manner;

              b. Defendants’ ranitidine-containing products were not reasonably safe when used in
                 a reasonably anticipated or intended manner;

              c. Defendants did not sufficiently test, investigate, or study their ranitidine-containing
                 products and, specifically, the ability for ranitidine to transform into the
                 carcinogenic compound NDMA within the human body;

              d. Defendants did not sufficiently test, investigate, or study their ranitidine-containing
                 products and, specifically, the stability of ranitidine and the ability for ranitidine-
                 containing products to develop increasing levels of NDMA over time under
                 anticipated and expected storage and handling conditions;

              e. Defendants failed to provide accurate expiration dates on the product label;

              f. Defendants failed to package their ranitidine-containing products in a manner
                 which would have preserved the safety, efficacy, quality, and purity of the product;

              g. Defendants failed to provide accurate instructions concerning the stability of the
                 drug, including failing to provide accurate information about proper temperature
                 and light conditions for storage of the drug;

              h. Defendants knew or should have known at the time of marketing ranitidine-
                 containing products that exposure to ranitidine could result in cancer and other
                 severe illnesses and injuries;

              i. Defendants did not conduct adequate post-marketing surveillance of their
                 ranitidine-containing products;

              j. Defendants did not conduct adequate stability testing of their product to ascertain
                 shelf life, expiration, and proper storage, heat, and light specifications; and

              k. Defendants could have employed safer alternative designs and formulations.



                                                   106
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 112 of
                                     152


          482.    Plaintiffs used and were exposed to Defendants’ ranitidine-containing products

   without knowledge of ranitidine’s dangerous characteristics.

          483.    At all times relevant to this litigation, Plaintiffs used and/or were exposed to the

   use of Defendants’ ranitidine-containing products in an intended or reasonably foreseeable manner

   without knowledge of ranitidine’s dangerous characteristics.

          484.    Plaintiffs could not reasonably have discovered the defects and risks associated

   with ranitidine-containing products before or at the time of exposure due to Defendants’

   suppression or obfuscation of scientific information linking ranitidine to cancer.

          485.    Exposure to ranitidine presents a risk of harmful side effects that outweigh any

   potential utility stemming from the use of the drug. The harm caused by Defendants’ ranitidine-

   containing products far outweighed their benefit, rendering each Defendants’ product dangerous

   to an extent beyond that which an ordinary consumer would contemplate. Defendants’ ranitidine-

   containing products were and are more dangerous than alternative products, and Defendants could

   have designed ranitidine-containing products to make them less dangerous. Indeed, at the time

   Defendants designed ranitidine-containing products and their labels, the state of the industry’s

   scientific knowledge was such that a safer, less risky design or formulation and label was

   attainable.

          486.    At the time ranitidine-containing products left Defendants’ control, there was a

   practical, technically feasible, and safer alternative design that would have prevented the harm

   without substantially impairing the reasonably anticipated or intended function of Defendants’

   ranitidine-containing products. For example, Defendants could have provided proper warnings,

   expiration dates, stability information, and associated information.

          487.    Defendants’ defective design of ranitidine-containing products was willful, wanton,




                                                   107
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 113 of
                                     152


   malicious, and conducted with reckless disregard for the health and safety of users of ranitidine-

   containing products, including Plaintiffs.

           488.    The defects in Defendants’ ranitidine-containing products were substantial factors

   in causing Plaintiffs’ injuries.

           489.    As a direct and proximate result of Defendants’ defective design of ranitidine-

   containing products, Plaintiffs have been injured, sustained severe and permanent pain, suffering,

   disability, impairment, loss of enjoyment of life, economic loss and damages including, but not

   limited to past and future medical expenses, lost income, and other damages.

           WHEREFORE, Plaintiffs respectfully requests this Court enter judgment in Plaintiffs’

   favor for compensatory and punitive damages, together with interest, costs herein incurred,

   attorneys’ fees and all such other and further relief as this Court deems just and proper.

        COUNT III: STRICT PRODUCTS LIABILITY—MANUFACTURING DEFECT
          (Against Brand-Name Manufacturer and Generic Manufacturer Defendants)

           490.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           491.    At all times herein mentioned, the Manufacturer Defendants designed,

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold the

   ranitidine-containing products ingested by Plaintiffs.

           492.    At all relevant times, the medication ingested by Plaintiffs were expected to and

   did reach Plaintiffs without a substantial change in their anticipated or expected design as

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold by the

   Manufacturer Defendants.

           493.    At all relevant times, the medications ingested by Plaintiffs were used in a manner

   that was foreseeable and intended by the Manufacturer Defendants.



                                                   108
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 114 of
                                     152


          494.    The ranitidine ingested by Plaintiffs were not reasonably safe for their intended use

   and were defective with respect to their manufacture, as described herein, in that the Manufacturer

   Defendants deviated materially from their design, manufacture, testing, marketing, labeling,

   packaging, handling, distribution, storage, and/or sale specifications and/or such design,

   manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

   posed an unreasonable risk of harm to Plaintiffs.

          495.    The Manufacturer Defendants’ ranitidine-containing products are inherently

   dangerous and defective, unfit and unsafe for their intended and reasonably foreseeable uses, and

   do not meet or perform to the expectations of patients and their healthcare providers.

          496.    The ranitidine-containing products create risks to the health and safety of the

   patients that are far more significant and devastating than the risks posed by other products and

   treatments available to treat the corresponding medical conditions, and which far outweigh the

   utility of ranitidine-containing products because of the Manufacturer Defendants’ manufacturing

   defects, which include but are not limited to:


                  a.      Failure to follow CGMPs;

                  b.      Upon information and belief, failure to adequately clean and test recovered
                          and/or recycled solvents;
                  c.      Failure to adequately inspect and/or test the drugs during the manufacturing
                          process;

                  d.      Failure to implement procedures that would reduce or eliminate NDMA
                          levels in ranitidine-containing products;

                  e.      Failure to implement appropriate handling instructions and storage
                          conditions for the API and the finished drug.


          497.    The Manufacturer Defendants have intentionally and recklessly manufactured

   ranitidine-containing products with wanton and willful disregard for the rights and health of

   Plaintiffs, and with malice, placing their economic interests above the health and safety of


                                                    109
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 115 of
                                     152


   Plaintiffs.

           498.    The manufacturing defects in the Manufacturer Defendants’ ranitidine-containing

   products were substantial factors in causing Plaintiffs’ injuries.

           499.    As a direct and proximate result of Defendants’ defective manufacture of ranitidine-

   containing products, Plaintiffs have been injured, sustained severe and permanent pain, suffering,

   disability, impairment, loss of enjoyment of life, economic loss and damages including, but not

   limited to medical expenses, lost income, and other damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                        COUNT IV: NEGLIGENCE—FAILURE TO WARN
                                   (Against All Defendants)

           500.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           501.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products.

   Defendants knew or by the exercise of reasonable care should have known that their ranitidine-

   containing products were not accompanied by adequate warnings or instructions concerning the

   dangerous characteristics of ranitidine and NDMA. These actions were under the ultimate control

   and supervision of Defendants.

           502.    Defendants designed, manufactured, tested, marketed, labeled, packaged, handled,

   distributed, stored, and/or sold, and otherwise released into the stream of commerce their

   ranitidine-containing products, and in the course of same, directly marketed the products to

   consumers and end users, including Plaintiffs, and therefore had a duty to warn of the risks



                                                    110
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 116 of
                                     152


   associated with the use of ranitidine-containing products.

          503.    At all relevant times, Defendants had a duty to properly design, manufacture, test,

   market, label, package, handle, distribute, store, and sell, provide proper warnings, and take such

   steps as necessary to ensure their ranitidine-containing products did not cause users and consumers

   to suffer from unreasonable and dangerous risks. Defendants had a continuing duty to warn

   Plaintiffs of dangers associated with ranitidine. Defendants, as manufacturer, seller, distributor,

   or repackager of pharmaceutical medication, are held to the knowledge of an expert in the field.

          504.    Defendants had a continuing duty to provide appropriate and accurate warnings and

   instructions regarding the identity, strength, stability, expiry, quality and purity at the time of use

   of their products and how to properly store and handle their ranitidine-containing products.

          505.    At the time of manufacture, Defendants could have provided warnings or

   instructions regarding the full and complete risks of ranitidine because they knew or should have

   known use of ranitidine-containing products was dangerous, harmful and injurious when used by

   Plaintiffs in a reasonably foreseeable manner.

          506.    At all relevant times, Defendants failed and deliberately refused to investigate,

   study, test, or promote the safety or to minimize the dangers to users and consumers of their

   product and to those who would foreseeably use or be harmed by Defendants’ ranitidine-

   containing products.

          507.    Defendants knew or should have known that ranitidine-containing products posed

   a grave risk of harm but failed to exercise reasonable care to warn of the dangerous risks associated

   with use and exposure to the products. The dangerous propensities of their products and the

   carcinogenic characteristics of NDMA as produced within the human body as a result of ingesting

   ranitidine, as described above, were known to Defendants, or scientifically knowable to




                                                    111
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 117 of
                                     152


   Defendants through appropriate research and testing by known methods, at the time they designed,

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or sold the

   product, and were not known to end users and consumers, such as Plaintiffs.

           508.       Defendants further breached their duty by failing to use reasonable care to

   adequately warn or instruct consumers (i.e., the reasonably foreseeable users), such as Plaintiffs,

   of the risks of exposure to their products. Defendants failed to warn and have wrongfully

   concealed information concerning the dangerous level of NDMA in their ranitidine-containing

   products and the potential for ingested ranitidine to transform into the carcinogenic NDMA

   compound, and further, have made false and/or misleading statements concerning the safety of

   ranitidine-containing products.

           509.       At all relevant times, Plaintiffs used and/or were exposed to excessive levels of

   nitrosamines through the use of Defendants’ ranitidine-containing products while using them for

   their intended or reasonably foreseeable purposes, without knowledge of their dangerous

   characteristics.

           510.       Defendants knew or should have known that the minimal warnings disseminated

   with their ranitidine-containing products were inadequate, failed to communicate adequate

   information on the dangers and identity, strength, quality and purity at the time of use of their

   products, and failed to communicate warnings and instructions that were appropriate and adequate

   to render the products safe for their ordinary, intended, and reasonably foreseeable uses.

           511.       The information that Defendants did provide or communicate failed to contain

   relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

   to avoid using the product. Instead, Defendants disseminated information that was inaccurate,

   false, and misleading, and which failed to communicate accurately or adequately the comparative




                                                     112
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 118 of
                                     152


   severity, duration, and extent of the risk of injuries with use of and/or exposure to ranitidine and

   ranitidine-containing products; continued to aggressively promote the efficacy of their products,

   even after they knew or should have known of the unreasonable risks from use or exposure; and

   concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,

   any information or research about the risks and dangers of ingesting ranitidine-containing

   products.

          512.    A reasonable company under the same or similar circumstance would have warned

   and instructed of the dangers of ranitidine-containing products.

          513.    This alleged failure to warn is not limited to the information contained on

   ranitidine-containing products’ labeling. Defendants were able, in accord with federal law, to

   comply with relevant state law by disclosing the known risks associated with ranitidine-containing

   products through other non-labeling mediums, e.g., promotion, advertisements, public service

   announcements, and/or public information sources. But Defendants did not disclose these known

   risks through any medium.

          514.    Had Defendants provided adequate warnings and instructions and properly

   disclosed and disseminated the risks associated with their ranitidine-containing products, Plaintiffs

   could have avoided the risk of developing injuries and could have obtained or used alternative

   medication. However, as a result of Defendants’ concealment of the dangers posed by their

   ranitidine-containing products, Plaintiffs could not have averted their injuries.

          515.    Defendants’ conduct, as described above, was reckless. Defendants risked the lives

   of consumers and users of their products, including Plaintiffs, with knowledge of the safety

   problems associated with ranitidine-containing products, and suppressed this knowledge from the

   general public.   Defendants made conscious decisions not to redesign, warn or inform the




                                                   113
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 119 of
                                     152


   unsuspecting public. Defendants’ reckless conduct warrants an award of punitive damages.

           516.    Defendants’ lack of adequate warnings and instructions accompanying their

   ranitidine-containing products were a substantial factor in causing Plaintiffs’ injuries.

           517.    As a direct and proximate result of Defendants’ failure to provide an adequate

   warning of the risks of ranitidine-containing products, Plaintiffs have been injured, sustained

   severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life, economic

   loss and damages including, but not limited to past and future medical expenses, lost income, and

   other damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                     COUNT V: NEGLIGENT PRODUCT DESIGN
   (Against Brand-Name Manufacturer, Generic Manufacturer, and Repackager Defendants)

           518.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           519.    Manufacturer and Repackager Defendants knew or, by the exercise of reasonable

   care, should have known, ordinary consumers such as Plaintiffs would not have realized the

   potential risks and dangers of ranitidine-containing products.

           520.    Manufacturer and Repackager Defendants owed a duty to all reasonably

   foreseeable users to design a safe product and to provide a label that rendered the product safe and

   effective.

           521.    Manufacturer and Repackager Defendants breached their duty by failing to use

   reasonable care in the design of ranitidine-containing products because the drug exposed users to

   unsafe levels of the carcinogen NDMA.



                                                   114
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 120 of
                                     152


           522.   Manufacturer and Repackager Defendants breached their duty by failing to use

   reasonable care in the design of ranitidine-containing products by negligently designing the drug

   with an inherent susceptibility to form NDMA.

           523.   Manufacturer and Repackager Defendants breached their duty by failing to use

   reasonable care in the design of ranitidine-containing products in one or more of the following

   ways:

              a. When placed in the stream of commerce, Manufacturer and Repackager
                 Defendants’ ranitidine-containing products were defective in design and
                 formulation, and, consequently, dangerous to an extent beyond that which an
                 ordinary consumer would contemplate;

              b. When placed in the stream of commerce, Manufacturer and Repackager
                 Defendants’ ranitidine-containing products were unreasonably dangerous in that
                 they were hazardous and posed a grave risk of cancer and other serious illnesses
                 when used in a reasonably anticipated manner;

              c. When placed in the stream of commerce, Manufacturer and Repackager
                 Defendants’ ranitidine-containing products contained unreasonably dangerous
                 design defects and were not reasonably safe when used in a reasonably anticipated
                 or intended manner;

              d. Manufacturer and Repackager Defendants did not sufficiently test, investigate, or
                 study their ranitidine-containing products and, specifically, the ability for ranitidine
                 to transform into the carcinogenic compound NDMA within the human body;

              e. Manufacturer and Repackager Defendants did not sufficiently test, investigate, or
                 study their ranitidine-containing products identity, strength, quality and purity at
                 the time of use of their products and, specifically, the ability for ranitidine-
                 containing products to develop increasing levels of NDMA under anticipated and
                 expected packaging, storage, and handling conditions;

              f. Manufacturer and Repackager Defendants did not sufficiently test, investigate, or
                 study their ranitidine-containing products identity, strength, quality and purity at
                 the time of use of their products and, specifically, the ability for ranitidine-
                 containing products to develop increasing levels of NDMA over time;

              g. Manufacturer and Repackager Defendants failed to conduct proper stability testing
                 and/or to set accurate recall dates for the drugs, which resulted in the formation of
                 excess amounts of NDMA in ranitidine-containing products;




                                                   115
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 121 of
                                     152


              h. Manufacturer and Repackager Defendants knew or should have known at the time
                 of marketing ranitidine-containing products that exposure to ranitidine could result
                 in cancer and other severe illnesses and injuries;

              i. Manufacturer and Repackager Defendants did not conduct adequate post-marketing
                 surveillance of their ranitidine-containing products; and

              j. Manufacturer and Repackager Defendants could have employed safer alternative
              designs and formulations.

          524.    Exposure to ranitidine presents a risk of harmful side effects that outweigh any

   potential utility stemming from the use of the drug.

          525.    Manufacturer and Repackager Defendants breached their duty to exercise

   reasonable care by failing to use cost effective, reasonably feasible alternative designs. There was

   a practical, technically feasible, and safer alternative design that would have prevented the harm

   without substantially impairing the reasonably anticipated or intended function of Manufacturer

   and Repackager Defendants’ ranitidine-containing products.

          526.    A reasonable company under the same or similar circumstances would have

   designed a safer product.

          527.    Plaintiffs were harmed directly and proximately by Manufacturer and Repackager

   Defendants’ failure to use reasonable care in the design of their ranitidine-containing products.

   Such harm includes significant exposure to a known carcinogen, NDMA, which can cause or

   contribute the development of cancers.

          528.    Manufacturer and Repackager Defendants’ defective design of ranitidine-

   containing products was willful, wanton, malicious, and conducted with reckless disregard for the

   health and safety of users of ranitidine-containing products, including Plaintiffs.

          529.    The defects in Manufacturer and Repackager Defendants’ ranitidine-containing

   products were substantial factors in causing Plaintiffs’ injuries.

          530.    As a direct and proximate result of Manufacturer and Repackager Defendants’


                                                    116
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 122 of
                                     152


   defective design of ranitidine-containing products, Plaintiffs have been injured, sustained severe

   and permanent pain, suffering, disability, impairment, loss of enjoyment of life, economic loss and

   damages including, but not limited to past and future medical expenses, lost income, and other

   damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                        COUNT VI: NEGLIGENT MANUFACTURING
           (Against Brand-Name Manufacturer and Generic Manufacturer Defendants)

           531.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           532.    At all relevant times, the Manufacturer Defendants designed, manufactured, tested,

   marketed, labeled, packaged, handled, distributed, stored, and/or sold the ranitidine-containing

   products that Plaintiffs consumed.

           533.    Manufacturer Defendants had a duty to exercise reasonable care in the design,

   manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

   of ranitidine-containing products.

           534.    Manufacturer Defendants knew or, by the exercise of reasonable care, should have

   known that use of ranitidine-containing products that were carelessly manufactured or packaged

   was dangerous, harmful, and injurious when used by Plaintiffs in a reasonably foreseeable manner.

           535.    Manufacturer Defendants knew or, by the exercise of reasonable care, should have

   known that ordinary consumers such as Plaintiffs would not have realized the potential risks and

   dangers of ranitidine-containing products improperly designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold.



                                                   117
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 123 of
                                     152


           536.    Without limitation, examples of the manner in which the Manufacturer Defendants

   breached their duty to exercise reasonable care in manufacturing ranitidine-containing products

   included

                       a. Failure to follow CGMPs;

                       b. Failure to adequately inspect and/or test the drugs during and after the
                          manufacturing process to ensure identity, strength, quality and purity at the
                          time of use of their products;

                       c. Failure to implement procedures that would reduce or eliminate NDMA
                          levels in ranitidine-containing products;

                       d. Failure to conduct proper stability testing and/or to set accurate recall dates
                          for the drugs, which resulted in the formation of excess amounts of NDMA
                          in ranitidine-containing products; and

                       e. Failure to implement appropriate handling instructions and storage
                          conditions for the drug.

           537.    A reasonable manufacturer under the same or similar circumstances would have

   implemented appropriate manufacturing procedures to better ensure the quality and safety of their

   product.

           538.    Plaintiffs were harmed directly and proximately by the Manufacturer Defendants’

   failure to use reasonable care in the manufacture of their ranitidine-containing products. Such

   harm includes significant exposure to a known carcinogen, NDMA, which can cause or contribute

   to the development of cancers.

           539.    Manufacturer Defendants’ improper manufacturing of ranitidine-containing

   products was willful, wanton, malicious, and conducted with reckless disregard for the health and

   safety of users of ranitidine-containing products, including Plaintiffs.

           540.    The defects in the Manufacturer Defendants’ ranitidine-containing products were

   substantial factors in causing Plaintiffs’ injuries.




                                                     118
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 124 of
                                     152


           541.    As a direct and proximate result of the Manufacturer Defendants’ improper design,

   manufacture, testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale

   of ranitidine-containing products, Plaintiffs have been injured, sustained severe and permanent

   pain, suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

   including, but not limited to past and future medical expenses, lost income, and other damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                                COUNT VII: GENERAL NEGLIGENCE
                                      (Against All Defendants)

           542.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           543.    Defendants, directly or indirectly, designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products that

   were used by Plaintiffs.

           544.    At all relevant times, Defendants had a duty to exercise reasonable care in the

   design, manufacture, testing, marketing, labeling, packaging, handling, distribution, storage,

   and/or sale of ranitidine-containing products, including the duty to take all reasonable steps

   necessary to design, manufacture, test, market, label, package, handle, distribute, store, and/or sell

   a product that was not unreasonably dangerous to consumers and users of the product.

           545.    At all relevant times, Defendants had a duty to exercise reasonable care in the

   marketing and sale of ranitidine-containing products. Defendants’ owed to consumers and the

   general public a duty of care that included providing accurate, true, and correct information

   concerning the risks of using ranitidine-containing products and appropriate, complete, and



                                                    119
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 125 of
                                     152


   accurate warnings concerning the potential adverse effects of ranitidine and, in particular, its

   ability to transform into the carcinogenic compound NDMA.

          546.    At all relevant times, Defendants knew or, in the exercise of reasonable care, should

   have known of the hazards and dangers of ranitidine and, specifically, the carcinogenic properties

   of NDMA when ranitidine-containing products are ingested and/or the elevated levels of NDMA

   that occurs when ranitidine-containing products are transported and stored.

          547.    At all relevant times, Defendants knew or, in the exercise of reasonable care, should

   have known that their ranitidine-containing products were highly unstable and that ranitidine-

   containing products were not safe for human consumption for as long as the labeling suggested.

          548.    At all relevant times, Defendants knew or, in the exercise of reasonable care, should

   have known that their ranitidine-containing products were likely to break down in the absence of

   sufficient packaging which would have protected the pills from heat and/or light exposure.

          549.    Accordingly, at all relevant times, Defendants knew or, in the exercise of

   reasonable care, should have known that use of ranitidine-containing products could cause or be

   associated with Plaintiffs’ injuries, and thus create a dangerous and unreasonable risk of injury to

   the users of these products, including Plaintiffs.

          550.    Defendants also knew or, in the exercise of reasonable care, should have known

   that users and consumers of ranitidine-containing products were unaware of the risks and the

   magnitude of the risks associated with use of ranitidine-containing products.

          551.    As such, Defendants breached their duty of reasonable care and failed to exercise

   ordinary care in the design, manufacture, testing, marketing, labeling, packaging, handling,

   distribution, storage, and/or sale of ranitidine-containing products, in that Defendants

   manufactured and produced defective ranitidine-containing products, which carries the potential




                                                    120
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 126 of
                                     152


   to transform into the carcinogenic compound NDMA; knew or had reason to know of the defects

   inherent in their products; knew or had reason to know that a user’s or consumer’s use of the

   products created a significant risk of harm and unreasonably dangerous side effects; and failed to

   prevent or adequately warn of these risks and injuries. Indeed, Defendants deliberately refused to

   test ranitidine-containing products for NDMA levels because they knew that the chemical posed

   serious health risks to humans.

          552.    Defendants further failed to conduct stability and light sensitivity studies at all

   levels of the distribution and storage chain to enable them to set accurate expiration dates for their

   ranitidine-containing products. As such, Defendants failed to provide physicians and patients,

   such as Plaintiffs, with accurate warnings related to their products.

          553.    Defendants were negligent in their marketing of ranitidine-containing products,

   outside of the labeling context, by failing to disclose material-risk information as part of their

   marketing of ranitidine-containing products, including the internet, television, and print

   advertisements. Nothing prevented Defendants from being honest in their promotional activities

   to doctors, as well as to co-Defendants further down the distribution chain, including generic

   manufacturers, distributors, repackagers, relabelers, and retailers, among others, and, in fact,

   Defendants had a duty to disclose the truth about the risks associated with ranitidine in their

   promotional efforts, outside of the context of labeling.

          554.    Defendants— designed, manufactured, tested, marketed, labeled, packaged,

   handled, distributed, stored, and/or sold ranitidine—were in a superior position to understand the

   risk of NDMA being present in and/or forming in ranitidine-containing products and had a duty to

   warn of these dangers.

          555.    Despite their ability and means to investigate, study, and test the products and to




                                                    121
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 127 of
                                     152


   provide adequate warnings, Defendants failed to do so. Indeed, Defendants wrongfully concealed

   information and further made false and/or misleading statements concerning the safety and use of

   ranitidine-containing products.

          556.    Defendants’ negligence included

              a. Designing, manufacturing, testing, marketing, labeling, packaging, handling,
                 distributing, storing, and/or selling ranitidine-containing products without thorough
                 and adequate pre- and post-market testing;

              b. Designing, manufacturing, testing, marketing, labeling, packaging, handling,
                 distributing, storing, and/or selling ranitidine-containing products while negligently
                 and/or intentionally concealing and failing to disclose the results of trials, tests, and
                 studies of ranitidine and the carcinogenic potential of NDMA as a result of
                 ingesting ranitidine, and, consequently, the risk of serious harm associated with
                 human use of ranitidine-containing products;

              c. Failing to undertake sufficient studies and conduct necessary tests to determine
                 whether or not ranitidine-containing products were safe for their intended consumer
                 use;

              d. Failing to use reasonable and prudent care in the design, manufacture, testing,
                 marketing, labeling, packaging, handling, distribution, storage, and/or sale of
                 ranitidine-containing products so as to avoid the risk of serious harm associated
                 with the prevalent use of ranitidine-containing products;

              e. Failing to design, manufacture, test, market, label, package, handle, distribute,
                 store, and/or sell ranitidine-containing products so as to ensure they were at least as
                 safe and effective as other medications on the market intended to treat the same
                 symptoms;

              f. Failing to undertake to provide adequate instructions, guidelines, and safety
                 precautions regarding identity, strength, quality and purity at the time of use of their
                 products to those persons Defendants could reasonably foresee would use
                 ranitidine-containing products;

              g. Failing to conduct proper studies at every level of the distribution chain regarding
                 stability, as well as proper packaging and storage conditions, particularly relating
                 to heat and light;

              h. Failing to comply with CGMPs or conduct testing and due diligence in sourcing
                 ingredients and solvents used to manufacture ranitidine-containing products;




                                                   122
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 128 of
                                     152


           i. Failing to comply with CGMPs or conduct testing and due diligence before
              designing, manufacturing, testing, marketing, labeling, packaging, handling,
              distributing, storing, and/or selling ranitidine-containing products, specifically as it
              relates to proper storage and transport of the drugs, and subsequently failing to
              provide proper warnings to patients and physicians concerning the same;

           j. Failing to conduct proper post-market surveillance relating to the presence of
              NDMA in Defendants’ ranitidine-containing products;

           k. Failing to conduct proper post-market surveillance relating to the stability (or lack
              thereof) of Defendants’ ranitidine-containing products;

           l. Failing to report adverse events, specifically cases of cancer in patients who took
              ranitidine-containing products to the FDA, despite being aware of these adverse
              events;

           m. Failing to undertake to disclose to Plaintiffs, users/consumers, and the general
              public that use of ranitidine-containing products presented severe risks of cancer;

           n. Failing to warn Plaintiffs, consumers, and the general public that ranitidine-
              containing products’ risk of harm was unreasonable and that there were safer and
              effective alternative medications available to Plaintiffs and other consumers;

           o. Systematically suppressing or downplaying contrary evidence about the risks,
              incidence, and prevalence of the side effects of ranitidine-containing products;

           p. Representing that their ranitidine-containing products were safe for their intended
              use when, in fact, Defendants knew or should have known the products were not
              safe for their intended purpose;

           q. Declining to make or propose any changes to ranitidine-containing products’
              labeling or other promotional materials that would alert consumers and the general
              public of the risks of ranitidine-containing products;

           r. Advertising, marketing, and recommending the use of ranitidine-containing
              products, while concealing and failing to disclose or warn of the dangers known
              (by Defendants) to be associated with or caused by the use of or exposure to
              ranitidine-containing products;

           s. Continuing to disseminate information to consumers, including Plaintiffs, that
              indicate or imply that Defendants’ ranitidine-containing products are not unsafe for
              regular consumer use; and

           t. Continuing to design, manufacture, test, market, label, package, handle, distribute,
              store, and/or sell ranitidine-containing products with the knowledge that the
              products were unreasonably unsafe and dangerous.



                                                123
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 129 of
                                     152



          557.    Defendants knew or should have known that it was foreseeable that consumers such

   as Plaintiffs would suffer injuries as a result of Defendants’ failure to exercise ordinary care in the

   design, manufacture, testing, marketing, labeling, packaging, handling, distribution, storage,

   and/or sale of ranitidine-containing products.

          558.    Plaintiffs did not know the nature and extent of the injuries that could result from

   the intended use of and/or exposure to ranitidine-containing products.

          559.    Defendants’ negligence was a substantial factor in causing Plaintiffs’ injuries.

          560.    Defendants’ conduct, as described above, was reckless. Defendants regularly

   risked the lives of consumers and users of their products, including Plaintiffs, with full knowledge

   of the dangers of their products. Defendants have made conscious decisions not to redesign, re-

   label, warn, or inform the unsuspecting public, including Plaintiffs, about those dangers.

   Defendants’ reckless conduct therefore warrants an award of punitive damages.

          561.    As a direct and proximate result of Defendants’ failure to undertake to provide an

   adequate warning of the risks of ranitidine-containing products, Plaintiffs have been injured,

   sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

   economic loss and damages including, but not limited to past and future medical expenses, lost

   income, and other damages.

          WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                   COUNT VIII: NEGLIGENT MISREPRESENTATION
   (Against Brand-Name Manufacturer, Generic Manufacturer, and Repackager Defendants)

          562.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs




                                                    124
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 130 of
                                     152


   as if fully stated herein.

           563.    At all relevant times, Manufacturer and Repackager Defendants designed,

   manufactured, tested (or not), packaged, labeled, marketed, advertised, promoted, supplied, stored,

   handled, warehoused, distributed, sold and/or otherwise placed ranitidine-containing products into

   the stream of commerce, and therefore owed a duty of reasonable care to avoid causing harm to

   consumers of ranitidine-containing products, including Plaintiffs.

           564.    Manufacturer and Repackager Defendants were negligent, reckless, and careless

   and owed a duty to Plaintiffs to make accurate and truthful representations regarding ranitidine-

   containing products, and Manufacturer and Repackager Defendants breached their duty, thereby

   causing Plaintiffs to suffer harm.

           565.    Manufacturer and Repackager Defendants represented to Plaintiffs via the media,

   advertising, website, social media, packaging, and promotions, among other misrepresentations

   described herein that


               a. ranitidine-containing products were both safe and effective for the lifetime of the
                  product, when in fact, the drug contains unsafe levels of NDMA far in excess of
                  the 96 ng limit that increases at various points during the shipping, handling,
                  storage, and consumption phases and as the product ages;

               b. consumption of ranitidine-containing products would not result in excessive
                  amounts of NDMA being formed in their bodies; and

               c. the levels of NDMA in ranitidine-containing products have no practical clinical
                  significance; and

               d. ranitidine-containing products were safe for their intended use when, in fact,
                  Defendants knew or should have known the products were not safe for their
                  intended purpose.

           566.    These representations were false. Because of the unsafe levels of NDMA in

   ranitidine-containing products, the drug presented an unacceptable risk of causing cancer.

   Ranitidine-containing products are so unsafe that the FDA was compelled to order the immediate


                                                  125
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 131 of
                                     152


   withdrawal of all ranitidine-containing products on April 1, 2020.

          567.    Manufacturer and Repackager Defendants knew or should have known these

   representations were false and negligently made them without regard for their truth.

          568.    Manufacturer and Repackager Defendants had a duty to accurately provide this

   information to Plaintiffs.   In concealing this information from Plaintiffs, Manufacturer and

   Repackager Defendants breached their duty. Manufacturer and Repackager Defendants also

   gained financially from, and as a result of their breach.

          569.    Manufacturer and Repackager Defendants intended for Plaintiffs and/or their

   physicians to rely on these representations.

          570.    Each of these misrepresentations were material at the time they were made. In

   particular, each of the misrepresentations concerned material facts that were essential to the

   analysis undertaken by Plaintiffs as to whether to purchase or consume ranitidine-containing

   products.

          571.    Plaintiffs reasonably relied on these representations and were harmed as described

   herein. Plaintiffs’ reliance on Manufacturer and Repackager Defendants’ representations was a

   substantial factor in causing Plaintiffs’ harms. Had Manufacturer and Repackager Defendants told

   Plaintiffs the truth about the safety and composition of ranitidine-containing products, Plaintiffs

   would not have consumed or purchased them.

          572.    Manufacturer and Repackager Defendants’ acts and omissions as described herein

   were committed in reckless disregard of Plaintiffs’ rights, interests, and well-being to enrich

   Defendants.

          573.    As a direct and proximate result of the Manufacturer and Repackager Defendants’

   negligent misrepresentations concerning their ranitidine-containing products, Plaintiffs have been




                                                   126
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 132 of
                                     152


   injured, sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment

   of life, economic loss and damages including, but not limited to past and future medical expenses,

   lost income, and other damages.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                        COUNT IX: BREACH OF EXPRESS WARRANTIES
                                   (Against All Defendants)

           574.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           575.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products, which

   are defective and unreasonably dangerous to consumers, including Plaintiffs, thereby placing

   ranitidine-containing products into the stream of commerce. These actions were under the ultimate

   control and supervision of Defendants.

           576.    Defendants had a duty to exercise reasonable care in the design, manufacture,

   testing, marketing, labeling, packaging, handling, distribution, storage, and/or sale of ranitidine-

   containing products, including a duty to:

               a. ensure that their products did not cause the user unreasonably dangerous side
                  effects;

               b. warn of dangerous and potentially fatal side effects; and

               c. disclose adverse material facts, such as the true risks associated with the use of and
                  exposure to ranitidine-containing products, when making representations to
                  consumers and the general public, including Plaintiffs.

           577.    As alleged throughout this pleading, the ability of Defendants to properly disclose




                                                   127
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 133 of
                                     152


   those risks associated with ranitidine-containing products is not limited to representations made

   on the labeling.

          578.    At all relevant times, Defendants expressly represented and warranted to the

   purchasers of their products, by and through statements made by Defendants in labels,

   publications, package inserts, and other written materials intended for consumers and the general

   public, that ranitidine-containing products were safe to human health and the environment,

   effective, fit, and proper for their intended use. Defendants advertised, labeled, marketed, and

   promoted ranitidine-containing products, representing the quality to consumers and the public in

   such a way as to induce their purchase or use, thereby making an express warranty that ranitidine-

   containing products would conform to the representations.

          579.    These express representations include incomplete warnings and instructions that

   purport, but fail, to include the complete array of risks associated with use of and/or exposure to

   ranitidine-containing products.    Defendants knew and/or should have known that the risks

   expressly included in ranitidine-containing products warnings and labels did not and do not

   accurately or adequately set forth the risks of developing the serious injuries complained of herein.

   Nevertheless, Defendants expressly represented that ranitidine-containing products were safe and

   effective, that they were safe and effective for use by individuals such as Plaintiffs, and/or that

   they were safe and effective as consumer medication.

          580.    The representations about ranitidine-containing products, as set forth herein,

   contained or constituted affirmations of fact or promises made by the seller to the buyer, which

   related to the goods and became part of the basis of the bargain, creating an express warranty that

   the goods would conform to the representations.

          581.    Defendants placed ranitidine-containing products into the stream of commerce for




                                                   128
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 134 of
                                     152


   sale and recommended their use to consumers and the public without adequately warning of the

   true risks of developing the injuries associated with the use of ranitidine-containing products.

          582.    Defendants breached these warranties because, among other things, ranitidine-

   containing products were defective, dangerous, and unfit for use, did not contain labels

   representing the true and adequate nature of the risks associated with their use, and were not

   merchantable or safe for their intended, ordinary, and foreseeable use and purpose. Specifically,

   Defendants breached the warranties in the following ways:

              a. Defendants represented through their labeling, advertising, and marketing materials
                 that ranitidine-containing products were safe, and intentionally withheld and
                 concealed information about the risks of serious injury associated with use of
                 ranitidine-containing products and by expressly limiting the risks associated with
                 use within their warnings and labels;

              b. Defendants represented that the expiry dates on their products were accurate and
                 that their ranitidine-containing products were safe for consumption throughout the
                 end of the expiry period;

              c. Defendants represented that their ranitidine-containing products were safe for
                 human consumption without disclosing the risks of NDMA in the pills, the risk that
                 NDMA might form over time and/or increase dramatically as a result of exposure
                 to heat and/or light, and the risk that NDMA might form during the digestion
                 process; and

              d. Defendants represented that ranitidine-containing products were safe for use and
                 intentionally concealed information that demonstrated that they had carcinogenic
                 properties, and that ranitidine-containing products, therefore, were not safer than
                 alternatives available on the market.

          583.    Plaintiffs detrimentally relied on the express warranties and representations of

   Defendants concerning the safety and/or risk profile of ranitidine-containing products in deciding

   to purchase the product. Plaintiffs reasonably relied upon Defendants to disclose known defects,

   risks, dangers, and side effects of ranitidine. Physicians would not have prescribed, and Plaintiffs

   would not have purchased or used ranitidine-containing products had Defendants properly

   disclosed the risks associated with ranitidine, either through advertising, labeling, or any other



                                                   129
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 135 of
                                     152


   form of disclosure.

          584.    Defendants had sole access to material facts concerning the nature of the risks

   associated with their ranitidine-containing products, as expressly stated within their warnings and

   labels, and knew that consumers and users such as Plaintiffs could not have reasonably discovered

   that the risks expressly included in ranitidine-containing products’ warnings and labels were

   inadequate and inaccurate.

          585.    Plaintiffs had no knowledge of the falsity or incompleteness of Defendants’

   statements and representations concerning ranitidine-containing products.

          586.    Plaintiffs used and/or were exposed to ranitidine-containing products as designed,

   manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, sold, or otherwise

   released into the stream of commerce by Defendants.

          587.    Had the warnings, labels, advertisements, or promotional material for ranitidine-

   containing products accurately and adequately set forth the true risks associated with the use of

   such products, including Plaintiffs’ injuries, rather than expressly excluding such information and

   warranting that the products were safe for their intended use, Plaintiffs could have avoided the

   injuries complained of herein.

          588.    Defendants’ breach of these express warranties were a substantial factor in causing

   Plaintiffs’ harm.

          589.    As a direct and proximate result of Defendants’ breach of these warranties, as

   alleged herein, Plaintiffs sustained an economic loss and other injuries.

          WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees, and all such other and further relief as this Court deems just and proper.




                                                   130
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 136 of
                                     152


                       COUNT X: BREACH OF IMPLIED WARRANTIES
                                 (Against All Defendants)

          590.    Plaintiffs incorporate by reference every allegation set forth in preceding

   paragraphs as if fully stated herein.

          591.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing products, which

   were and are defective and unreasonably dangerous to consumers, including Plaintiff, thereby

   placing ranitidine-containing products into the stream of commerce.

          592.    Before the time Plaintiffs used ranitidine-containing products, Defendants

   impliedly warranted to their consumers, including Plaintiffs, that ranitidine-containing products

   were of merchantable quality and safe and fit for the use for which they were intended; specifically,

   as consumer medication.

          593.    But Defendants failed to disclose that ranitidine-containing products had dangerous

   propensities when used as intended and that use of ranitidine-containing products carries an

   increased risk of developing severe injuries, including Plaintiffs’ injuries.

          594.    Plaintiffs were an intended beneficiary of the implied warranties made by

   Defendants to purchasers of their ranitidine-containing products.

          595.    At all relevant times, Defendants were aware that consumers and users of their

   products, including Plaintiffs, would use ranitidine-containing products as marketed by

   Defendants, which is to say that Plaintiffs were a foreseeable user of ranitidine-containing

   products.

          596.    Defendants intended that ranitidine-containing products be used in the manner in

   which Plaintiffs, in fact, used them and which Defendants impliedly warranted to be of

   merchantable quality, safe, and fit for this use, even though ranitidine-containing products were



                                                    131
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 137 of
                                     152


   not adequately tested or researched.

          597.    In reliance upon Defendants’ implied warranty, Plaintiffs used ranitidine-

   containing products as instructed and labeled and in the foreseeable manner intended,

   recommended, promoted, and marketed by Defendants.

          598.    Plaintiffs could not have reasonably discovered or known of the risks of serious

   injury associated with ranitidine-containing products.

          599.    Defendants breached their implied warranty to Plaintiffs in that ranitidine-

   containing products were not of merchantable quality, safe, or fit for their intended use, or

   adequately tested. Ranitidine-containing products have dangerous propensities when used as

   intended and can cause serious injuries, including those injuries complained of herein.

          600.    The harm caused by Defendants’ ranitidine-containing products far outweighed

   their benefit, rendering the products more dangerous than an ordinary consumer or user would

   expect and more dangerous than alternative products.

          601.    Defendants’ breach of these implied warranties was a substantial factor is causing

   Plaintiffs’ harm.

          602.    As a direct and proximate result of Defendants’ breach of implied warranties, as

   alleged herein, Plaintiffs sustained a loss an economic loss and other injuries.

          WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                 COUNT XI: VIOLATION OF CONSUMER PROTECTION AND
                         DECEPTIVE TRADE PRACTICES LAWS
                                (Against All Defendants)

          603.    Plaintiffs incorporate by reference every allegation set forth in preceding




                                                   132
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 138 of
                                     152


   paragraphs as if fully stated herein.

          604.      Certain Plaintiffs herein bring a cause of action for deceptive trade practices and or

   violation of applicable state consumer protection laws.

          605.      Plaintiffs   used   Defendants’    ranitidine-containing   products    and   suffered

   ascertainable losses as a result of Defendants’ actions in violation of consumer protection laws.

          606.      Had Defendants not engaged in the deceptive conduct described herein, Plaintiffs

   would not have purchased ranitidine-containing products, and would not have incurred related

   medical costs and injuries.

          607.      Defendants engaged in wrongful conduct while at the same time obtaining, under

   false pretenses, money from Plaintiffs for ranitidine-containing products that would not have been

   paid had Defendants not engaged in unfair and deceptive conduct.

          608.      Unfair methods of competition or deceptive acts or practices that were proscribed

   by law include

                        a. Representing that goods or services have characteristics, ingredients, uses
                           benefits or qualities they do not have;

                        b. Representing that ranitidine-containing products are of a particular
                            standard, quality, and grade when they are not.

                        c. Advertising goods or services with the intent not to sell them as advertised;

                        d. Over-promotion of the product with respect to, inter alia, its safety and
                           efficacy; and

                        e. Engaging in fraudulent and deceptive conduct that creates a likelihood of
                           confusion or misunderstanding.

          609.      Plaintiffs were injured by the cumulative and indivisible nature of Defendants’

   conduct, which created demand for ranitidine-containing products. Each aspect of Defendants’

   conduct combined to artificially create sales for ranitidine-containing products.




                                                      133
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 139 of
                                     152


           610.   Defendants have a statutory duty to refrain from unfair or deceptive acts or trade

   practices in the design, manufacture, testing, marketing, labeling, packaging, handling,

   distribution, storage, and/or sale of ranitidine-containing products.

           611.   Had Defendants not engaged in the deceptive conduct described above, Plaintiffs

   would not have purchased and/or paid for ranitidine-containing products and would not have

   incurred related medical costs.

           612.   Defendants’ deceptive, unconscionable or fraudulent representations and material

   omissions to Plaintiffs constituted unfair and deceptive acts and trade practices in violation of state

   consumer protection statutes.

           613.   Defendants’ actions, as complained of herein, constitute unfair competition or

   unfair, unconscionable deceptive or fraudulent acts, or trade practices in violation of state

   consumer protection statutes.

           614.   Defendants have engaged in unfair competition or unfair or deceptive acts or trade

   practices or have made false representations in violation of the following consumer protection

   laws:

                  a. Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.;

                  b. Ark. Code Ann. §§ 4-88-101, et seq.;

                  c. Cal Bus & Prof Code §§ 1750, et seq.;

                  d. Colo. Rev. Stat. §§ 6-1-101, et seq.;

                  e. Del. Code Ann. tit. 6, §§ 2511, et seq. and §§ 2531, et seq.

                  f. D.C. Code Ann. §§ 28-3901, et seq.;

                  g. Ga. Code Ann. §§ 10-1-390, et seq.;

                  h. Id. Code Ann. §§ 48-601, et seq.;




                                                    134
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 140 of
                                     152


              i. 815 Ill. Comp. Stat. 505/1, et seq.;

              j. Ind. Code Ann. §§ 24-5-0.5-1, et seq.;

              k. Kan. Stat. Ann. §§ 50-623, et seq.;

              l. Ky. Rev. Stat. Ann. §§ 367.110, et seq.;

              m. Me. Rev. Stat. Ann. tit. 5, §§ 205-A, et seq.;

              n. Md. Code Ann., Com. Law §§ 13-101, et seq.;

              o. Mass. Gen. Laws Ann. Ch. 93A, et seq.;

              p. Mich. Comp. Laws §§ 445.901, et seq.;

              q. Minn. Stat. §§ 325F.68, et seq.;

              r. Mo. Ann. Stat. §§ 407.010, et seq.;

              s. Mon. Code Ann. §§ 30-14-101, et seq.;

              t. Neb. Rev. Stat. §§ 59-1601, et seq.;

              u. Nev. Rev. Stat. Ann. §§ 598.0903, et seq.;

              v. N.H. Rev. Stat. Ann. §§ 358-A:1, et seq.;

              w. N.M. Stat. Ann. §§ 57-12-1, et seq.;

              x. N.Y. Gen. Bus. Law §§ 349, et seq. and §§ 350, et seq.;

              y. N.C. Gen. Stat. §§ 75-1.1, et seq.;

              z. N.D. Cent. Code §§ 51-15-01, et seq.;

              aa. Okla. Stat. tit. 15 §§ 751, et seq.;

              bb. S.C. Code Ann. §§ 39-5-10, et seq.;

              cc. S.D. Codified Laws §§ 37-24-1, et seq.;

              dd. Tenn. Code Ann. §§ 47-18-101, et seq.;

              ee. Utah Code Ann. §§ 13-11a-1.;




                                                 135
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 141 of
                                     152


                  ff. Vt. Stat. Ann. tit. 9, §§ 2451, et seq.;

                  gg. Va. Code Ann. §§ 59.1-196, et seq.;

                  hh. W. Va. Code §§ 46A-1-101, et seq.;

                  ii. Wis. Stat. §§ 100.18, et seq.; and

                  jj. Wyo. Stat. §§ 40-12-101, et seq.

          615.    Under the statutes listed above to protect consumers against unfair, deceptive,

   fraudulent and unconscionable trade and business practices and false advertising, Defendants are

   the suppliers, manufacturers, advertisers and sellers who are subject to liability under such

   legislation for unfair, deceptive, fraudulent and unconscionable consumer sales practices.

          616.    Plaintiffs are the type of consumers, as defined in these statutes, that these statutes

   were designed to protect.

          617.    Defendants violated the statutes that were enacted in these states to protect

   consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

   and false advertising, by knowingly and falsely representing that ranitidine-containing products

   were fit to be used for the purpose for which they were intended, when in fact ranitidine-containing

   products were defective and dangerous, and by other acts alleged herein. These representations

   were made in promotional materials.

          618.    The actions and omissions of Defendants as alleged herein are uncured or incurable

   deceptive acts under the statutes enacted in the states to protect consumers against unfair,

   deceptive, fraudulent and unconscionable trade and business practices and false advertising.

   Defendants were provided notice of the issues raised in this count and this MPIC by the FDA, the

   numerous complaints filed against them, and the many individual notice letters sent by Plaintiffs

   within a reasonable amount of time after the allegations of ranitidine-containing products’ defects




                                                     136
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 142 of
                                     152


   became public.

          619.    Defendants had actual knowledge of the defective and dangerous condition of

   ranitidine-containing products and failed to take any action to cure such defective and dangerous

   conditions.

          620.    Plaintiffs and the medical community relied upon Defendants’ misrepresentations

   and omissions.       Defendants’ unfair or deceptive acts or practices, including their

   misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

   had a tendency or capacity to mislead and create a false impression in consumers’ minds, and were

   likely to and, in fact, did deceive reasonable consumers, including Plaintiffs, about the inherently

   defective and unreasonably dangerous nature of ranitidine-containing products.

          621.    Defendants had an ongoing duty to Plaintiffs to refrain from unfair and deceptive

   practices under these statutes in the course of their business. Specifically, Defendants owed

   Plaintiffs a duty to disclose all the material facts concerning the dangers of ranitidine-containing

   products because they possessed exclusive knowledge, they intentionally concealed the dangers of

   ranitidine from Plaintiffs, and/or they made misrepresentations that were rendered misleading

   because they were contradicted by withheld facts.

          622.    The facts regarding ranitidine that Defendants knowingly and intentionally

   misrepresented, omitted, concealed, and failed to disclose would be considered material by a

   reasonable consumer, and they were, in fact, material to Plaintiffs, who consider such facts to be

   important to their purchase decisions with respect to ranitidine-containing products.

          623.    Plaintiffs purchased ranitidine-containing products in reliance on Defendants’

   misrepresentations, omissions, concealments, and failures to disclose material facts regarding

   ranitidine-containing products. Had Defendants not engaged in the deceptive acts and practices




                                                   137
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 143 of
                                     152


   alleged herein, Plaintiffs would not have purchased the drug and would not have been injured.

          624.    Defendants’ deceptive, fraudulent and unconscionable representations to patients,

   physicians and consumers, including Plaintiffs, constituted unfair and deceptive acts and practices.

          625.    By reason of the unlawful acts engaged in by Defendants, and as a direct and

   proximate result thereof, Plaintiffs have suffered ascertainable losses and damages.

          626.    Defendants’ unlawful acts and practices complained of herein affect the public

   interest, as the violations regarding a widely sold drug were harmful to the general public.

          627.    Defendants’ actions and omissions as identified in this MPIC show that Defendants

   acted willfully, maliciously and/or intentionally disregarded Plaintiffs’ rights so as to warrant the

   imposition of punitive damages, or other applicable statutory damages including double or treble

   damages where available.

          WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, statutory damages where applicable, including double

   and treble damages, together with interest, costs herein incurred, attorneys’ fees and all such other

   and further relief as this Court deems just and proper.

                               COUNT XII: UNJUST ENRICHMENT
                                    (Against All Defendants)

          628.    Plaintiffs incorporate by reference every allegation set forth in preceding

   paragraphs as if fully stated herein.

          629.    At all relevant times, Defendants designed, manufactured, tested, marketed,

   labeled, packaged, handled, distributed, stored, and/or sold, or otherwise released ranitidine-

   containing products into the stream of commerce, and therefore owed a duty of reasonable care to

   avoid causing harm to those that consumed it, including Plaintiffs.

          630.    Defendants knew that ranitidine-containing products posed a grave risk of harm but



                                                   138
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 144 of
                                     152


   failed to warn of the dangerous risks associated with use and exposure to the products. The

   dangerous propensities of their products and the carcinogenic characteristics of NDMA were well

   known to Defendants.

          631.       Defendants were unjustly enriched as a result of their wrongful conduct, including

   through the false and misleading marketing, promotions, and advertisements that omitted

   disclosure that the products presented an unreasonable risk of substantial bodily injury resulting

   from their use.

          632.       Defendants requested and received a measurable benefit at the expense of Plaintiffs

   in the form of payment for their ranitidine-containing products.

          633.       Defendants appreciated, recognized, and chose to accept the monetary benefits

   Plaintiffs conferred onto Defendants at Plaintiffs’ detriment. These benefits were the expected

   result of Defendants acting in their pecuniary interests at the expense of Plaintiffs.

          634.       There is no justification for Defendants’ enrichment. It would be inequitable,

   unconscionable, and unjust for Defendants to be permitted to retain these benefits because the

   benefits were procured as a result of their wrongful conduct.

          635.       Defendants wrongfully obfuscated the harm caused by their ranitidine-containing

   products. Thus, Plaintiffs, who mistakenly enriched Defendants by relying on Defendants’

   misrepresentations of product safety, could not and did not know the effect that using ranitidine-

   containing products would have on Plaintiffs’ health.

          636.       Plaintiffs are entitled to restitution of the benefits Defendants unjustly retained

   and/or any amounts necessary to return Plaintiffs to the position they occupied prior to dealing

   with Defendants.       Due to their wrongful conduct and the FDA action recalling ranitidine-

   containing products in the form of a market withdrawal, Defendants are reasonably notified that




                                                     139
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 145 of
                                     152


   Plaintiffs would expect compensation from Defendants’ unjust enrichment stemming from their

   wrongful actions.

           WHEREFORE, Plaintiffs respectfully request this Court enter judgment in Plaintiffs’ favor

   for compensatory and punitive damages, together with interest, costs herein incurred, attorneys’

   fees and all such other and further relief as this Court deems just and proper.

                                COUNT XIII: LOSS OF CONSORTIUM
                                      (Against All Defendants)

           637.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           638.    As a direct and proximate result of Defendants’ conduct as detailed above,

   Plaintiffs’ spouses and/or family members, as specified in the SFC, have suffered and will continue

   to suffer the loss of their loved one’s support, companionship, services, society, love, and affection.

           639.    Plaintiffs’ spouses and/or family member have necessarily paid and have become

   liable to pay for medical aid, treatment and for medications, and will necessarily incur further

   expenses of a similar nature in the future as a proximate result of Defendants’ misconduct.

           640.    Plaintiffs’ spouses allege that their marital relationship has been impaired and

   depreciated, and the marital association has been altered.

           641.    Plaintiffs’ spouses and/or family members have suffered great emotional pain and

   mental anguish.

           642.    Plaintiffs’ spouses and/or family members have sustained and will continue to

   sustain several physical injuries, severe emotional distress, economic losses, and other damages

   for which they are entitled to compensatory damages.

           643.    Defendants’ actions and omissions as identified in this MPIC show that Defendants

   acted maliciously and/or intentionally disregarded Plaintiffs’ rights so as to warrant the imposition



                                                    140
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 146 of
                                     152


   of punitive damages.

                                COUNT XIV: SURVIVAL ACTIONS
                                    (Against All Defendants)

           644.    Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein.

           645.    As a direct and proximate result of the conduct of Defendants, Decedents, prior to

   their deaths, were obligated to spend various sums of money to treat their injuries, which debts

   have been assumed by their estates. As a direct and proximate cause of the aforesaid, Decedents

   were caused pain and suffering, mental anguish and impairment of the enjoyment of life, until the

   date of their deaths and, as a direct and proximate result of the aforesaid, Decedents suffered a loss

   of earnings and earning capacity.       Plaintiffs’ spouses, as Administrators of the Estates of

   Decedents, beneficiaries and/or lawful representatives bring this claim on behalf of the estates for

   damages under any and all applicable statute or common law.

           646.    As a direct and proximate result of the conduct of Defendants, Decedents, and their

   spouses, until the time of Decedents’ deaths, suffered a disintegration and deterioration of the

   family unit and the relationships existing therein, resulting in enhanced anguish, depression and

   other symptoms of psychological stress and disorder. This claim is brought on behalf of the Estates

   of the Decedents pursuant to any and all applicable statutes or common law.

           647.    As a direct and proximate result of the conduct of Defendants and including the

   observances of the suffering of the Decedents, until the date of their deaths, Plaintiffs suffered

   permanent and ongoing psychological damage.

           648.    As a direct and proximate result of the aforesaid and including the observance of

   the suffering and physical deterioration of Decedents until the date of their deaths, Plaintiffs have

   and will continue to suffer permanent and ongoing psychological damage which may require future



                                                    141
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 147 of
                                     152


   psychological and medical treatment. Plaintiffs’ spouses, as Administrators of the Estates of the

   Decedents, beneficiaries and/or lawful representatives bring the claims on behalf of the Estates for

   damages any and all applicable statutes or common law and in their own right.

           649.     Defendants’ actions, as described above, were performed willfully, intentionally,

   and with reckless disregard for the rights of Plaintiffs and the public.

           650.     As a result of Defendants’ conduct, Plaintiffs suffered the injuries and damages

   specified herein.

           651.     Defendants’ actions and omissions as identified in this MPIC show that Defendants

   acted maliciously and/or intentionally disregarded Plaintiffs’ rights so as to warrant the imposition

   of punitive damages.

                                  COUNT XV: WRONGFUL DEATH
                                      (Against All Defendants)

           652.     Plaintiffs incorporate by reference each allegation set forth in preceding paragraphs

   as if fully stated herein

           653.     Plaintiffs Decedents’ spouses, beneficiaries, and/or lawful representatives of

   Decedents’ Estates bring this claim on behalf of themselves and as the Decedents’ lawful

   beneficiaries.

           654.     As a direct and proximate result of the conduct of Defendants and the defective

   nature of ranitidine-containing products as outlined above, Decedents suffered bodily injury

   resulting in pain and suffering, disability, disfigurement, mental anguish, loss of capacity of the

   enjoyment of life, shortened life expectancy, expenses for hospitalization, medical and nursing

   treatment, loss of earnings, loss of ability to earn, funeral expenses and death.

           655.     As a direct and proximate cause of the conduct of Defendants, Decedents’

   beneficiaries have incurred hospital, nursing and medical expenses, and estate administration



                                                    142
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 148 of
                                     152


   expenses as a result of Decedents’ deaths.

          656.    Defendants’ actions and omissions as identified in this MPIC show that Defendants

   acted maliciously and/or intentionally disregarded Plaintiffs’ rights so as to warrant the imposition

   of punitive damages.

                                        JURY TRIAL DEMAND

          657.    Pursuant to Federal Rule of Civil Procedure 38(b) Plaintiffs hereby demand a trial

   by jury on all the triable issues within this pleading.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs request the Court to enter judgment in Plaintiffs’ favor and

   against Defendants for:

          a.      actual or compensatory damages in such amount to be determined at trial and as

                  provided by applicable law;

          b.      exemplary and punitive damages sufficient to punish and deter Defendants and

                  others from future wrongful practices;

          c.      pre-judgment and post-judgment interest;

          d.      reasonable attorneys’ fees as provided by law;

          e.      costs and expenses of these actions;

          f.      statutory damages, treble damages and other relief permitted by the laws of the

                  states that will govern these actions; and

          g.      any other relief the Court may deem just and proper.


   DATED: June 22, 2020.




                                                    143
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 149 of
                                     152


                                      Respectfully submitted,

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                                                 144
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 150 of
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                                        145
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 151 of
                                     152


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                                              146
Case 9:20-md-02924-RLR Document 887 Entered on FLSD Docket 06/22/2020 Page 152 of
                                     152


                                 CERTIFICATE OF SERVICE

          I hereby certify that on June 22, 2020, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                              /s/ Robert C. Gilbert
                                                              Robert C. Gilbert




                                                 147
